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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF FLORIDA



     IN RE:

     APPLICATION OF IOV LABS LIMITED
     FOR AN ORDER UNDER 28 U.S.C. § 1782                      Case No. 1:22mc20206
     TO TAKE DISCOVERY FROM MARK
     LEVIN



           DECLARATION OF ALEJANDRO ABERG COBO IN SUPPORT OF
      APPLICATION FOR AN ORDER TO TAKE DISCOVERY UNDER 28 U.S.C. § 1782

            Under 28 U.S.C. § 1746, I declare as follows:

            1.     My name is Alejandro Aberg Cobo. I am over 18 years of age and am competent

    to make this declaration.

            2.     I submit this declaration based on my own personal knowledge and in support of

    the application of IOV Labs Limited ("IOV Labs") for an order under 28 U.S.C. § 1782 to take

    discovery from Mark Levin (the "Section 1782 Application"). I have reviewed the Section 1782

    Application and am familiar with its contents.

            3.     I have been a Senior Advisor and Member of the Board of Directors of IOV Labs

    since March 2018.

           4.      Over the past year, Mark Levin, Esteban van Goor, and Megalodon DMCC

    (collectively, the "Complainants") have sent IOV Labs a number of written communications

    threatening to initiate civil proceedings against IOV Labs in a variety of jurisdictions, including

    the Netherlands, Turkey, and the British Overseas Territory of Gibraltar.

           5.      A true and correct copy of a letter sent by the Complainants on February 18, 2021,

    is attached to this declaration as Exhibit 1.



                                                     1
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                      EXHIBIT 1
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      LETTER OF CLAIM                /
                                                                           Megalodon DMCC
      LETTER BEFORE ACTION                                Megalodon Capital Management B.V.
                                                                 c/o Esteban Arturo Van Goor
                                                                                  Mark Levin
                                                                              Kerem Turetgen
                                                                           rsk@megalodon.ae


                                                                             February 18th , 2021

     BY EMAIL
           Isolas LLP, info@isolas.gi, debbie.spencer@isolas.gi, Karan.Aswani@isolas.gi,
           emma.lejeune@isolas.gi
           Malcolm Stephen David Pallé, malcolmpalle@coinsilium.com, eddytravia@coinsilium.com
           Alejandro Maria Aberg Cobo, alex@iovlabs.org, alex@rifos.org
           Wayne Leslie Almeida, wayne@fid.gi, peter@fid.gi
           Joseph Peter Garcia, joey.garcia@isolas.gi
           Diego Gutierrez Zaldivar, dgz@rsk.co, dgz@iovlabs.org
           Sergio Lerner, sergio@iovlabs.org
           Gabriel Alejandro Kurman, gk@rsk.co, gk@iovlabs.org
           Ruben Ariel Altman, ruben@rsk.co,
           Adrian Eidelman, adrian@iovlabs.org
           Adrian Garelik, adrian@flixxo.com, legal@flixxo.com,

     Claimant:

           •     Esteban Arturo van Goor
           •     Mark Levin
           •     Kerem Turetgen
           •     Megalodon Capital Management B.V.
           •     Megalodon DMCC

     Defendant:

           •     IOV Labs Limited, RIF Labs Limited, Suite 23 Portland House Glacis Road, Gibraltar
                 GX11 1AA Gibraltar, Company Number: 116697.
           •     Fiduciary Trust Limited, 3, Bell Lane, Gibraltar.
           •     RSK Labs limited, BVI, 1895440, Morgan & Morgan Building, Pasea Estate, Road
                 Town, Tortola, British Virgin Islands.
           •     Ginger Developments Limited, 1989326, Pasea Estate p.o. box 958 Road Town
                 Tortola VG1110 Virgin Islands, British.
           •     Isolas LLP, Portland House, Glacis Rd, GX11 1AA, Gibraltar.
           •     Malcolm Stephen David, Palle 26 Arlington Midtown, Gibraltar GX11 1AA,
                 Gibraltar, British, flat 65 Aegean apartments, 19 Western Gat Victoria Docks, London,
                 England, United Kingdom E16 1AR.*
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     LEGAL COMPLAINT FOR VIOLATIONS OF:
       1. Securities Law
       2. Money Laundering Law
       3. Wire Fraud Law
       4. Insider Trading
       5. Identity Theft
       6. Violation of Money Transmitter Regulation
       7. Unjust Enrichment
       8. Slander and Defamation
       9. Unfair Business Practices
       10. International Fraud Scheme
       11. Investor Protection Directive 2014/65/EU
       12. Regulation (EU) No 1215/2012
       13. European Securities and Markets Authority (ESMA)
       14. The Prospectus Directive
       15. The Transparency Directive
       16. The Markets in Financial Instruments Directive Framework
       17. The Market Abuse Regulation
       18. The Settlement Finality Directive and the Central Securities Depositories
           Regulation
       19. The fifth AMLD on money laundering and terrorist financing
       20. Financial Services (Markets in Financial Instruments) Act 2006
       21. Prospectuses Act 2005
       22. Financial Services (Collective Investment Schemes) Act 2011
       23. English Law Act 1962
       24. Gibraltar E-Commerce and Consumer Protection Regulations
       25. Gibraltar Money Laundering Regulations
       26. Misconduct in, or misuse of information relating to, a financial market
       27. Misleading, false and fraudulent statements
       28. Proceeds of Crime Act
       29. Fraud or dishonesty or breach of trust
       30. Criminal Justice Act 1993
       31. Regulation (EU) No 596/2014
       32. Communiqué on Prospectus and Issuance Document No II-5.1, Turkey.
       33. Communiqué on Sale of Capital Market Instruments No II-5.2, Turkey.
       34. Capital Market Law, NO 6362, Turkey.
       35. Sourcing information about investors with third parties, collaboration with third
           parties leading to an assassination attempt and extortion.
       36. Conducting an unregistered securities sale in the United States of America,
           without an approval of the SEC or applying an Exemption (also referred to as a
           Reg D).
       37. Actively participated in the commission of a crime, i.e. slander and defamation,
           an assassination attempt, and extortion.
       38. Bank Act and Exchange Act
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     Pre-action protocols and Alternative Dispute Resolution (ADR)

     Before commencing proceedings, the court will expect us to have exchanged sufficient
     information to:

                •   understand each other’s position;
                •   make decisions about how to proceed;
                •   try to settle the issues without proceedings;
                •   consider a form of Alternative Dispute Resolution (ADR) to assist with settlement;
                •   support the efficient management of those proceedings; and
                •   reduce the costs of resolving the dispute.

     Pre-action protocols explain the conduct and set out the steps the court would normally expect
     Claimant and Defendant to take before commencing proceedings for particular types of civil
     claims.

     The Netherlands Financial Services Complaints Tribunal (Kifid) can act as the competent
     ADR authority in The Netherlands and the Gibraltar Public Services Ombudsman, as the
     competent ADR authority for Gibraltar, that wants to encourage the development of ADR.1

     In article 3 of the Directive on certain aspects of mediation in civil and commercial matters,
     mediation is defined as: “a structured process, however named or referred to, whereby two or
     more parties to a dispute attempt by themselves, on a voluntary basis, to reach an agreement
     on the settlement of their dispute with the assistance of a mediator. This process may be
     initiated by the parties or suggested or ordered by a court or prescribed by the law of a
     Member State.” 2

     The Dutch Civil Code allows representative actions under article 3:305a. A representative
     organization may file a claim to protect the interests of others, if the organization's objective,
     as defined in its articles of association, is to act for the benefit of those interests.
     All types of actions may be brought under article 3:305a, including securities, competition
     and product liability claims.

     Audit Inquiry Letter

     Provide full disclosure and transparency when your accountant prepares the financial
     statements and issues its opinion on them; the accounting firm must comply with, among
     other things, Statement of Financial Accounting Standards.

     The bitcoin wallet for the token sale of RIF Labs is being monitored:
     3FiMKffg2kY2Pi2Kebn2HZqN7m6kEcNUMk where a chain analysis is being performed on
     usage of proceed will need to be matched. An attempt to drain these wallets by the
     RSK/RIF/IOV Labs team will be immediately reported to all Authorities mentioned in the
     above overview.

     1
         Principles on the protection and promotion of the ombudsman institution (“the Venice Principles”)
     2
         Directive 2008/52/EC on certain aspects of mediation in civil and commercial matters (PbEU L 136)
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     Claimant request RSK Labs Limited, RIF/IOV Labs Limited to provide us with the audited
     financials of both entities, in order to review the use of proceeds by Defendant for both RSK
     Labs Limited and RIF/IOV Labs Limited.

     Claimant further request an overview of the financials of Ginger Developments Limited and
     other affiliated companies.

     Consumer and retail protection in Europe

     Dutch Court, civil matters Mark Levin, Esteban Arturo van Goor, Megalodon Capital
     Management B.V., jurisdiction where claimant is domiciled, The Netherlands and NOT
     Gibraltar.

     Authority in The Netherlands: Autoriteit Consument & Markt (ACM), The
     Netherlands.

     By way of derogation from Article 4(1) and Article 7(1) of the Brussels la Regulation, 3
     Article 18(1) of that regulation provides that a consumer within the meaning of Article 17(1)
     thereof may sue the other party to a contract, not only in the courts of the Member State where
     that party is domiciled, but also in the courts for the place where the consumer is domiciled.

     Articles 17, 18 and 19 of the Brussels la Regulation, which make up Section 4 of Chapter II
     thereof, entitled 'Jurisdiction over consumer contracts', serve to ensure adequate protection for
     the consumer, as the party deemed to be economically weaker and less experienced in legal
     matters than the other, commercial, party to the contract4.

     Retail clients, like Megalodon Capital Management BV, are granted full protection in
     Europe.5 In particular as regards the information which the investment firm is required to
     provide the client with.

     According to recital 86 of Directive 2014/65, which repealed and replaced Directive 2004/39,
     'it is appropriate to make it dear that principles to act honestly, fairly and professionally and
     the obligation to be fair, dear and not misleading apply to the relationship with any clients'.
     Interpretation of Article 17(1) of Regulation (EU) No 1215/2012 of the European Parliament
     and of the Council of 12 December 2012 on jurisdiction and the recognition and enforcement
     of judgments in civil and commercial matters6.


     3
       Judgments of 20 January 2005, Gruber, C-464/01, EU:C:2005:32, paragraph 34; of 7 December 2010, Pammer
     and Hotel A/penhof. C-585/08 and C-144/09, EU:C:2010:740, paragraph 53; of 6 September 2012, Mühlleitner,
     C-190/11, EU:C;2012:542, paragraph 26; and of 14 March 2013, ëeská spofftelna, C-419/11, EU:C:2013:165,
     paragraph 26.
     4
       Judgments of 19 January 1993, Shearson Lehman Hutton, C-89/91, EU:C:1993:15, paragraph 18; of 20 January
     2005, Gruber, C-464/01, EU:C;2005:32, paragraph 34; and of 14 March 2013, ëeská spofitelna, C-419/11,
     EU:C;2013:165, paragraph 33.
     5
       Sec, in parlicular, Arliclc 19(J0)(c) of Direclive 2004/39, and Arlicle 24(4)(b) and Articlc 25(8)(c) of Direclive
     2014/65. Sec also Bonneau. T., Pailler, P., Rouaud, A.-C., Tehrani, A., and Vabres, R., Droü financier, LGDJ,
     2017, paragraph 312 ss.
     6
       OJ 2012 L 351, p. 1
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     Regulation No 1215/2012, under recitals 15, 16 and 18 of Regulation No 1215/2012:

     (15) The rules of jurisdiction should be highly predictable and founded on the principle that
     jurisdiction is generally based on the defendant's domicile.

     (16) In addition to the defendant's domicile, there should be alternative grounds of jurisdiction
     based on a close connection between the court and the action or in order to facilitate the sound
     administration of justice.
     (18) In relation to insurance, consumer and employment contracts, the weaker pa1ty should be
     protected by rules of jurisdiction more favorable to his interests than the general rules.'

     Section 4 of Chapter II of that regulation, entitled 'Jurisdiction over consumer contracts',
     includes Articles 17 to 19 of that regulation. Article 17(1) and (3) of the regulation states:

     In matters relating to a contract concluded by a person, the consumer, for a purpose which can
     be regarded as being outside his trade or profession, jurisdiction shall be determined by this
     section, without prejudice to Article 6 and point 5 of Article 7, if:

                a. it is a contract for the sale of goods on instalment credit terms;
                b. it is a contract for a loan repayable by instalments, or for any other form of
                   credit, made to finance the sale of goods; or
                c. in all other cases, the contract has been concluded with a person who pursues
                   commercial or professional activities in the Member State of the consumer's
                   domicile or, by any means, directs such activities to that Member State or to
                   several States including that Member State, and the contract falls within the
                   scope of such activities.

     3. This section shall not apply to a contract of transport other than a contract which, for an
     inclusive price, provides for a combination of travel and accommodation.

     Article 18(1) of that regulation provides:

     A consumer may bring proceedings against the other party to a contract either in the courts of
     the Member State in which that party is domiciled or, regardless of the domicile of the other
     pa1ty, in the courts for the place where the consumer is domiciled.

     Article 19 of Regulation No 1215/2012 is worded as follows:

     The provisions of this section may be departed from only by an agreement:

        1) which is entered into after the dispute has arisen;
        2) which allows the consumer to bring proceedings in courts other than those indicated in
           this section; or
        3) which is entered into by the consumer and the other pa1ty to the contract, both of
           whom are at the time of conclusion of the contract domiciled or habitually resident in
           the same Member State, and which confers jurisdiction on the courts of that Member
           State, provided that such an agreement is not contrary to the law of that Member State.
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     Article 25(4) of that regulation provides:

     Agreements or provisions of a trust instrument conferring jurisdiction shall have no legal
     force if they are contrary to Articles 15, 19 or 23, or if the courts whose jurisdiction they
     purport to exclude have exclusive jurisdiction by virtue of Article 24.

     The Rome I Regulation

     Recitals 7, 28 and 30 of Regulation (EC) No 593/2008 of the European Parliament and of the
     Council of 17 June 2008 on the law applicable to contractual obligations (Rome I) (OJ 2008 L
     177, p. 6; 'the Rome I Regulation'):

     (7) The substantive scope and the provisions of this regulation should be consistent with
     Council Regulation (EC) No 44/2001 of 22 December 2000 on jurisdiction and the
     recognition and enforcement of judgments in civil and commercial matters (Brussels I) [(OJ
     2001 L 12, p. 1))] and Regulation (EC) No 864/2007 of the [European] Parliament and of the
     Council of 11 July 2007 on the law applicable to non-contractual obligations ("Rome II'') [(OJ
     2007 L 199, p. 40))].

     It is important to ensure that rights and obligations which constitute a financial instrument are
     not covered by the general rule applicable to consumer contracts, as that could lead to
     different laws being applicable to each of the instruments issued, therefore changing their
     nature and preventing their fungible trading and offering.

     For the purposes of this regulation, financial instruments and securities are the instruments
     referred to in Article 4 of Directive 2004/39/EC [of the European Parliament and of the
     Council of 21 April 2004 on markets in financial instruments, amending Council Directives
     85/611/EEC and 93/6/EEC and Directive 2000/12/EC of the European Parliament and of the
     Council and repealing Council Directive 93/22/EEC (OJ 2004 L 145, p. 1)).

     Article 1 of the Rome I Regulation, entitled 'Material scope', states, in the first subparagraph
     of paragraph 1 thereof:

     This regulation shall apply, in situations involving a conflict of laws, to contractual
     obligations in civil and commercial matters.

     Article 6 of that regulation, entitled 'Consumer contracts', provides:

     Without prejudice to Articles 5 and 7, a contract concluded by a natural person for a purpose
     which can be regarded as being outside his trade or profession (the consumer) with another
     person acting in the exercise of his trade or profession (the professional) shall be governed by
     the law of the country where the consumer has his habitual residence, provided that the
     professional:

     (a)     pursues his commercial or professional activities in the country where the consumer
     has his habitual residence, or
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     (b)     by any means, directs such activities to that country or to several countries including
     that country, and the contract falls within the scope of such activities.
     Paragraphs 1 and 2 shall not apply to:

     (d) rights and obligations which constitute a financial instrument and rights and obligations
     constituting the terms and conditions governing the issuance or offer to the public and public
     take-over bids of transferable securities, and the subscription and redemption of units in
     collective investment undertakings in so far as these activities do not constitute provision of a
     financial service.

     Directive 2004/39/EU

     Article 4 of Directive 2004/39, which is entitled 'Definitions', provides in paragraph 1: 'For
     the purposes of this directive:

     "client" means any natural or legal person to whom an investment firm provides investment or
     ancillary services;
     "Professional client" means a client meeting the criteria laid down in Annex II;
     "Retail client" means a client who is not a professional client;
     "Financial instruments" means those instruments specified in Section C of Annex l.

     Under the heading 'Financial instruments', Section C of Annex I to Directive 2004/39 set out
     the list of financial instruments covered by that directive, including, in point 9 of that section,
     'financial contracts for differences'.

     Under the heading 'Categories of clients considered as professionals', Section I of Annex Il to
     Directive 2004/39 stated:

     The following should all be regarded as professionals in all investment services and activities
     and financial instruments for the purposes of the directive:

     1.     Entities which are required to be authorized or regulated to operate in the financial
     markets. The list below should be understood as including all authorized entities carrying out
     the characteristic activities of the entities mentioned:

     (a)    Credit institutions
     (b)    investment firms
     (c)    Other authorized or regulated financial institutions

     2.     Large undertakings meeting two of the following size requirements on a company
     basis:

                        ▪   balance sheet total: EUR 20 million;
                        ▪   net turnover: EUR 40 million;
                        ▪   own funds: EUR 2 million.
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     3.     National and regional governments, public bodies that manage public debt, Centra!
     Banks, international and supranational institutions such as the World Bank, the International
     Monetary Fund (IMF), the European Centra! Bank (ECB), the European investment Bank
     (EIB) and other similar international organizations.
     4.     Other institutional investors.


     Jana Petruchová V FIBO Group Holdings Limited, Case C-208/18

     In the view of the court, a 'retail customer' within the meaning of Article 4(1)(12) of Directive
     2004/39 is not necessarily a 'consumer' within the meaning of Article 17(1) of Regulation No
     1215/2012, in that those two acts of secondary legislation differ in scope and that a 'retail
     customer' within the meaning of the first of those acts may be a professional within the
     meaning of the second.

     Second, the referring court points out that, even if it is necessary to ensure that the uniformity
     of legal regimes relating to rules governing conflict of laws and the determination of
     international jurisdiction in matters relating to consumer contracts is maintained, Article 17(1)
     of Regulation No 1215/2012 should not be interpreted in the same way as Article 6(1) of the
     Rome I Regulation, since those regulations do not have the same purpose, the former
     governing procedural matters and the latter dealing with the problem of conflict of laws in
     order to determine the applicable substantive law.

     Thus, the provisions of Section 4 of Chapter II of Regulation No 1215/2012 apply to contracts
     relating to financial and investment instruments, since only certain transport contracts are
     excluded from the scope of that section.

     In that regard, it also fellows from the Court's judgment of 28 January 2015, Kolassa, (C-
     375/13, EU:C:2015:37), that Article 17(1) of Regulation No 1215/2012 does not restrict
     consumer protection in respect of financial and investment instruments.

     It is irrelevant, for the purposes of classifying a person as a 'consumer' within the meaning of
     Article 17(1) of Regulation No 1215/2012, whether the transactions carried out involve a
     substantial amount, whether the person concerned has special knowledge and expertise, or
     whether the contract in question is complex, atypical or gives rise to risks for that person of
     which he has been informed.

     In accordance with the case-law of the Court, Article 17(1) of Regulation No 1215/2012
     applies if three conditions are met: first, a party to a contract is a consumer who is acting in a
     context which can be regarded as being outside his trade or profession; second, the contract
     between such a consumer and a professional has actually been concluded; and, third, such a
     contract falls within one of the categories referred to in Article l 7(1)(a) to (c).

     For the purposes of that classification, of the fact that that person is a 'retail customer' within
     the meaning of Article 4(1)(12) of Directive 2004/39, it is appropriate to bear in mind that that
     provision defines a 'retail customer' as 'a customer who is not a professional customer'. Under
     Article 4(1)(11), a professional client is 'any client who meets the criteria set out in Annex II'
     to that Directive.
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     In accordance with Section I of Annex Il to Directive 2004/39, for the purposes of that
     directive, for all investment services and activities and financial instruments, first, entities that
     are required to be authorized or regulated to operate in financial markets, such as credit
     institutions or investment firms; second, large companies meeting two of the three criteria,
     namely a balance sheet total of EUR 20 million, a net turnover of EUR 40 million and own
     funds of up to EUR 2 million; third, public entities or institutions such as national
     governments, centra! banks or the World Bank, and, fourth, other institutional investors are
     regarded as professionals. However, entities falling into one of those four categories may
     request to be treated as non-professionals.

     A 'retail client', within the meaning of Article 4(1)(12) of Directive 2004/39, may also be a
     legal person.

     It also follows therefrom that the classification of 'retail customer' within the meaning of
     Article 4(1)(10) and (12) of Directive 2004/39 is not subject to the lack of commercial activity
     of the person concerned, unlike the classification of 'consumer' within the meaning of Article
     17(1) of Regulation No 1215/2012.

     In addition, the classification of 'consumer' and that of 'retail client', provided for in those
     provisions, pursue different objectives.

     The first of those classifications, affords protection when the court competent to rule on a
     dispute in civil and commercial matters is determined, while the second, as is apparent from
     the provisions of Section I of Annex II to Directive 2004/39, seeks to protect an investor, in
     pa1ticular as regards the scope of the information that the investment firm is required to
     provide to him.

     Consequently, although it cannot be excluded that a 'retail client' within the meaning of
     Article 4(1)(12) of Directive 2004/39 may be classified as a 'consumer' within the meaning of
     Article 17(1) of Regulation No 1215/2012 if it is a natural person acting outside any
     commercial activity, those two concepts, having regard to the differences in their scope and in
     the objectives pursued by the provisions providing for them, do not fully overlap.

     It follows that a person's status as a 'retail client' within the meaning of Article 4(1)(12) of
     Directive 2004/39 is, as such, in principle irrelevant for the purpose of classifying him as a
     'consumer' within the meaning of Article 17(1) of Regulation No 1215/2012.

     Ramona Ang v Reliantco Investments Limited [2019] EWHC 879

     An individual investor, with substantial means and more knowledge and experience than the
     average person, can still be considered a ‘consumer’ for the purposes of Article 17 of
     Regulation (EU) No 1215/2012 on jurisdiction and enforcement of judgments in civil and
     commercial matters (“Recast Brussels Regulation“), even when contracting to trade a
     specialized product such as cryptocurrency.
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     The question is whether a private individual committing capital to speculative currency
     transactions in the hope of making investment gains is, or can be, a ‘consumer’ in that
     definition. Wealthy consumers are consumers nonetheless and the amounts involved in this
     case do not mean Ms Ang was not a consumer. For example, in Case C-585/08, Pammer v
     Reederei Karl Schluter GmbH and Case C-177/09, Hotel Alpenhof GesmbH v Heller [2010]
     ECR I-12527, contracts for an ocean cruise and an alpine holiday were held to be consumer
     contracts. The investment by a private individual of her surplus wealth, in the hope of
     generating good returns (whether in the form of income on capital, capital growth, or a mix of
     the two), is not a business activity, generally speaking. It is a private consumption need, in the
     sense intended by the ECJ in BeniNCASa, to invest such wealth with such an aim.

     Consumer investors may choose to handle their own investments and investment choices;
     many investment businesses routinely engage intermediaries or advisers. How any individual
     deals with the investment of her private wealth is an intensely personal matter. The use, or
     not, of intermediaries or advisers, as an aspect of the personal investment choices and
     arrangements of any given individual, should rightly be taken into account, but only as part of
     considering that individual’s particular case on the whole of the available evidence, not under
     any presumption that the use of intermediaries or advisers makes an investor (more likely to
     be) a consumer or that their absence makes her (more likely to be) an investment business.

     European Securities and Markets Authority (ESMA)

     RSK/IOV/RIF Labs needs to comply with a full set of EU financial rules, including the Prospectus
     Directive, the Transparency Directive, MiFID II, the Market Abuse Directive, the Short
     Selling Regulation, the Central Securities Depositories Regulation and the Settlement Finality
     Directive.

     Risks to investor protection and market integrity

     The total funds raised by ICO’s worldwide amounted to between usd 4 billion and usd 6
     billion in 2017 (the funds raised mainly in the last few months of year), compared to usd 100
     million in 2016. Since the beginning of 2018, total funds raised between 1 January and 1 June
     amounted to usd 9.5 billion, or nearly usd 2 billion per month.7

     Most popular are projects developing B2B decentralised blockchain, hi-tech infrastructure,
     crypto-related financial services. Other popular ICO startups are not necessarily decentralised:
     peer-to-peer marketplaces, business services, media (advertising), entertainment (gambling,
     gaming), healthcare.8


     7
       See S.T. Howell, M. Niessner and D. Yermack, ‘Initial coin offerings: Financing growth with cryptocurrency
     token sales’, ECGI Working Paper Series in Finance (2018), at 1.
     8
      See the empirical studies: S. Adhami, G. Giudici and S. Martinazzi, ‘Why do businesses go crypto? An
     empirical analysis of Initial Coin Offerings.’ Journal of Economics and Business (2018) 100, 64–75; G. Fenu, L.
     Marchesi, M. Marchesi and R. Tonelli, ‘The ICO phenomenon and its relationships with ethereum smart contract
     environment’, in: Blockchain Oriented Software Engineering (IWBOSE), 2018 International Workshop on 2018
     Mar 20. IEEE, (2018) 26–32.
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     According to Satis Research Group 78 percent of all ICOs by number were scams in 2017
     with the value of usd 1,34 billion and 4 percent of all ICOs by number failed with their value
     of usd 1,66 billion. Only 7 percent were regarded as successful with the trading value
     of usd 6,62 billion as of October 2018.9

     The Ethereum blockchain is dominant for ICO scams like RIF/RSK Labs, with 74 percent of tokens
     using the erc20 smart contract. See supra note 1 (Howell et al., 2018), at 23. Nearly 85
     percent of ICOs use Ethereum (569 out of 675 according to Coin Market Cap and 381 out of
     435 according to ICO Drops).10

     The recent blockchain-related phenomenon of initial coin offerings has given rise to some
     prominent court cases. These cases raise particularly interesting jurisdictional questions,
     especially in light of the difﬁculty of reconciling the decentralized nature of the block-chain
     with the territorial approach whereby jurisdiction is typically allocated among national courts.

     Legal qualification

     “Financial instruments” are defined in Article 4(1)(15) of MiFID II as those “instruments
     specified in Section C of Annex I.” These are inter alia ‘transferable securities’, ‘money
     market instruments’, ‘units in collective investment undertakings’ and various derivative
     instruments.

     “Transferable securities” under Article 4(1)(44) of MiFID II, means those “classes of
     securities which are negotiable on the capital market, with the exception of instruments of
     payment, such as:
        ▪ shares in companies and other securities equivalent to shares in companies,
             partnerships or other entities, and depositary receipts in respect of shares;
        ▪ bonds or other forms of securitized debt, including depositary receipts in respect of
             such securities;
        ▪ any other securities giving the right to acquire or sell any such transferable securities
             or giving rise to a cash settlement determined by reference to transferable securities,
             currencies, interest rates or yields, commodities or other indices or measures;”.

     In an effort to determine the legal status of crypto-assets and determine possible applicability
     of EU financial regulation ESMA undertook a survey of NCAS in the summer of 2018 with
     the aim to collect detailed feedback on the possible legal qualification of crypto-assets as
     financial instruments. RSK/IOV/RIF Labs will qualify as transferable securities and/or other
     types

     9
       See Securities and Markets Stakeholder Group, 2018. ‘Own Initiative Report on Initial Coin Offerings and
     Crypto-Assets’, European Securities and Markets Authority, Securities and Markets Stakeholder Group, 2018.
     At 7. Retrieved 5 November 2018 https://www.ESMA.europa.eu/sites/default/files/library/ESMA22-106-
     1338 SMSG advice - report on ICOs and crypto-assets.pdf (SMSG Report).
     10
        See L. Rhue, ‘Trust is All You Need: An Empirical Exploration of Initial Coin Offerings (ICOs)
     and ICO Reputation Scores’, SSRN (2018) 37. Over 540 app tokens in public circulation, with a total market
     capitalisation that has widely fluctuated, reaching over USD 365 billion in terms of total token supply as of
     January 2018. Almost half of these tokens have been deployed on the Ethereum blockchain, and the majority of
     these tokens have been sold in 2017 See supra note 13 (Rohr & Wright, 2018), at 481.
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     of financial instruments. These crypto-assets should therefore comply with the existing EU
     financial regulation.

     Protection of retail investors under MIFID II

     The main reasoning behind the legal protection of investors is the establishment of a broad
     fiduciary duty of the firms to act in accordance with the best interest of their clients11.
     As an investment provider, RSK/IOV/RIF Labs is required to disclose all the relevant
     information to retail clients about the transaction and the financial instruments shelled. MiFID
     II clearly states the disclosure principles, establishing the obligation of investment firms to
     provide “fair, clear and not misleading” information in “comprehensive form”.12 There is a
     detail list of the disclosure contents aiming to provide investors with a full picture of the
     followed investment strategy.13

     MiFID II clearly qualifies self-placement as an investment service, through a broad definition
     of “execution of orders on behalf of clients”.14 In the case of self-placement of financial
     products, RSK/IOV/RIF Labs is obliged to refrain from activities where the conflicts of
     interests cannot be managed, so as “to prevent any adverse effects on clients”.15

     Alternative Dispute Resolution (ADR)

     The Dutch Civil Code allows representative actions under article 3:305a. A representative
     organization may file a claim to protect the interests of others, if the organization's objective,
     as defined in its articles of association, is to act for the benefit of those interests.
     All types of actions may be brought under article 3:305a, including securities, competition
     and product liability claims.

     On 27 July 2005, the Act on Collective Settlement of Mass Damages (Wet collectieve
     afwikkeling massaschade) came into force, facilitating the collective settlement of mass
     damages. The Act was amended on 1 July 2013. The Act was originally created for "mass
     disaster accidents" where many people suffer similar damages at the same time.
     Under the settlement agreement, one or more parties agrees to pay damages to all those
     affected. Damages are settled on the basis of "damage classes". The settlement agreement is
     entered into between a representative organization which, according to its articles of
     association, acts in the interests of the parties affected, and the party or parties that will pay
     the damages.




     11
        MiFID II, art 24(1).
     12
        MiFID II, art 24(3)(5).
     13
        MiFID II, art 24(4).
     14
        MiFID II, art 4(1)(5).
     15
        Delegated Regulation, art 41(2).
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     The Prospectus Directive

     The Prospectus Directive16 (PD) requires publication of a prospectus before the offer of
     securities to the public or the admission to trading of such securities on a regulated market
     situated or operating within a Member State, unless certain exclusions or exemptions apply. In
     particular, the PD specifies that the prospectus shall contain the necessary information which
     is material to an investor for making an informed assessment of the financial condition of the
     issuer and of any guarantor, the rights attaching to the securities and the reasons for the
     issuance and its impact on the issuer. The prospectus cannot be published until it has been
     approved by the competent authority.


     The Transparency Directive

     The Transparency Directive17 (TD) aims to provide the disclosure of accurate, comprehensive
     and timely information about issuers whose securities are admitted to trading on a regulated
     market situated or operating within a Member State. In particular, it requires disclosure of
     periodic and ongoing information about these issuers, e.g., annual financial reports, half-
     yearly reports, interim management statements, acquisition or disposal of major holdings and
     any changes in the rights of holders of securities.

     The Markets in Financial Instruments Directive framework

     The Market in Financial Instruments Directive framework (MiFID II) consist of a
     directive18(MiFID 2), a regulation19 (MiFIR) and their implementing acts. A firm that
     provides investment services/activities in relation to financial instruments as defined by
     MiFID II needs to be authorized as an investment firm and comply with MiFID II
     requirements.

     Where crypto-assets qualify as financial instruments, a number of crypto-asset related
     activities are likely to qualify as investment services/activities such as placing, dealing on
     own account, operating an MTF or OTF or providing investment advice. The organizational
     requirements, the conduct of business rules and the transparency and reporting requirements
     laid down in MiFID II would then apply, depending in some cases on the type of services
     offered and the type of financial instrument involved.

     RSK/IOV/RIF Labs needs to fulfil the operations conditions provisions set out in Title II
     Chapter II of MiFID 2, to identify and to prevent or manage conflicts of interest, provisions to
     act honestly, fairly and professionally in accordance with the best interest of its clients,
     provisions to ensure that all information addressed to clients is fair, clear and not misleading
     and the obligation to execute orders on terms most favorable to the client.




     16
        Directive 2003/71/EC as amended
     17
        Directive 2013/50/EU amending Directive 2004/109/EC
     18
        Directive 2014/65/EU
     19
        Regulation (EU) No 600/2014
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     MTFS and OTFs need to have in place transparent and non-discriminatory rules for access to
     their facilities according to Article 18(3). Similar provisions apply to RMs under Article 53.
     In addition, Article 53(3) determines the conditions for RMs and MTFS [see Article 19] to
     admit members or participants that are not investment firms or credit institutions authorized
     under Directive 2013/63/EU. Such members or participants must be of sufficient good repute,
     have sufficient level of trading ability, competence and experience, have adequate
     organizational arrangements and have sufficient resources for the role to be performed.
     Under 53(7) the market operator needs to communicate on a regular basis the list of its
     members or participants of its regulated market to its competent authority.

     There is an obligation to maintain records for five years of the orders in financial instruments
     as set out in Article 25(1) of MiFIR. A similar requirement applies to operators of trading
     venues for at least five years as set out in Article 25(2) of MiFIR.

     Article 26 sets out the obligation to report transactions to their competent authority and the
     details to be reported. The operator of the trading venue is responsible for reporting the details
     of the transactions where the participant is not an investment firm.

     The Market Abuse Regulation

     The Market Abuse Regulation (MAR)20 prohibits insider dealing, the unlawful disclosure of
     inside information and market manipulation (market abuse) in relation to the following
     instruments:

     (a) financial instruments admitted to trading on a regulated market or for which a request for
     admission to trading on a regulated market has been made;
     (b) financial instruments traded on an MTF, admitted to trading on an MTF or for which a
     request for admission to trading on an MTF has been made;
     (c) financial instruments traded on an OTF; and (d) financial instruments not covered by point
     (a),(b) or (c), the price or value of which depends on or has an effect on the price or value of a
     financial instrument referred to in those points’ [Article 2]. The above prohibitions apply to
     any person [Article 14].

     Where crypto-assets qualify as financial instruments, and provided they are traded or admitted
     to trading on a trading venue (or, where they are not traded on a trading venue, their price or
     value depends or has an effect on the price or value of a financial instrument traded on a
     trading venue), MAR would become applicable. In addition, the trading platforms would need
     to have in place effective arrangements, systems and procedures aimed at preventing,
     detecting and reporting market abuse [Article 16]. Issuers would need to disclose inside
     information as soon as possible [Article 17] and to maintain an insider list [Article 18].

     Managers at issuers would need to notify the competent authority of every transaction
     conducted on their own account [Article 19]. Persons who produce or disseminate investment
     recommendations would also need to ensure that such information is objectively presented
     [Article 20], which may be particularly pertinent for crypto-asset markets where limited

     20
          Regulation (EU) No 596/2014
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     trading volumes and / or concentrated ownership of certain crypto-assets may raise greater
     risks of conflicts of interest.

     ESMA has not analysed at this point in time whether the price of a financial instrument could
     be influenced through manipulative trading activity in crypto-assets that do not qualify as a
     financial instrument (for instance where the same issuer has issued financial instruments
     traded on a trading venue and crypto-assets), and whether the current regulatory framework
     would adequately address that situation. ESMA recommends that this possibility could be
     considered and addressed in any further MAR revision.

     Also, the novel nature of crypto-asset market could mean that some new abusive behaviours
     may arise which are not directly captured by MAR or current market monitoring
     arrangements. For example, new actors may hold new forms of inside information, such as
     miners and wallet providers, which could potentially be used to manipulate the trading and
     settlement of crypto-assets.

     The application of MAR might also raise specific issues in the case of decentralised trading
     platforms, as there may be a lack of clarity as to the identity of the market operator.

     The Settlement Finality Directive and the Central Securities Depositories Regulation

     These pieces of legislation apply to settlement activities. The Settlement Finality Directive
     (SFD)21 aims at reducing systemic risk associated with participation in payment, clearing and
     securities settlement systems, in particular the risks linked to insolvency of a participant in
     such a system. SFD applies to systems duly notified as well as any participant in such a
     system, and to collateral security provided in connection with the participation in a system, or
     operations of the central banks of the Member States in their functions as central banks.

     The aim of the Central Securities Depositories Regulation (CSDR)22 is to harmonize certain
     aspects of the settlement cycle, settlement discipline and provide a set of common
     requirements for CSDs operating securities settlement systems in order to enhance cross
     border settlement in the EU. It applies to the activities of CSDs and to the settlement of
     transactions in all MiFID financial instruments, unless specified otherwise.

     Settlement provisions

     Different requirements may apply to firms/participants that engage in securities settlement
     activities, depending on the existence of a ‘securities settlement system’ and on the
     applicability of SFD and CSDR.

     Article 2(a) of SFD specifies that a ‘system’ shall mean a formal arrangement between three
     or more participants, with common rules and standardised arrangements for the clearing or
     execution of transfer orders designated as a system by the Member State whose law is
     applicable. A system under the SFD is governed by the law of a Member State chosen by its
     participants (the participants may only choose the law of a Member State in which at least one
     21
          Directive 2009/44/EC
     22
          Regulation (EU) No 909/2014
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     of them has its head office). Article 2(10) of CSDR further specifies that a ‘securities
     settlement system’ means a ‘system’, as defined in the SFD, that is not operated by a central
     counterparty whose activity consists of the execution of transfer orders.

     Criteria typically considered by Member States to designate a securities settlement system
     under SFD may include the volume and value of all securities transactions that are settled
     through the system and its systemic importance.

     Key provisions, potential gaps and issues, where there is a securities settlement system
     If there were a ‘securities settlement system’ for crypto-assets, e.g., if the trading platform or
     the DLT network on which the execution of crypto-asset transactions is concluded, this
     system would need to be operated by a ‘system operator’, which, according to the SFD,
     means the entity or entities legally responsible for the operation of a system. A first issue that
     would arise is whether a market operator could be identified, e.g., in case of trading platforms
     using so-called ‘decentralized’ business models.

     If the crypto-assets are transferable securities referred to in Article 3 of CSDR, which are
     traded on a trading venue or transferred following a financial collateral arrangement, they
     would have to be recorded with an authorized CSD as defined under Article 2(1)(1) of CSDR.

     The operator of the trading platform or the DLT network would therefore need to seek
     authorization as a CSD (whether the operator should be authorized as trading venue and CSD
     would require further consideration in that respect) or work with an authorized CSD, which
     would bear a number of implications in terms of organization, resources and costs. CSDs need
     to operate under Title III of CSDR. Whether permissionless DLTs, due to the specific
     governance issues that they raise, might fulfil these requirements is an issue that requires
     additional consideration. For example, one issue that could be considered is the role of
     ‘miners’ and how they would be handled under the CSDR in terms of governance and
     technical requirements given their novel and fundamental role in the settlement process.

     According to Article 2(f) of SFD, the participants to that system would need to be an
     institution, a central counterparty, a settlement agent, a clearing house or a system operator.
     Under the SFD, an institution can be a credit institution, an investment firm, a public authority
     or publicly guaranteed undertaking, or any undertaking whose head office is outside the
     Community and whose functions correspond to those of the Community credit institutions or
     investment firms. This might raise issues, considering that many participants of crypto-asset
     trading platforms and of DLT networks today are individuals. Some crypto-asset trading
     platforms might therefore need to re-consider the range of services/activities that they offer to
     certain types of clients that do not qualify as an institution as defined in the SFD. It should be
     mentioned that the SFD leaves to the discretion of Member States to broaden the scope of
     entities that qualify as institutions in some cases, provided that at least three participants to the
     system are covered by the categories mentioned above, and that such a decision is warranted
     on grounds of systemic risk.

     Other important considerations would be that the system and its participants would need to
     comply with the provisions of Articles 3 to 9 of SFD (transfer and netting legally binding on
     third parties, rights of holders of collateral security insulated from the effects of the
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     insolvency of the provider, etc.). The system and its participants would also need to comply
     with the settlement periods and settlement discipline requirements prescribed by Articles 5 to
     7 of CSDR (settlement on the intended settlement date and, for transferable securities which
     are traded on trading venues, no later than on the second business day after the trading takes
     place, as well as measures to prevent and address settlement fails). ESMA anticipate a number
     of potential issues in relation to settlement finality and Delivery versus Payment (DvP) in a
     DLT environment, e.g., how to define and achieve settlement finality with DLT from an
     operational and legal perspective, considering ‘consensus’ validation and the risk of ‘forks’,
     how to achieve DvP, especially when there is a ‘cash’ leg that is not processed on DLT. The
     provision of settlement in central bank money, which is a practice encouraged by CSDR,
     where practical and available, would also require consideration.

     The current speed (or variability of speed) with which transactions are completed on DLT
     under some trading models may pose challenges to fulfil the timeline requirements set by
     CSDR. An additional issue to be considered is related to access to the system, as well links
     with other financial market infrastructures and trading venues (traditional or DLT based).
     Noteworthy, these issues would be heightened for permissionless DLTs.

     Importantly, while providers of CSD type services in a DLT framework should be subject to
     the same requirements as provided by SFD and CSDR, ESMA believes that consideration
     would need to be given as to whether and how to tailor the existing rules to address any new
     issues and risks raised by the technology, also with the objective not to hinder developments
     that may benefit users.

     Lack of a designated securities settlement system

     If not designated as a securities settlement system under the SFD, the trading platform or
     underlying DLT may qualify as a settlement internaliser under CSDR. Article 2(1)(11) of
     CSDR defines a settlement internaliser as any institution which executes transfer orders other
     than through a securities settlement system.

     According to Article 9 of CSDR, settlement internalisers shall report to the competent
     authorities on a quarterly basis the aggregated volume and value of all securities transactions
     that they settle outside securities settlement systems. The internalised settlement reporting
     requirements are further specified in the Commission Delegated Regulation (EU) 2017/391,
     while the reporting templates and procedures are defined in the Commission Implementing
     Regulation (EU) 2017/393. Noteworthy, SFD would not apply in this case, meaning that
     investors would not benefit from the safeguards that SFD provides.

     Settlement provisions applicable to trading venues

     Article 6(1) of CSDR provides that trading venues shall establish procedures that enable the
     confirmation of relevant details of transactions in financial instruments23 on the date when the
     transaction has been executed. Article 6(2) provides that notwithstanding the requirements

     23
       Financial instruments referred to in Article 5(1) of CSDR, i.e. transferable securities, money-market
     instruments, units in collective investment undertakings and emission allowances.
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     laid down in Article 6(1) authorized investment firms shall, where applicable, take measures
     to limit the number of settlement fails. Such measures shall at least consist of arrangements
     between the investment firms and its professional clients to ensure the prompt communication
     of an allocation of securities to the transaction, confirmation of that allocation and
     confirmation of the acceptance or rejection of terms in good time before the intended
     settlement date. Those crypto-assets trading platforms that qualify as RMs, MTFS, OTFs or
     investment firms will therefore need to fulfil these requirements.

     Book-entry form requirements

     According to Article 3(1) of CSDR, an issuer established in the Union that issues or has
     issued transferable securities which are admitted to trading or traded on trading venues shall
     arrange for such securities to be represented in book-entry form. This requirement shall apply
     from 1 January 2023 to transferable securities issued after that date and from 1 January 2025
     to all transferable securities.

     According to Article 3(2) of CSDR, where a transaction in transferable securities takes place
     on a trading venue the relevant securities shall be recorded in book-entry form in a CSD.

     Where transferable securities are transferred following a financial collateral arrangement as
     defined in point (a) of Article 2(1) of Directive 2002/47/EC, those securities shall be recorded
     in book-entry form in a CSD on or before the intended settlement date, unless they have
     already been so recorded. These requirements are already applicable.

     Recital 11 of the CSDR provides that the Regulation should not impose one particular method
     for the initial book-entry form recording which should be able to take the form of
     immobilisation or of immediate dematerialisation. Immobilisation and dematerialisation
     should not imply any loss of rights for the holders of the securities and should be achieved in
     a way that ensures that holders of securities can verify their rights.

     Based on the above, their issuer, provided it is established in the Union, shall arrange for such
     securities to be represented in book-entry form with an authorized CSD as defined under
     Article 2(1) of CSDR. Other than the reference to the use of ‘securities accounts’24, CSDR
     does not prescribe any particular method for the initial book-entry form recording, meaning
     that any technology, including DLT, could virtually be used, provided that the book-entry
     form is with an authorized CSD. However, there may be national rules that could pose
     restrictions to the use of DLT for that purpose. The legal nature of a securities account (i.e.
     statutory record, contractual construct or accounting device) and the legal nature and effects
     of book entries are still embedded in national law.

     In order to enhance asset protection, CSDR requires CSDs to segregate the securities accounts
     maintained for each participant and offer, upon request, further segregation of the accounts of
     the participants’ clients. CSDs and their participants are required to provide for both omnibus


     24
       Article 2(1) (28) of the CSDR defines a securities account generically as “an account on which securities may
     be credited or debited”.
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     client segregation and individual client segregation so clients can choose the level of
     segregation they believe is appropriate to their needs.

     The recording of securities in book-entry form is an important step towards increasing the
     efficiency of settlement and ensuring the integrity of a securities issue, especially in a context
     of increasing complexity of holding and transfer methods. CSDs play a key role in facilitating
     the timely settlement of securities transactions, and in ensuring the integrity of the securities
     issue (including, according to Article 37 of CSDR, through daily reconciliation measures
     involving the CSD’s participants as well as other relevant entities, such as the issuer,
     registrars, etc.). Crypto-assets trading platforms that qualify as RMs, MTFS, OTFs or
     investment firms may be subject to the reconciliation measures under CSDR.

     Safekeeping and record-keeping of ownership of securities and rights attached to
     securities.

     There is no harmonised definition of safekeeping and record-keeping of ownership of
     securities at EU-level and this task is performed by a wide range of entities such as custodian
     banks, registrars, notaries, depositaries or CSDs. The rules also depend on whether the record-
     keeping applies at the issuer level (notary function) or investor level (custody/safekeeping
     function). At the issuer level, the rules are dependent on each national corporate law. At the
     investor level, depending on the type of investor, the rules will vary across several sectorial
     legislations such as MiFID II or the UCITS V Directive/ AIFM Directive.

     CSDR requirements may also apply in relation to the initial recording of securities in a book-
     entry system (notary service), providing and maintaining securities accounts at the top tier
     level (central maintenance service), or providing, maintaining or operating securities accounts
     in relation to the settlement service, establishing CSD links, collateral management. The
     Financial Collateral Directive (FCD) may also apply if the crypto-assets qualify as assets that
     can be subject to financial collateral arrangements as defined in the SFD. Moreover, the rules
     will also vary according to the national legislation applicable to securities and the rights
     attached to securities, which is not harmonised at EU level.

     When it comes to crypto-assets, a first issue that arises is about the interpretation of what
     constitutes safekeeping services. ESMA’s preliminary view is that having control of private
     keys on behalf of clients might be regarded as safekeeping services and that rules to ensure
     the safekeeping and segregation of client assets should apply to the providers of those
     services. Yet, this requires further consideration, as other criteria may be relevant to qualify
     these services and the ‘holding of private keys on behalf of clients’ may take different forms
     and therefore have different legal meanings. Multi-signature wallets, where several private
     keys held by different individuals instead of one are needed for a transaction to happen, will
     also require consideration. Regulators should then consider the contents of these rules and the
     way in which they might be fulfilled in a DLT environment. This also applies to the
     requirements provided for investment firms that hold financial instruments belonging to
     clients under Article 16(8) of MiFID 2.
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     Directive on investor-compensation schemes

     The Directive on investor-compensation schemes [97/9/EC] provides access to compensation
     up to a specified amount for investors where the investment firm is no longer financially able
     to meet its obligations and requires all authorized investment firms to belong to such a
     scheme. It applies to MiFID firms in relation to MiFID financial instruments.

     The fifth AMLD on money laundering and terrorist financing

     In the July 2014 Opinion the EBA recommended bringing into the scope of the AMLD virtual
     currency-to-fiat exchanges and providers of virtual currency custodian wallet services in order
     to mitigate the risks of money laundering/the financing of terrorism arising from those
     activities. Legislative amendments to this effect were ultimately agreed in the context of the
     AMLD5 negotiations such that providers engaged in exchange services between VCs and fiat
     currencies as well as custodian wallet providers are ‘obliged entities’ within the scope of the
     AMLD.

     Since the EBA’s 2014 Opinion, services such as crypto-to-crypto exchanges (whereby one
     crypto-asset can be exchanged for another type of crypto-asset) have become more prevalent.
     ESMA therefore agrees with the recommendation set by the EBA in its report and advice on
     crypto-assets that the scope of the AMLD should be reviewed in light of these developments
     and the recommendations of the Financial Action Task Force (FATF) of October 2018 to have
     within the scope of AML/CFT obligations: (i) providers of exchange services between crypto-
     assets and crypto-assets; and (ii) providers of financial services for ICOs.

     Blockchain technologies and court litigation

     Over the past two years, ICOs have disrupted the landscape of venture capital, ﬁnancial
     markets, and corporate ﬁnance law, but they have also given rise to some notable high-value
     court cases. The proportions of the ICO phenomenon are far from negligible; US $6 billion
     were raised through ICOs in 2017,25 and Ether (the cryptocurrency most frequently used to
     buy tokens) rose in price from US $9.70 on 1 January 2017 to US$1,016.50 on 1 January
     2018.26 Because of this sudden popularity, ICOs seemed destined to fund a wave of important,
     innovation-driven ideas. Soon, however, signiﬁcant problems surfaced; many projects for
     which ICOs were deployed turned out to be unviable, and national regulators (such as the
     Securities and Exchange Commission in the USA) began to argue that the tokens may qualify
     as securities (hence, implying the existence of serious violations of securities law).27

     Consequences of decentralization for court jurisdiction

     In general, whenever general jurisdiction does not attach to the defendant, US courts can claim
     jurisdiction in the concurring presence of three requirements:
     (i)     the defendant must purposefully direct his activities or conduct transactions with the
     forum or a resident thereof;

     25
        CoinDesk, ICO Tracker <https://www.coindesk.com/ICO-tracker> (accessed 3 May 2019).
     26
        BitStamp <https://www.bitstamp.net/> (accessed 3 May 2019).
     27
        Securities and Exchange Commission, ‘Initial Coin Offerings (ICOs)’ <https://www.sec.gov/ICO> (accessed 3
     May 2019.
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     (ii)     the claim must arise out of these activities;
     (iii)    the exercise of jurisdiction must be reasonable.28

     Applying these criteria to ICOs, it could be possible for US courts to establish personal
     jurisdiction in cases where the ICO was, for example, advertised on a website hosted on a
     server located in the forum, which marketed the offering to investors residing therein.
     Assuming that similar questions would rise before the courts of an EU Member State, the
     most intuitive way to establish jurisdiction would be reliance on Article 4(1) of the Brussels I
     bis Regulation; however, in cases where the defendant is not domiciled in the forum, it would
     become necessary to rely on the special heads enshrined in the instrument.

     If the investor is not a professional, a possible approach could consist in the invocation of the
     forum actoris provision set forth in Articles 17 and 18 for the protection of consumers. From
     this point of view, however, the reasoning of the Court of Justice of the European Union
     (CJEU) in Kolassa may prove to be a signiﬁcant obstacle.29 In Kolassa, the Court held that
     consumer jurisdiction can be established pursuant to the provisions at hand30 only if a direct
     contractual relationship exists between the issuer of the securities and the non-professional
     subscriber. Therefore, if one were to apply the same rationale to ICOs, claimant may only
     invoke the protective head of consumer jurisdiction if they acquired the tokens (as non-
     professional investors) directly from the issuer (that is, the start-up company or the different
     legal entity conducting the ICO on its behalf). If, conversely, the tokens were purchased on
     the secondary market, as it often happens, a non-professional investor could not use Articles
     17 and 18 to establish jurisdiction. For the same reasons, the establishment of jurisdiction in
     contractual matters under Article 7(1) of the Brussels I bis Regulation would likely be
     precluded, as the privity requirement (as entailed in Kolassa) may not be met in the case of a
     secondary market purchase.

     In this scenario, a claimant wishing to avoid the courts of the Member State where the
     respondent is domiciled may have no choice but to try to establish tortious jurisdiction under
     Article 7(2) of the Brussels I bis Regulation.31

     In this respect, the decentralized nature of the blockchain poses some particularly interesting
     challenges. Once again, Kolassa constitutes an important starting point; in that case, the CJEU
     held (also on the basis of its previous case law)32 that, while the mere fact of having suffered
     ﬁnancial damage is not enough to establish tortious jurisdiction at a given location, Member
     State courts have jurisdiction when the ‘damage alleged occurred directly in the applicant’s
     bank account held with a bank established within the area of jurisdiction of those courts’.

     Adapting the same reasoning to the ICOs, it may potentially be argued that the courts of a
     Member State have jurisdiction under Article 7(2) of the Brussels I bis Regulation if the


     28
        Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004).
     29
        Harald Kolassa v Barclays Bank plc, case C-375/13, ECLI:EU:C:2015:37.
     30
        Articles 15 and 16 of the Brussels I Regulation, corresponding to Articles 17 and 18 of the Brussels I bis
     Regulation.
     31
        Corresponding to Article 5(3) of the Brussels I Regulation.
     32
        Kolassa (n 62) para 48 with reference to Kronhofer, case C-168/02, ECLI:EU:C:2004:364.
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     private encryption key33 through which the claimant accessed her or his wallet (for example,
     Ethereum) was stored on a device located in that Member State.34

     It must be noted, though, that the analogy is not perfectly ﬁtting; by their very nature,
     blockchains are decentralized, and a wallet storing tokens is therefore not entirely comparable
     with a bank account. More speciﬁcally, in the case of tokens, the physical location of the
     assets can be established only in an indirect fashion, looking at the location of the private key,
     rather than at the tokens, which only exist on a global distributed ledger with no speciﬁc
     geographical coordinates. Furthermore, the CJEU itself distinguished Kolassa in the Universal
     Music judgment,35 holding that for tortious jurisdiction to exist the location of a bank account
     is not sufﬁcient in and of itself, but further factual circumstances must be present. Thus, given
     that the physical location of a private encryption key may be difﬁcult to determine in practice
     and easy to manipulate, further criteria must be found in order to determine whether Article
     7(2) of the Brussels I bis Regulation is applicable to cases where the claimant purchased
     blockchain-based tokens on the secondary market. The case law of the CJEU offers some
     further important indications in this respect.

     The CJEU revisited the problem of jurisdiction in another prospectus liability case, Löber,36
     which provides some meaningful comparisons with ICO-related litigation. Löber concerned a
     claim brought by a non-professional investor against the issuer of a ﬁnancial instrument.
     Importantly, the claimant and respondent were located in two different EU Member States,
     and the question arose whether the courts of the Member State where the claimant-investor
     was resident had jurisdiction pursuant to Article 5(3) of the Brussels I Regulation37 on the
     basis of the characterization of the investor’s place of residence as the ‘place where the
     harmful event occurred’. Having reiterated that speciﬁc heads of jurisdiction should be
     construed narrowly,38 he Court clariﬁed that ‘the mere fact that the applicant has suffered
     ﬁnancial consequences does not justify the attribution of jurisdiction to the courts of the
     applicant’s domicile if both the events causing damage and the damage itself occurred in the
     territory of another Member State’.39 Against this background, the Court then proceeded to
     reconcile Kolassa with Universal Music, stating that, while the location of a bank account
     may in and of itself not be sufﬁcient to establish jurisdiction in a claim for dam-ages
     constituted by a purely ﬁnancial loss, it may be possible to establish juris-diction in cases

     33
        The private encryption key is the equivalent of a password, through which the investor gains access to the
     tokens he or she has purchased.
     34
        A similar argument has been put forth with reference to cryptocurrencies in the USA by Max I Raskin, ‘Real
     of the Coin: Bitcoin and Civil Procedure’ (2015) 20(4) Fordham Journal of Corporate and Financial Law 969.
     35
        Case C-12/15, Universal Music International Holding BV v Michael Te´treault Schilling and Others,
     ECLI:EU:C:2016:449, paras 36–39. See also the AG Opinion in the same case, ECLI:EU:C:2016:161, paras 44–
     45.
     36
        Helga Löber v Barclays Bank PLC, Case C-304/17, ECLI:EU:C:2018:701; see also AG Opinion,
     ECLI:EU:C:2018:310, in particular paras 68–81, also with reference to Matteo Gargantini, ‘Capital markets and
     the market for judicial decisions: in search of consistency’ (2016) MPI Luxembourg Working Paper Series 18;
     Matthias Lehmann, ‘Prospectus liability and private inter-national law: assessing the landscape after the CJEU
     Kolassa ruling (Case C-375/13)’ (2016) Journal of Private International Law 318; Andra Cotiga, A.,‘C.J.U.E., 28
     janvier 2015, Harald Kolassa c. Barclays Bank PLC, Aff. C-375-13’ (2015) Revue internationale des services
     ﬁnanciers 40.
     37
        Corresponding to Article 7(2) of the Brussels I bis Regulation.
     38
        Löber (n 70) para 23 with reference to Marinari, case C-364/93, ECLI EU:C:1995:289, para 14; Kronhofer (n
     65) para 19 and Universal Music (n 69) para 34.
     39
        Löber (n 70) para 24.
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     where other speciﬁc factors of the case (other than the location of the investor’s bank account)
     point towards the territory of the same Member State.

     In light of the above considerations, the CJEU concluded in Löber that the courts of the
     Member State where the investor was domiciled (namely, Austria) had jurisdiction because,
     besides the location of the investor’s bank account, other factors connected the dispute to that
     Member State. More speciﬁcally, the investor had made all payments from Austria and had
     dealings only with Austrian banks, the instruments were purchased on the Austrian secondary
     market, the information concerning the instruments had been notiﬁed to the Austrian
     supervisory authority, and the investment contract was signed in Austria. Transposing the
     judgment in Löber to the case of tokens, it appears that at least some of the aforementioned
     factors may be relevant for the establishment of jurisdiction. Although the issuance of tokens
     in the recent past has often taken place without the publication of a prospectus and a formal
     notiﬁcation to the competent supervisory authority (which, in and of itself, may constitute a
     cause of action), other elements may play an important role in ICO-related cases. In par-
     ticular, the place of conclusion of the contract could provide an important connection between
     this type of case and the territory of an EU Member State.

     To further complicate the legal framework for the establishment of jurisdiction in ICO-related
     cases, the ICO T&C often adds a further layer of complexity. In this respect, the most
     obviously relevant type of agreement are exclusive jurisdiction clauses; in the case of Tezos,
     for instance, the T&C speciﬁed that ‘(a)ny dispute arising out of or in connection with the
     creation of the [tokens] and the development and execution of the Tezos Network shall be
     exclusively and ﬁnally settled by the ordinary courts of Zug, Switzerland’. As noted by the
     US district judge denying the motion to dismiss, this is best understood not as a ‘click-wrap
     agreement’ but, rather, as a ‘browse strap’ one; when subscribing, investors were not asked to
     check a box indicating consent to the T&C but simply enabled to retrieve the T&C on the
     website advertising the ICO. In order to determine whether the forum selection clause is
     binding, hence, a case-by-case assessment is necessary, evaluating whether—given the
     circum-stances of this case, such as the structure of the website—it is reasonable to expect the
     users to access the T&C and whether the claimant(s), in particular, had any demonstrable
     knowledge of the contents of that document.

     Should analogous ICO-related cases be brought before the courts of an EU Member State, the
     same type of considerations would likely be relevant. More speciﬁcally, the case law of the
     CJEU on click-wrap agreements40 may sometimes not be applicable, depending on the
     structure of the token subscription process. Furthermore, Article 19 of the Brussels I bis
     Regulation would generally prevent the enforcement of such a clause whenever the
     subscribers would qualify as consumers.

     Additional doubt could be cast in regard to the enforceability of a forum se-lection clause in
     cases where the claimant has purchased the tokens on the secondary market; in this setting,
     they would only bind the token holder under two (demanding) conditions:



     40
          Jaouad El Majdoub v CarsOnTheWeb.Deutschland, case C-322/14, ECLI:EU:C:2015:334.
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     that she/he succeeded in the rights and obligations of the primary market purchaser she or he
     bought the tokens from, under the applicable national law and that she or he had the
     possibility to acquaint herself or himself with the contents of the T&C.41

     Finally, it is in any case doubtful to what extent a forum selection clause may cover tortious
     claims (such as the ones based on an allegation of securities fraud). In practice, the language
     and scope of the clause would play a crucial role in this respect, possibly falling short of
     binding the token holders.42

     The same observations would largely apply to cases where the T&C contain an arbitration
     clause; consumer disputes (such as the ones involving retail investors) may be deemed non-
     arbitrable, and further problems may in any case arise de-pending on the attitude adopted by
     the seized court as to the incorporation by reference of agreements to arbitrate43 and on the
     scope of the clause vis-a´-vis non-contractual claims.

     Case C-304/17, Helga Löber v Barclays Bank Plc

     Recitals 11 and 12 of Regulation No 44/2001 state:

     (11) The rules of jurisdiction must be highly predictable and founded on the principle that
     jurisdiction is generally based on the defendant’s domicile and jurisdiction must always be
     available on this ground save in a few well-defined situations in which the subject-matter of
     the litigation or the autonomy of the parties warrants a different linking factor. The domicile
     of a legal person must be defined autonomously so as to make the common rules more
     transparent and avoid conflicts of jurisdiction.

     (12) In addition to the defendant’s domicile, there should be alternative grounds of
     jurisdiction based on a close link between the court and the action or in order to facilitate the
     sound administration of justice.’

     Article 2(1) of that regulation provides:

     ‘Subject to this Regulation, persons domiciled in a Member State shall, whatever their
     nationality, be sued in the courts of that Member State.’

     41
        Proﬁt Investment SIM SpA v Stefano Ossi and Others, case C-366/13, ECLI:EU:C:2016:282.
     42
        Apple Sales International and Others, case C-595/17, ECLI:EU:C:2018:854; Cartel Damage Claims (CDC)
     Hydrogen Peroxide SA v Evonik Degussa GmbH and Others, case C-352/13, ECLI:EU:C:2015:335. A subtler
     issue concerns general terms and conditions (T&C) provisions purporting to select the place where the
     contribution procedure and the token creation and allocation takes place. For instance, the Tezos T&C read as
     follows: ‘The Contribution Software and the Client are located in Alderney. Consequently, the contribution
     procedure, the (token) creation and (token) allocation is considered to be executed in Alderney’. This provision
     may in theory be relevant for the identiﬁcation of both the place of performance (for contract claims) and the
     place where the harmful event occurred (for tortious claim). However, the analysis necessary to locate the
     relevant elements of the case ultimately remains a factual one. Any such clause, hence, should normally be
     disregarded when it appears that, in reality, the facts took place elsewhere.
     43
        Alessandro Villani, ‘Arbitration Clauses Incorporated by Reference: An Overview of the Pragmatic Approach
     Developed by European Courts’ (Kluwer Arbitration Blog, 2015) <http://arbitration-
     blog kluwerarbitration.com/2015/03/03/arbitration-clauses-incorporated-by-reference-an-over-view-of-the-
     pragmatic-approach-developed-by-european-courts/> (accessed 3 May 2019).
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     Article 5(1) and (3) of that regulation provides as follows:
     ‘A person domiciled in a Member State may, in another Member State, be sued:
     (1) (a) in matters relating to a contract, in the courts for the place of performance of the
     obligation in question;
     (3) in matters relating to tort, delict or quasi-delict, in the courts for the place where the
     harmful event occurred or may occur.’

     The jurisdiction provided for in Article 2 of that regulation, namely that the courts of the
     Member State in which the defendant is domiciled are to have jurisdiction, constitutes the
     general rule. It is only by way of derogation from that general rule that the regulation provides
     for special and exclusive rules of jurisdiction for cases, which are exhaustively listed, in
     which the defendant may or must, depending on the case, be sued in the courts of another
     Member State (judgment of 13 July 2006, Reisch Montage,C-103/05, EU:C:2006:471,
     paragraph 22, and of 12 May 2011, BVG,C-144/10, EU:C:2011:300, paragraph 30).

     It is the Court’s settled case-law that the concept of ‘matters relating to tort, delict or quasi-
     delict’ covers all actions which seek to establish the liability of a defendant and do not
     concern ‘matters relating to a contract’ within the meaning of Article 5(1)(a) of Regulation
     No 44/2001 (judgments of 27 September 1988, Kalfelis, 189/87, EU:C:1988:459, paragraphs
     17 and 18; of 13 March 2014, Brogsitter,C-548/12, EU:C:2014:148, paragraph 20; of 21
     April 2016, Austro-Mechana,C-572/14, EU:C:2016:286, paragraph 32, and of 16 June 2016,
     Universal Music International Holding,C-12/15, EU:C:2016:449, paragraph 24).

     In particular, the Court held that Article 5(3) of that regulation applies to an action seeking to
     put in issue the liability of the issuer of a certificate on the basis of the prospectus relating to it
     and of breach of other legal information obligations binding on the issuer, in so far as that
     liability is not based on a ‘matter relating to a contract’, within the meaning of Article 5(1)(a)
     of that regulation (judgment of 28 January 2015, Kolassa,C-375/13, EU:C:2015:37, paragraph
     57).

     With regard to the case in the main proceedings, it is sufficient to observe, first, that the
     referring court has stated that the liability on the basis of the prospectus that was raised before
     it does not fall within the scope of such a ‘matter relating to a contract’ and, secondly, that Ms
     Löber seeks, by the action in the main proceedings, inter alia, a finding that Barclays Bank is
     liable in tort.

     As to the concept of ‘place where the harmful event occurred or may occur’ in Article 5(3) of
     Regulation No 44/2001, those words are intended to cover both the place where the damage
     occurred and the place of the event giving rise to it, so that the defendant may be sued, at the
     option of the applicant, in the courts for either of those places (judgments of 10 June 2004,
     Kronhofer,C-168/02, EU:C:2004:364, paragraph 16; of 28 January 2015, Kolassa,C-375/13,
     EU:C:2015:37, paragraph 45; of 21 May 2015, CDC Hydrogen Peroxide,C-352/13,
     EU:C:2015:335, paragraph 38, and of 16 June 2016, Universal Music International
     Holding,C-12/15, EU:C:2016:449, paragraph 28).
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     In this connection, the Court has held that the term ‘place where the harmful event occurred’
     may not be construed so extensively as to encompass any place where the adverse
     consequences of an event, which has already caused damage actually arising elsewhere, can
     be felt (judgment of 19 September 1995, Marinari,C-364/93, EU:C:1995:289, paragraph 14;
     of 10 June 2004, Kronhofer,C-168/02, EU:C:2004:364, paragraph 19, and of 16 June 2016,
     Universal Music International Holding,C-12/15, EU:C:2016:449, paragraph 34) and that such
     a concept does not refer to the place where the applicant is domiciled and where his assets are
     concentrated by reason only of the fact that he has suffered financial damage there resulting
     from the loss of part of his assets which arose and was incurred in another Member State
     (judgments of 10 June 2004, Kronhofer,C-168/02, EU:C:2004:364, paragraph 21, and of 16
     June 2016, Universal Music International Holding,C-12/15, EU:C:2016:449, paragraph 35).

     Thus, the mere fact that the applicant has suffered financial consequences does not justify the
     attribution of jurisdiction to the courts of the applicant’s domicile if both the events causing
     damage and the damage itself occurred in the territory of another Member State (judgment of
     28 January 2015, Kolassa,C-375/13, EU:C:2015:37, paragraph 49).

     On the other hand, such an attribution of jurisdiction is justified if the applicant’s domicile is
     in fact the place in which the events giving rise to the damage took place or the damage
     occurred (judgment of 28 January 2015, Kolassa,C-375/13, EU:C:2015:37, paragraph 50).
     In the present case, the case in the main proceedings concerns the identification of the place
     where the damage occurred.

     It follows from the Court’s case-law that such a place is that where the alleged damage
     actually manifests itself (judgment of 21 May 2015, CDC Hydrogen Peroxide,C-352/13,
     EU:C:2015:335, paragraph 52).

     In addition, the Court has held that under Article 5(3) of Regulation No 44/2001, the courts
     where the applicant is domiciled have jurisdiction, on the basis of the place where the damage
     occurred, to hear and determine an action seeking to put in issue the liability of the issuer of a
     certificate on the basis of the prospectus relating to it and of breach of other legal information
     obligations binding on the issuer, particularly when the damage alleged occurred directly in
     the applicant’s bank account held with a bank established within the area of jurisdiction of
     those courts (judgment of 28 January 2015, Kolassa, C-375/13, EU:C:2015:37, paragraph 57).
     In its judgment of 16 June 2016, Universal Music International Holding (C-12/15,
     EU:C:2016:449), the Court stated that that finding was made within a specific context, the
     distinctive feature of which was the existence of circumstances contributing to attributing
     jurisdiction to those courts (judgment of 16 June 2016, Universal Music International
     Holding,C-12/15, EU:C:2016:449, paragraph 37).

     Thus, it held that Article 5(3) of Regulation No 44/2001 must be interpreted as meaning that
     the ‘place where the harmful event occurred’ may not be construed as being, failing any other
     connecting factors, the place in a Member State where the damage occurred when that
     damage consists exclusively of financial loss which materialises directly in the bank account
     of the applicant and is the direct result of an unlawful act committed in another Member State
     (judgment of 16 June 2016, Universal Music International Holding,C-12/15, EU:C:2016:449,
     paragraph 40).
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     In the present case, it appears that, taken as a whole, the specific circumstances of the present
     case contribute to attributing jurisdiction to the Austrian courts.

     As is apparent from the order for reference, Ms Löber is domiciled in Austria and all the
     payments in relation to the investment transaction at issue in the main proceedings were made
     from Austrian bank accounts, namely the personal bank account of Ms Löber and the clearing
     accounts specifically intended for the execution of that transaction.

     Moreover, besides the fact that Ms Löber, in connection with that transaction, had dealings
     only with Austrian banks, it is furthermore apparent from the order for reference that she
     acquired the certificates on the Austrian secondary market, that the information supplied to
     her concerning those certificates is that in the prospectus which relates to them as notified to
     the Österreichische Kontrollbank (Austrian supervisory bank) and that, on the basis of that
     information, she signed in Austria the contract obliging her to make the investment, which has
     resulted in a definitive reduction in her assets.

     In addition, conferring jurisdiction on the Austrian courts in circumstances such as those in
     the case in the main proceedings is consistent with the objectives, set out in recitals 11 and 12
     of Regulation No 44/2001, of the predictability of the rules on jurisdiction laid down in that
     regulation, of proximity between the courts designated by those rules and the dispute and of
     the sound administration of justice.

     In this connection, given that the issuer of a certificate who does not comply with his legal
     obligations in respect of the prospectus must, when he decides to notify the prospectus
     relating to that certificate in other Member States, anticipate that inadequately informed
     operators, domiciled in those Member States, might invest in that certificate and suffer
     damage, the objective of Regulation No 44/2001 — which is to strengthen the legal protection
     of persons established in the European Union by enabling the applicant to identify easily the
     court in which he may sue and the defendant reasonably to foresee in which court he may be
     sued — is met by upholding as the place where the damage occurred the place where the bank
     is established in which the applicant possessed the bank account in which the damage
     occurred (see, to that effect, judgment of 28 January 2015, Kolassa,C-375/13, EU:C:2015:37,
     paragraph 56).

     Consequently, the answer to the question referred is that Article 5(3) of Regulation No
     44/2001 must be interpreted to the effect that in a situation, such as that in the main
     proceedings, in which an investor brings, on the basis of the prospectus relating to a certificate
     in which he or she invested, a tort action against the bank which issued that certificate, the
     courts of that investor’s domicile, as the courts for the place where the harmful event occurred
     within the meaning of that provision, have jurisdiction to hear and determine that action,
     where the damage the investor claims to have suffered consists in financial loss which
     occurred directly in that investor’s bank account with a bank established within the
     jurisdiction of those courts and the other specific circumstances of that situation also
     contribute to attributing jurisdiction to those courts.
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     EU Regulatory Framework to Crypto Tokens

     An EU overview of the cryptocurrency-related regulatory measures taken to date highlights
     the fact that these measures have been motivated, on the one hand, by the public interest of
     protecting financial market participants from the risks related to markets in crypto tokens and,
     on the other hand, by the intention to facilitate further development of blockchain-based
     applications and infrastructures.

     Both interests are ensured through interpretations of specific provisions in the existing
     national and supra-national legal framework (civil law, securities law, bankruptcy law,
     international private law, tax law) and proposed amendments or new laws, whichever is
     necessary to introduce legal certainty of the rights and obligations of stakeholders involved
     into the crypto economy. The need to preserve a technology-neutral, principle-based, non-
     discriminatory legal framework has been guiding regulators and legislative actors in their
     search for proportionate public policy; to attract and support digital innovation within the
     limits imposed by the overriding public interests.

     In European Banking Authority’s Opinion, published in 2014, the European Banking
     Authority (EBA) advocated the idea of a globally coordinated regulatory action which is
     required in order to efficiently address the pervasive cross-border international nature of
     ‘virtual currencies’.44

     However, given that international consensus and coordinated harmonisation measures are
     obviously a resource-intensive long-term perspective, the EBA advised the EU Council,
     Commission and Parliament to concentrate in the short term on the most pertinent risks
     related to fraud, money laundering and bankruptcy which have been materialising in operation
     of virtual currency schemes (such as wallet providers and exchanges).
     It shall be noted that the decentralised and anonymous nature of many virtual currency
     schemes does not only attract outright criminal activity and money laundering but also creates
     new risks which, if ignored, may adversely affect the traditional financial services industry.
     For instance, the security and integrity of the transaction ledger, the protocol and the IT
     infrastructure of a decentralised scheme may be undermined by hackers or changed by the
     scheme operators, potentially causing a variety of operational, counterparty, bankruptcy,
     market price volatility and other risks to consumers, investors and market participants.

     Another example is irreversibility of erroneous transactions in the distributed ledger and non-
     recovery of lost private keys which dramatically increase the cost of mistake when consumers
     or market participants transact in virtual currencies. Finally, virtual currencies are not


     44
        The term ‘virtual currency’ was defined in the EBA Opinion as ‘a digital representation of value that is neither
     issued by a central bank or a public authority, nor necessarily attached to a FC [fiat currency], but is accepted by
     natural or legal persons as a means of payment and can be transferred, stored or traded electronically.’ Materially
     the same definition was later included in Article 1 (2)(d)(18) of the EU AML Directive. See European Union,
     2018. ‘Directive (EU) 2018/843 of 30 May 2018 amending Directive (EU) 2015/849 on the prevention of the use
     of the financial system for the purpose of money laundering or terrorist financing’, European Union. 30 May
     2018. Retrieved 6 March 2019 https://eur-
     lex.europa.eu/legalcontent/EN/TXT/?uri=CELEX%3A32018L0843 (EUAML Directive).
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     necessarily backed by any asset or obligation and therefore may lack fundamental value,
     liquidity and guarantee of refund for consumers.

     The unique risks specified above brought the EBA to the conclusion that virtual currencies
     shall not be regarded as an extension of conventional payment and electronic money services
     falling under the remit of a specific existing national or EU law. Until these specific
     technology-related risks are addressed and a harmonised solution enacted, the EBA
     encouraged regulators to combat in the short term the risks stemming from interaction
     between virtual currency schemes and the regulated financial services and, to this end,
     discourage regulated financial service institutions from dealing with virtual currencies until a
     long-term solution is found. At the same time, the EBA noted that a harmonised regulation
     addressing the risks arising from activities between or within virtual currency schemes is
     necessary in order to prevent industry shopping for the most convenient approach to the
     regulation, with European Union consumers receiving accordingly different levels of
     protection.

     In order to address the most pertinent risks and long-term solutions the EBA proposed a
     variety of measures. First of all, risks resulting from anonymity of transactions were
     addressed by the proposal to include virtual currency exchanges and similar services into the
     scope of money laundering and counter terrorist financing (AML/CFT) requirements set out
     in the EU Anti Money Laundering Directive. This initiative has already been implemented on
     the EU level34 and has been advised for implementation on the international level.45

     Further, as a measure aimed to combat criminal activity and to introduce supervision,
     governance and accountability, a high-level proposal for an authorisation requirement
     applicable to virtual currency service providers has been made by the EBA. The proposed
     authorisation standard would be divided into general requirements applicable to all virtual
     currency service providers and those specifically tailored to address particular risks of
     different types of market participants and IT infrastructures. General authorisation
     requirements pursue the objectives common to traditional financial market participants (fraud
     prevention, consumer protection, market integrity, mitigation of operational and counterparty
     risk). For instance, a virtual currency service provider, if operating its business in or from one
     of the EU Member States, would have to be established as a registered and authorised legal
     entity in the EU Member State. For this purpose, both the legal entity and the individuals
     behind it (beneficiaries, personnel with specific functions) would have to conform to a certain
     prudential and competence standard. For legal entities this implies capital requirements, for
     individuals – a fit and proper test.46

     45
        Financial Action Task Force (FATF) Recommendations have been amended in 2018 so as to
     impose AML/CFT controls on providers of exchange services between crypto-assets and crypto-assets; and
     providers of financial services for ICOs; including a licensing or registration regime. See Financial Action Task
     Force, 2018. ‘International Standards on Combatting Money Laundering and the Financing of Terrorism and
     Proliferation, the Financial Action Task Force (FATF) Recommendations’, Financial Action Task Force. October
     2018. At 124. Retrieved 5 November
     2018 http://www fatfgafi.org/media/fatf/documents/recommendations/pdfs/FATF%20Recommendations%20201
     2.pdf.
     46
        The test implies that individuals shall be competent and capable, honest, ethical, financially sound and shall
     act with integrity.
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     The EBA proposed a separate authorisation requirement for developers of decentralised
     transaction ledger infrastructure which can be used by virtual currency service providers – a
     ‘scheme governance authority.’ A scheme governance authority would have to be organised
     in the form of a legal person and would be responsible for establishing and governing the
     rules for the use and maintenance of the decentralised transaction ledger by virtual currency
     service providers and market participants. In other words, the legal entity would be required
     to maintain systems and controls for the purpose of ensuring integrity and security of the IT
     infrastructure and to procure compliance by all the actors involved. In addition, to qualify as
     an authorised person the scheme governance authority may be subject to audits and
     accreditation of IT infrastructure by an independent third party which would identify IT
     security vulnerabilities and attest conformity with international standards.

     Taxonomy of Crypto Tokens by EU Regulators

     More than four years after the publication of the EBA’s Opinion, the EBA and the European
     Securities and Markets Authority (ESMA) in January 2019 have each issued reports on crypto
     tokens (called in the reports as ‘crypto assets’), with the purpose to advise the European
     Commission on applicability and suitability of the existent EU regulatory framework and the
     need for a new EU-wide legislative action in relation to ICOs and other activities related to
     crypto tokens.

     The EBA Report generally distinguishes between crypto tokens based on their economic
     function (payment, investment or utility) which, according to the EBA, is the approach
     supported by international standard-setting bodies such as the Basel Committee on Banking
     Supervision and the Financial Stability Board. Moreover, according to the EBA, the main
     function of payment tokens (currency or exchange token) is, as was initially noted in
     the EBA’s Opinion with regard to ‘virtual currencies’, to serve as a means of exchange with
     such additional functions as the store of value and investment object. Payment tokens
     typically do not entitle their holders to any right against third party, which is in contrast to
     investment tokens and utility tokens. Hence, payment tokens generally are not associated by
     the EBA with capital raising in the form of ICO.

     The ESMA (European Securities and Markets Authority) Report presented results of the
     survey on application of ‘financial instrument’ and ‘transferable securities’ qualifications
     rendered among competent authorities (financial market regulators) of 27 EU Member States
     that included six case-studies (scenarios) of existing token models, five of them, according to
     the ESMA, being titled in the survey as either as ‘potentially investment tokens’ or as
     ‘potential investment’ (hybrid) tokens.

     Of all five token models with a ‘potentially investment’ component all five models expressly
     indicated an investment-related entitlement (either entitlement for periodic payments or an
     asset); four referred to an ICO, three to an ICO with proceeds of sales directed at further
     development of the token’s functionality (pre-functional token). One ‘potentially investment /
     payment’ hybrid token model expressly entitled the token’s holder only to the crypto token
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     the value of which was determined by reference to a pool of other crypto tokens and shares in
     crypto-token developing companies.

     Applicability of EU Payment Services and Financial Market Laws to Payment and Asset
     Tokens

     Based on the EBA’s examination of the EU payment services legislation (EMD2 and PSD2)47
     and on the consultation with the ESMA, the EBA came to a conclusion that crypto tokens
     may, depending on their characteristics, qualify as financial instruments, electronic money or
     none of the foregoing. Most importantly, clarity was provided with regard to EMD2 and PSD2.

     The EBA Report stated that crypto tokens (whether payment, investment or utility tokens)
     may not qualify as ‘funds’ as set out in point (25) of Article 4 of PSD2 unless they qualify as
     ‘electronic money’ for the purposes of EMD2. In other words, none of the regulated ‘payment
     service’ activities listed in Annex I to PSD2 would apply to an issuer of crypto tokens which
     do not qualify as ‘electronic money.’ At the same time, crypto tokens, in principle, may
     qualify as electronic money if their characteristics fulfil all of the requirements as defined in
     point (2) of Article 2 of EMD2.48

     On a broader level the EBA concluded that even though a significant portion of activities
     involving crypto-assets do not fall within the scope of current EU financial services law they
     may fall within the scope of national laws.

     In the field of EU securities laws, the SMSG Report and ESMA Report attempted to clarify
     legal treatment of activities related to tokens with investment (asset), payment, utility
     components and combinations thereof. First, the SMSG argued whether asset tokens are
     covered by MiFID II, Prospectus Regulation, and Market Abuse Regulation.49 To that end, the

     47
       European Union, 2009. ‘Directive 2009/110/EC of the European Parliament and of the Council of 16
     September 2009 on the taking up, pursuit and prudential supervision of the business of electronic money
     institutions amending Directives 2005/60/EC and 2006/48/EC and repealing Directive 2000/46/EC.’ European
     Union. 16 September 2009. Retrieved 6 March 2019 https://eur-
     lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2009:267:0007:0017:EN:PDF (EMD2); European Union,
     2015. ‘Directive (EU) 2015/2366 of the European Parliament and of the Council of 25 November 2015 on
     payment services in the internal market, amending Directives 2002/65/EC, 2009/110/EC and 2013/36/EU and
     Regulation (EU) No 1093/2010, and repealing Directive 2007/64/EC’, European Union. 25 November 2015.
     Retrieved 6 March 2019 https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX%3A32015L2366 (PSD2).
     48
        The full set of requirements is listed in the EBA Report and includes an e-money scheme where the token: (a)
     is electronically stored; (b) has monetary value; (c) represents a claim on the issuer; (d) is issued on receipt of
     funds; (e) is issued for the purpose of making payment transactions; (f) is accepted by persons other than the
     issuer. See supra note 31 (EBA Report) at 13.
     49
       The Market in Financial Instruments Directive framework (MiFID II) consist of a directive (MiFID 2), a
     regulation (MiFIR) and their implementing acts. See European Union, 2014. ‘Directive 2014/65/EU of the
     European Parliament and of the Council of 15 May 2014 on markets in financial instruments and amending
     Directive 2002/92/EC and Directive 2011/61/EU’, European Union. 15 May 2014. Retrieved 6 March
     2019 https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32014L0065 (MiFID 2); European Union,
     2014. ‘Regulation (EU) No 600/2014 of the European Parliament and of the Council of 15 May 2014 on markets
     in financial instruments and amending Regulation (EU) No 648/2012’, European Union 15 May 2014. Retrieved
     6 March 2019 https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX%3A32014R0600 (MiFIR). See
     European Union, 2017. ‘Regulation (EU) 2017/1129 of the European Parliament and of the Council of 14 June
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     SMSG Report compared characteristics of the terms ‘transferable security’ and ‘financial
     instrument’ on one side with that of the tokens on the other, based on two main factors: nature
     of entitlement and transferability.

     The SMSG Report concluded that payment tokens and ‘pure’ utility tokens do not fall under
     the definition of ‘transferable security’ or ‘financial instrument’ and therefore are out of the
     scope of the EU securities laws. The same applies to non-transferable asset tokens which
     provide for an entitlement in kind (prepaid asset). In contrast, asset tokens which are
     transferable may qualify as ‘transferable securities’ if they provide for a financial (monetary)
     entitlement, a combination of an entitlement in kind together with a decision power (voting
     right) on management of the Platform, or are structured products which are linked to an
     asset(–s) with the aforementioned characteristics (asset-linked notes).

     Finally, asset tokens providing for an entitlement in kind but without the decision power could
     qualify as ‘financial instruments’ if they share characteristics with derivatives (i.e. are
     commodities: (i) settled in cash or (ii) physically settled and tradable on a regulated market, a
     Multilateral Trading Facility (MTF) or an Organised Trading Facility (OTF)) (as defined in
     MiFID II). Conversely, transferable asset tokens which are not qualified as commodities under
     MiFID II, according to the SMSG, are out of the scope of the ‘financial instrument’ definition
     and therefore are not subject to the EU securities laws. Based on the above analysis of asset
     tokens the SMSG asked the ESMA to provide binding guidance as to their inclusion into the
     scope of EU securities laws and interpretation of MiFID definitions of ‘transferable security’,
     ‘commodity’, ‘MTF’, ‘OTF’ concepts in this respect.

     If the ESMA confirms the SMSG’s analysis then all public offers or admission to trading on
     regulated markets within the EU of asset tokens qualifying as ‘transferable securities’ would
     be subject to publication of a prospectus or an exemption regime as required under Prospectus
     Directive (Directive 2003/71/EC) and starting from July 21, 2019, under Prospectus
     Regulation. In addition, specific disclosure requirements would be imposed on the issuers of
     such publicly traded transferable securities by Transparency Directive.50



     2017 on the prospectus to be published when securities are offered to the public or admitted to trading on a
     regulated market, and repealing Directive 2003/71/EC’, European Union. 14 June 2017. Retrieved 6 March
     2019 https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX%3A32017R1129 (Prospectus Regulation);
     European Union, 2014. ‘Regulation (EU) No 596/2014 of the European Parliament and of the Council of 16
     April 2014 on market abuse (market abuse regulation) and repealing Directive 2003/6/EC of the European
     Parliament and of the Council and Commission Directives 2003/124/EC, 2003/125/EC and 2004/72/EC’,
     European Union. 16 April 2014. Retrieved 6 March 2019 https://eur-lex.europa.eu/legal-
     content/EN/TXT/?uri=CELEX%3A32014R0596 (Market Abuse Regulation).
     50
        European Union, 2013. ‘Directive 2013/50/EU of the European Parliament and of the Council of 22 October
     2013 amending Directive 2004/109/EC of the European Parliament and of the Council on the harmonisation of
     transparency requirements in relation to information about issuers whose securities are admitted to trading on a
     regulated market, Directive 2003/71/EC of the European Parliament and of the Council on the prospectus to be
     published when securities are offered to the public or admitted to trading and Commission Directive 2007/14/EC
     laying down detailed rules for the implementation of certain provisions of Directive 2004/109/EC’. European
     Union. 22 October 2013. Retrieved March 26 https://eur-lex.europa.eu/legal-
     content/EN/ALL/?uri=celex:32013L0050 (Transparency Directive).
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     Apart from that, if asset tokens are recognised as either ‘transferable securities’ or ‘financial
     instruments’ then specific financial activities with such asset tokens (e.g. placing, dealing on
     own account, operating an MTF or OTF or providing investment advice) would require their
     operators to be authorised as an investment firm by the national competent authority and to
     comply with specific ongoing requirements prescribed by MiFID II (these could involve
     organisational, conduct of business, transparency and reporting requirements, depending on
     the type of regulated activity and financial asset).

     The ESMA Report outlined the ESMA’s preliminary view that platforms which provide trade
     execution (with a central order book and/or matching orders under other trading models) for
     crypto assets qualifying as financial instruments should obtain authorisation as regulated
     markets, MTFS or OTFs, whereas platforms dealing on their own account and executing
     clients’ orders against their own proprietary capital – as broker/dealers. In addition to the
     specific requirements of MiFID II, authorised trading venues would need to have in place
     effective arrangements, systems and procedures aimed at preventing, detecting and reporting
     market abuse under Market Abuse Regulation.

     In addition to the SMSG’s analysis, the survey conducted by the ESMA sheds light on how
     national competent authorities (NCA) of the Member States of the EU interpret application of
     MiFID II, namely the ‘financial instrument’ and ‘transferable securities’ terms transposed into
     national law, to the six scenarios included in the survey.

     In general, national frameworks either transposed MiFID II’s criteria without further
     interpretation (16 NCAS) or provided for a broader or more restrictive interpretation of what
     constitutes a transferable security (12 NCAS). The stricter interpretation implies, for instance,
     that an additional formal national requirement of a compulsory book-entry register of
     transferable securities (3 to 4 NCAS) will prevent classification of any of the six scenarios as
     transferable securities. Another form of restrictive interpretation is to consider the list of
     transferable securities stated in point (44) of article 4(1) of MiFID II as exhaustive (numerus
     clausus) and to have a strict standard of equivalence in relation to shares and other securities
     enlisted thereunder.

     To that end, the majority of the Member States (15 to 21 NCAS) opined that scenarios 1, 2
     and 4 do not offer rights equivalent to shares in spite of the fact that these scenarios have
     economic functions, similar to shares (right to profits, voting rights, share of the assets).
     These NCAS denied equivalence on diverse grounds: the ‘investment component’ (which,
     according to 13 NCAS, means the right to profit/payment) is not self-sufficient to qualify it as
     a share (3 NCAS); a link to goods/products or services should negate the ‘investment
     component’ qualification (3 NCAS); there needs to be a capital investment (2 NCAS), a case-
     by-case assessment is required with due regard to the investor’s intention (4 NCAS), etc.

     Contrariwise, some NCAS with broader interpretation of MiFID II and more extensive
     national provisions considered scenarios 2, 3, and 4 as shares or other securities equivalent to
     shares (4 to 9 NCAS), scenarios 2 and 4 as ‘transferable securities’ (6 and 6 NCAS) because
     of a non-exhaustive list of transferable securities and a broad ‘substance over form approach’
     applied to the standard of equivalence (some NCAS argued that an ‘investment component’ is
     not a prerequisite and that a sole right (e.g. a voting / profit right) is sufficient to qualify).
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     Remarkably, the scenario with potential utility token (Filecoin) was unanimously denied
     qualification as a ‘financial instrument’ by all respondents. Most NCAS (14) considered that
     ‘investment component’ does not stem from the fact that the value of a utility token derives
     solely from its secondary trading. This is in contrast to the SMSG’s position, which similarly
     to the minority of NCAS (3), argued that transferable utility tokens have the potential to
     become investment objects and that only ‘pure’ utility tokens are out of the scope of MiFID II.

     Similarly, the absolute majority of respondents (25 to 27 NCAS) agreed that in the absence of
     an underlying asset and contractual relationship with a forward commitment all of the
     scenarios 1 to 6 cannot be qualified as derivatives under MiFID II. Finally, 7 NCAS pointed
     out that at least one crypto token is currently under their supervision on the basis of national
     rules which broaden or are out of the scope of MiFID II.
     The prominent examples of such national provisions include a ‘unit of account’ category of
     financial instruments adopted by Germany in 201447 and a bespoke regime for certain types of
     crypto tokens (virtual financial assets) adopted in Malta in 2018.

     One of the main questions addressed by the ESMA Report was whether the current EU
     regulatory framework is suitable to regulate activities with crypto tokens qualified as financial
     instruments. The main risk underpinned by the results of the survey is that Member States will
     inconsistently interpret and apply the existing EU regulatory framework creating
     fragmentation of the market and opportunities for regulatory arbitrage.

     Further, in the ESMA’s view, not only gaps in the current framework and inconsistencies of
     interpretation but also specific risks of decentralised technology would have to be addressed
     by tailored amendments to the current EU framework. As a corollary, the ESMA’s conclusion
     was that the gaps, inconsistencies and specific risks arising from application of crypto tokens
     and decentralised technology to the current framework would require an EU-wide approach:
     Level 1 measures (amendments of the current EU legislation), Level 2 measures (amendments
     of technical standards) and Level 3 measures (substantial guidance by the ESMA).

     It shall be first noted that the ESMA did not provide any details on whether the issue of
     inconsistency of national laws, transposing MiFID II, shall be approached by EU
     policymakers by legislative or non-legislative action. It was only mentioned that there must be
     a shared understanding of the type of crypto tokens falling under the scope of MiFID II.

     Hence, it remains to be seen whether the ESMA would issue a Level 3 guidance with
     interpretation of application of the current definitions of ‘transferable securities’ and
     ‘financial instrument’ to asset, payment and utility tokens and if the ESMA would advise the
     EU Commission on any amendments into MiFID II necessary to include into its scope
     instruments not qualified as regulated under the current EU framework (e.g. payment tokens),
     as was suggested by the SMSG.

     However, since the ESMA already believes that at least some crypto tokens may qualify as
     financial instruments under MiFID II, it specifically outlined potential changes required to
     clarify rules and requirements applicable to financial service providers dealing with crypto
     tokens (financial instruments), in particular: operating a trading venue, maintaining a
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     securities settlement system, book-entry securities record-keeping with a central securities
     depositary (CSD), providing safekeeping of securities, etc.

     One major change considered by the ESMA was inclusion of platforms trading crypto tokens
     (financial instruments) into the amended scope of MiFID 2/MiFIR, for which purposes the
     ESMA observed, inter alia, the following challenges. The main issue raised was how to draft
     the new definition in view of existence of decentralised and hybrid platforms where the
     regulated activity(–s) in full or in part is administered without involvement of a central
     operator. In a similar vein, clarification as to the identity of an authorised ‘system operator’ is
     needed in a situation where a decentralised matching engine of the trading venue qualifies as a
     ‘securities settlement system’ under the Settlement Finality Directive (SFD).51

     Likewise, the ESMA believes that further consideration is needed on whether an operator of a
     platform trading crypto tokens (transferable securities) or the underlying decentralised
     network would need to be authorised as an authorised CSD for the purpose of record-keeping
     of security accounts in a book-entry form as defined under Article 2(1)(1) of the Central
     Securities Depositories Regulation (CSDR).52 In this regard, the ESMA mentioned that for the
     purposes of the CSDR a decentralised transaction ledger of transferable securities would fall
     under the definition of ‘securities account’53 which an authorised CSD must maintain.

     However, national rules which define the legal nature of ‘security accounts’ may pose
     restrictions on the use of decentralised networks for the purpose of initial book-entry form
     recording and by extension, for the purpose of recognition of equivalence between
     uncertificated and tokenised transferable securities.

     Another issue concerned the fact that the practice of direct and global access of individual
     traders to trading on the platforms is not consistent with specific requirements of
     MiFID II and SFD. First of all, under the current MiFID II framework regulated markets
     and MTFS are obliged to render a suitability check of their participants to ensure their
     competence, good repute and adequate organisational arrangements and resources.

     Furthermore, article 2(f) of SFD does not enlist individuals as participants to a ‘securities
     settlement system’ unless the scope is extended on the national level. As a result, further

     51
       European Union, 2009. ‘Directive 2009/44/EC of the European Parliament and of the Council of 6 May 2009
     amending Directive 98/26/EC on settlement finality in payment and securities settlement systems and Directive
     2002/47/EC on financial collateral arrangements as regards linked systems and credit claims’, European Union.
     6 May 2009. Retrieved 6 March 2019 https://eur-lex.europa.eu/legal-
     content/EN/ALL/?uri=CELEX%3A32009L0044 (SFD).

     52
       European Union, 2014. ‘Regulation (EU) No 909/2014 of the European Parliament and of the Council of 23
     July 2014 on improving securities settlement in the European Union and on central securities depositories and
     amending Directives 98/26/EC and 2014/65/EU and Regulation (EU) No 236/2012’, European Union. 23 July
     2014. Retrieved 6 March 2019 https://eur-lex.europa.eu/legal-
     content/EN/TXT/?uri=CELEX%3A32014R0909 (CSDR).
     53
       Article 2(1) (28) of the CSDR defines a securities account generically as ‘an account on which securities may
     be credited or debited.’ See Ibid.
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     cost/benefit analysis is required on whether and to what extent the current framework of
     MiFID II and SFD shall be amended to accommodate direct access of individuals to regulated
     platforms trading crypto tokens.

     Further significant inconsistency was underpinned by the ESMA in the context of post-trading
     settlement of crypto tokens. Specifically, problematic aspects concern discrepancies between
     the legal and operational requirements of SFD (the transfer and netting shall be legally
     binding on third parties, segregation of collateral security from the assets of the settlement
     service provider), the CSDR (specific settlement periods and settlement discipline
     requirements) and execution of transactions on permissionless decentralised transaction
     ledgers. From an operational standpoint, it may be difficult to achieve a delivery versus
     payment equivalence where the governance mechanism of decentralised transaction ledgers
     (‘consensus’ validation, risks of ‘forks’) may have to be accompanied by an off-chain cash
     processing ‘leg’. Netting may also not be supported by decentralised transaction ledgers
     which only settle transactions on a gross basis. In addition, variability of the time required for
     execution of transactions on blockchain and concerns about access to permissionless systems
     add up to the challenges required to be solved before application of the (amended) current EU
     financial framework to decentralised settlement systems.

     Finally, in the ESMA’s opinion, introduction of regulated trading in crypto tokens
     necessitates both legislative and non-legislative actions on an EU level in relation to pre- and
     post-trade transparency requirements, IT security, reliability and safety requirements, data
     reporting and record keeping obligations.

     As underpinned by the results of the survey in the ESMA Report utility tokens, such as
     Filecoin, are not considered by NCAS to be financial instruments under MiFID II. In a similar
     vein, the SMSG opined that payment tokens, such as bitcoin, also fall out of the scope of EU
     financial law. In this respect, both the ESMA and SMSG admitted, however, that both utility
     and payment tokens may be perceived by their holders as security-like investment objects due
     to their transferability on secondary markets (crypto exchanges).

     Thus, further work is required to understand whether investor protection, financial stability
     and market integrity risks prevail justifying inclusion of these instruments into the scope of
     MiFID II or whether a bespoke EU-wide regime would better address the unique risks and
     opportunities posed. There was little consensus among NCAS on how to address this issue,
     but at least the vast majority of them agreed that some form of regulation and harmonisation
     is necessary. The analysis below summarises the observations made by NCAS with regard to
     potential amendment of MiFID II and inclusion of crypto tokens into its scope.

     A group of NCAS advocated inclusion of crypto tokens into the annex of MiFID II as a new
     umbrella type of financial instruments (C12). The proponents argued that the main benefit of
     the approach would be in providing legal certainty to the market participants (8 NCAS) and in
     observing traditional risks (operational, business continuity, market conduct, conflicts of
     interest, non-discrimination, market integrity) through equality of legal implications (for both
     primary offering and secondary trading) with other financial instruments (6 NCAS).
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     Importantly, the vast majority of NCAS disapproved of this approach, advocating the need to
     distinguish between different types of crypto tokens in order to effectively address their risks
     and benefits.

     Opponents of the umbrella approach claimed that a new C12 category has a risk of not being
     technology-neutral (3 NCAS) and, to that end, cause confusion and arbitrage with traditional
     financial instruments of equivalent economic function. In a similar vein, an alternative
     activity-based approach (‘same business, same risk, same rules’) was proposed by
     three NCAS to guide policymakers in applying discreet rules to each type of crypto token
     (e.g. payment, utility and asset tokens) which would help to distinguish between those crypto
     tokens falling under the current definitions of ‘transferable securities’ and ‘financial
     instruments’ (by virtue of Level 3 guidance), those which justify their inclusion into MIFID
     II as a separate ‘financial instrument’ and those which do not.


     Apparently, no unanimity was present in terms of whether all or only specific types of crypto
     tokens shall fall under the scope of MiFID II. For instance, only three NCAS stated that all
     crypto tokens including payment tokens shall be regulated, with two NCAS believing that
     protocol tokens shall not be regulated in view of the supervisory challenges raised by absence
     of a central issuer or operator.

     Six NCAS opined that considering the main economic function of payment tokens (protocol
     tokens) such tokens are not under their (financial market regulators’) purview. In respect of
     this argument, it shall be noted that the EBA also disclaimed its authority over virtual
     currencies (protocol tokens) stating that both EMD2 and PSD2 would not apply to the crypto
     tokens not qualifying as electronic money and that the EU payment services legislation is
     unsuitable to address the risks associated with virtual currencies.

     Further, the EBA concluded that the feasibility and effectiveness of potential legislative
     measures needs to be assessed through the prism of the impact of crypto-token activities on
     the financial stability and standards of consumer protection. In line with the findings set out in
     the Financial Stability Board’s October 2018 report54 both the EBA and ESMA found that as
     of present crypto tokens pose no financial stability risks given limited linkage of crypto
     economy with traditional financial markets and relatively small volumes of crypto-related
     activity in the EU.

     Therefore, the focus of both the EBA and the ESMA is on the access points of the crypto-
     token activity to traditional financial system (market participants) and consumers. In other
     words, on the regulation of operators of initial offering and secondary trading of these
     instruments.

     It is the author’s opinion that protocol tokens (virtual currencies) by their main economic
     purpose and design are investment objects, the operation of which could be governed by


     54
       Financial Stability Board, 2018. ‘Crypto-asset markets, Potential channels for future financial stability
     implications’, Financial Stability Board, October 2018. Retrieved 29 March 2019 http://www.fsb.org/wp-
     content/uploads/P101018.pdf.
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     MiFID II as a separate type of regulated instrument with specific Level 1 amendments and
     carve-outs needed, where necessary, to address specific risks, inconsistencies and gaps.

     First of all, application of the current EU financial law framework to virtual currencies would
     subject virtual currency operators operating in or from the EU to conform to the same
     principle-based regulatory standard. Importantly, the current EU legal framework would
     provide legal certainty and effectively limit traditional risks pertaining to trade in virtual
     currencies (operational, business continuity, conduct of business, conflicts of interest, non-
     discrimination, market integrity) only to the extent and so long as it is modified in accordance
     with the operational and legal practices, risks and implications of a direct access to market
     and a decentralised or off-chain (pre-, post-) trading. In other words, the risks of direct access
     to market of individual traders and of decentralised transaction ledger applied to securities
     markets55 shall be first assessed and translated into activity-based requirements (e.g. guidance
     on suitability checks of individual traders, guidance on on-chain and off-chain record-keeping
     and settlement, authorisation requirements for (hybrid) settlement systems and custody of
     crypto tokens, guidance on conduct of business, IT security and segregation of assets).

     Likewise, according to the author, the ESMA shall provide guidance on which asset tokens
     fall under the definition of ‘transferable securities’ and advise on which amendments to the
     current EU framework are required in order for ICO issuers and regulated venues to comply
     taking into account the ICO practices and specific risks (e.g. the systems audit or certification
     of the smart contract to address the ‘code risk’, i.e. the token software may not always reflect
     the algorithm and features described in the whitepaper; the role of ‘asset validator’, i.e. the
     person responsible for guaranteeing performance of the right(–s) attached to the token).

     Those asset tokens which do not fall under either the definition of ‘transferable securities’ or
     ‘financial instruments’ would need to be categorised and included into the scope of
     MiFID II as a separate type of ‘financial instrument’ with simultaneous amendments into the
     law and guidance provided on application of the traditional and new authorisation and
     compliance requirements to the issuers and market participants.

     Alternatively, EU policymakers could consider the opportunity to set up a bespoke regime for
     those crypto tokens that do not qualify as financial instruments – especially, those which are
     typically issued through the ICO – asset tokens and utility tokens. Among possible advantages
     of a new Level 1 directive or regulation in comparison to inclusion into the scope of
     MiFID II is the experimental and cost-efficient character of legislation: sunset clauses,
     voluntary authorisations, new registrations, specific audits and certifications may be provided
     for with no need to solve inconsistencies between the current EU regulatory framework and
     the existent ICO and crypto- token trading operation and practices.


     55
       The ESMA considers the trend in development of DLT applications in traditional financial services, the
     benefits of which could be: (i) more efficient post-trade processes, (ii) enhanced reporting and supervisory
     functions, (iii) greater security and availability and (iv) reduced counterparty risk and enhanced collateral
     management. See European Securities and Markets Authority, 2017. ‘The Distributed Ledger Technology
     Applied to Securities Markets’, European Securities and Markets Authority. February, 2017. Retrieved 23 March
     2019 https://www.ESMA.europa.eu/sites/default/files/library/dlt report - ESMA50-1121423017-285.pdf.
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     It may be argued that the excessive changes required to be made into the current EU
     regulatory framework are not proportionate to the still nascent evolving and relatively small
     market of primary offering and secondary trading of crypto tokens. At the same time, if crypto
     tokens were to be regulated under MiFID II, these changes are necessary in order not to drive
     crypto- token projects away from the EU.

     Otherwise, uncertainty of legal interpretation and the high compliance costs associated with
     traditional authorisation, disclosure, reporting, market conduct and other requirements would
     be irreconcilable with the start-up nature of the ICOs, community-like product-oriented
     investor base, global direct access to trade and liquidity, etc.

     Therefore, if the public interest in facilitating a global and direct access of individuals to
     tokenised illiquid assets and innovative products becomes high enough, EU policymakers
     could consider a lighter than MiFID-like but consumer- and product-oriented approach to a
     bespoke regulatory regime. In the author’s opinion, a successful EU-wide proposal for a
     comprehensive crowdfunding regime covering both the issuance and the secondary trading of
     utility and asset tokens not covered under MiFID is currently a long shot because bespoke
     EU-wide legislation requires maturity of the market in ICOs and the underlying products.
     Arguably, this is the rationale for 12 NCAS currently not being in favor of a bespoke regime
     outside MiFID.

     Gibraltar Law

     Securities

     Gibraltar forms part of the European Union (“EU”) by virtue of section 355(3) TEU, as a
     European territory for whose external relations a Member State (the UK) is responsible. EU
     law apply to securities, money laundering, prospectus requirements, consumer rights, etc.
     Token offerings need to comply with the Prospectuses Act 2005 and/or the Financial Services
     (Markets in Financial Instruments) Act 2006. This legislation transposing the EU’s Prospectus
     Directive and Markets in Financial Instruments Directive (“MiFID”) respectively.

     Transferable securities

     Transferable securities are defined at section 2(1) of the Financial Services (Markets in
     Financial Instruments) Act 2006: “transferable securities” means those classes of securities
     which are negotiable on the capital market, other than instruments of payment, such as:

        i.   shares in companies and other securities equivalent to shares in companies,
             partnerships or other entities, and depositary receipts in respect of shares;
       ii.   bonds or other forms of securitised debt, including depositary receipts in respect of
             such securities;
      iii.   any other securities giving the right to acquire or sell any such transferable securities
             or giving rise to a cash settlement determined by reference to transferable securities,
             currencies, interest rates or yields, commodities or other indices or measures. This
             definition implements the MiFID standard. It is therefore not materially different to
             the standard that applies in other EU states.
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     Prospectus Legislation

     Under the Prospectuses Act 2005, “securities” means transferable securities as follows:

     a)      shares in companies and other securities equivalent to shares in companies which are
     negotiable on the capital market;
     b)      bonds and other forms of securitized debt which are negotiable on the capital market;
     c)      any other securities normally dealt in giving the right to acquire any such transferable
     securities by subscription or exchange or giving rise to a cash settlement;
     d)      excluding money market instruments having a maturity of less than 12 months.
     The classification as a “security” triggers various consequences, the requirement to issue a
     prospectus when offering securities publicly, is only one example of such a requirement, to
     the extent the issuer of securities is unable to benefit from any exemptions. The most relevant
     ones in the context of a token sale would be as follows:

        •   where the offer is addressed only to qualified investors;
        •   where the offer is addressed to fewer than 150 persons per Member State, other than
            qualified investors;
        •   where the minimum consideration which may be paid by any person for securities
            acquired by him pursuant to the offer is at least 100,000 Euros (or an equivalent
            amount);
        •   where the securities being offered are denominated in amounts of at least 100,000
            Euros (or an equivalent amount); and
        •   where the total consideration payable in the European Union for the securities being
            offered is less than 100,000 Euros (or an equivalent amount), which limit is calculated
            over a period of 12 months.

     GFSC statement:

     The GFSC Statement sets out the GFSC’s general position in this regard. The GFSC stated,
     inter alia:
     “tokens vary widely in design and purpose. In some cases, tokens represent securities, such as
     shares in a company, and their promotion and sale are regulated as such. More often, tokens
     serve some cryptocurrency or functional use that is unregulated, such as prepayment for
     access to a product or service that is to be developed using funds raised in the ICO.”

     Gibraltar Investment Law

     Under the Financial Services (Collective Investment Schemes) Act 2011, a “collective
     investment scheme” means:

     “any arrangement with respect to property, the purpose or effect of which is to enable persons
     taking part in the arrangement, whether by becoming owners of the property or any part of it
     or otherwise, to participate in or receive profits or income arising from the acquisition,
     holding, management or disposal of the property or sums paid out of such profits or income”.
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     An alternative investment fund (“AIF”) under the Financial Services (Alternative Investment
     Fund Managers) Regulations 2013, which transposes the E.U. Directive relating to alternative
     investment funds. An AIF is deemed to be any collective investment undertaking that raises
     capital from a number of investors with a view to investing it in accordance with a defined
     investment policy for the benefit of those investors.

     A token that acts as a vehicle through which profits or income are shared or pooled, or where
     the investment is managed as a whole by a market participant, for instance the issuer of
     tokens, is likely to be a CIS.

     Gibraltar Civil Law

     The law of contract in Gibraltar is similar to the law in England and Wales. English common
     law applies in Gibraltar in accordance with the English Law (Application) Act 1962.

     How a Court Determines the Governing Law of a Contract

     The position in England and Wales14 is currently governed by the Rome I Regulation56. In
     general, the parties to a contract are free to choose the law that will govern their contract. In
     this regard, ‘the law’ means the law of a country and not some non-national system of law,
     such as the lex mercatoria, ‘general principles of law’ or public international law57.
     Nonetheless, for present purposes, the following factors will limit the parties’ freedom of
     choice:

     If all the elements relevant to the situation at the time of the choice are located in a country
     other than the country of the law that was chosen, then the choice of law cannot prejudice the
     application of mandatory laws of that other country.

     If all the elements relevant to the situation at the time of the choice are located in one or more
     member states to the Rome I Regulation, then the choice of a law other than that of a member
     state cannot prejudice the application of mandatory European Community (now European
     Union) law.

     Any overriding mandatory provisions of the law of the forum must be given effect.
     Overriding mandatory provisions are those “the respect for which is regarded as crucial by a
     country for safeguarding its public interests, such as its political, social or economic
     organization, to such an extent that they are applicable to any situation falling within their
     scope, irrespective of the law otherwise applicable to the contract” under the Rome I
     Regulation.

     Effect may be given to overriding mandatory provisions of the law of the country where
     contractual obligations have to be or have been performed, if those provisions render the

     56
       Regulation on the Law Applicable to Contractual Obligations (Reg (EC) No 593/2008 (Rome I Regulation))
     57
       Lord Collins of Mapesbury (gen ed), ‘Contracts. General Rules’, in Dicey, Morris and Collins on the Conflict of
     Laws (15th ed) (London: Sweet & Maxwell, 2012) (Dicey, Morris and Collins), vol 2 at [32-049]
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     performance of the contract unlawful. In deciding whether to do so, the court should have
     regard to their nature and purpose and the consequences of their application or non-
     application.

     The parties’ choice of law may be implied rather than expressed, since Article 3(1) of the
     Rome I Regulation states that the parties’ choice can be one that is “clearly demonstrated by
     the terms of the contract or the circumstances of the case”. Unlike the common law position,
     it appears that the conduct of the parties subsequent to the formation of the contract can be
     taken into account to determine the parties’ intentions at the time of the contract58.

     Examples of situations where a choice of law can be implied include the following:
           • Where the contract is in a standard form known to be governed by a particular law,
               even though the law is not expressly mentioned.
           • Where there was a previous course of dealing between the parties under contracts
               that had an express choice of law, or where the parties have made an express
               choice of law in related transactions.
           • Where the parties’ choice of a forum for the resolution of any disputes relating to
               the contract clearly shows they intend for the contract to be governed by the law of
               that forum.
           • Where the contract refers to particular provisions of a system of law.

     Where the parties to a contract have not made any express or implied choice of law, the law
     governing the contract is determined according to the following rules:

     1)      A contract for the sale of goods or the provision of services is governed by the law of
     the country where the seller or service provider has its habitual residence59.
     2)      A contract concluded “within a multilateral system which brings together or facilitates
     the bringing together of multiple third-party buying and selling interests in financial
     instruments, as defined by Article 4(1), point (17) of Directive 2004/39/EC60, in accordance
     with non-discretionary rules and governed by a single law, shall be governed by that law”61.
     In general, “the public law governing the trading conducted under the systems of the regulated
     market shall be that of the home Member State of the regulated market”62.
     3)      Where a contract is not covered by what is stated in paragraphs (1) and (2), or where
     the elements of the contract would be covered by more than one of the above possibilities, the
     contract is governed by the law of the country where the party required to effect the
     characteristic performance of the contract has its habitual residence.
     The concept of ‘characteristic performance’ is meant to “isolate the obligation incumbent on
     one of the parties which is peculiar to the type of contract in issue, or which marks the nature


     58
        Dicey, Morris and Collins, above, n 17 at [32-057]
     59
        Rome I Regulation, above, n 15, Arts 4(1)(a) and (b)
     60
        Directive on Markets in Financial Instruments (2004/39/EC). As this directive has been repealed by the
     Directive on Markets in Financial Instruments (2014/65/EU), reference should now be made to Art 4(1), point
     (15), and Annex I, section C, of the latter directive: see 2014/65/EU, Art 94
     (“References to terms defined in, or Articles of, Directive 2004/39/EC […] shall be construed as references to
     the equivalent term defined in, or Article of, this Directive”)
     61
        Rome I Regulation, above, n 15, Art 4(1)(h)
     62
        2014/65/EU, above, n 27, Art 44(4): see Dicey, Morris and Collins, above, n 17 at [33-394]
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     of the contract”. Payment is not regarded as the characteristic performance; rather, it is the act
     that is carried out for the payment that is characteristic63.
     4)       Where it is clear from all the circumstances of the case that the contract is manifestly
     more closely connected with a country other than that indicated by what is stated in
     paragraphs to (3), the law of that other country applies64.
     5)       Where the applicable law cannot be determined from what is stated in paragraphs (1)
     to (3), the contract is governed by the law of the country with which it is most closely
     connected.

     It is likely that this rule will be used if the place where the contract is performed is different
     from the habitual residence or place of business of the party identified according to the rules
     mentioned in paragraphs (1) and (2), or the party required to effect the characteristic
     performance of the contract as stated in paragraph (3). A court may also take into account
     connected contract(s) between the parties when deciding if a particular contract is most
     closely connected to the law of a country65.

     How a Court Determines the Appropriate Jurisdiction for a Dispute Regarding
     Contractual Obligations

     Assuming competing jurisdictions to which the 1968 Brussels Convention66, the 1988 Lugano
     Convention67 or Regulation (EU) No 1215/2012 apply68 are not considered, an English court
     will only order a stay of proceedings due to England being an inappropriate forum (forum non
     conveniens) and the defendant demonstrates that there is a foreign court that is clearly or
     distinctly more appropriate than England for the trial of the action, and it is not unjust that the
     claimant be deprived of the right to trial in England69. In other words, the English court must
     be the ‘natural forum’ for the resolution of the dispute.

     In general, the court will engage in the following analysis:

     •       The defendant bears the legal burden of proof to persuade the court to grant a stay of
     the proceedings. However, there is an evidential burden of proof on any party seeking to
     establish the existence of matters that will help to persuade the court to exercise its discretion
     in that party’s favor.
     •       If the defendant satisfies the court that there is another forum that is clearly more
     appropriate for the trial of the action, then the evidential burden shifts to the claimant to


     63
        Dicey, Morris and Collins, above, n 17 at [32-077]
     64
        Rome I Regulation, above, n 15, Art 4(3)
     65
        Dicey, Morris and Collins, above, n 17 at [32-080]
     66
        1968 Brussels Convention on Jurisdiction and the Enforcement of Judgments in Civil and Commercial
     Matters, OJ L 299 (December 31, 1972) at
     32–42
     67
        1988 Lugano Convention on Jurisdiction and the Enforcement of Judgments in Civil and Commercial Matters
     (88/592/EEC), OJ L 319 (November 25,
     1988) at 9–48
     68
        Regulation (EU) No 1215/2012 of the European Parliament and of the Council of December 12, 2012 on
     Jurisdiction and the Recognition and
     Enforcement of Judgments in Civil and Commercial Matters, OJ L 351 (December 20, 2012) at 1–32
     69
        Spiliada Maritime Corp v Cansulex Ltd (The Spiliada) [1987] AC 460 at 475–478, HL (UK)
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     persuade the court that there are special circumstances why justice requires the trial to take
     place in England.

     It is not enough for the defendant to show that England is not the natural or appropriate
     forum; the defendant must be able to show that another forum is clearly more appropriate. To
     determine if there is such an alternative forum, the court will consider various factors
     indicating the action has the most real and substantial connection with the other forum,
     including the parties’ places of business, the law governing their transaction, and the location
     of witnesses.

     The common law position described above has been supplemented by the 2005 Hague
     Convention on Choice of Court Agreements70. This convention came into force in the
     European Union on October 1, 2015, and was implemented in the UK by the Civil
     Jurisdiction and Judgments (Hague Convention on Choice of Court Agreements 2005)
     Regulations 201571, which amended the Civil Jurisdiction and Judgments Act 198272.

     Under the latter act, a judgment that is required to be recognized and enforced under the
     Hague Convention may be registered, for the purposes of England and Wales, in the High
     Court73, and will have “the same force and effect […] as if the judgment had been originally
     given by the registering court”74.

     The Hague Convention essentially states that where the parties to a contract have concluded a
     choice of court agreement designating that contractual disputes should be decided exclusively
     in a court of a contracting state75, that court shall have jurisdiction to decide a dispute that
     arises in relation to the contract, and shall not decline to exercise jurisdiction on the ground
     that the dispute should be decided in another court.

     The court judgment designated in an exclusive choice of court agreement must then be
     recognized and enforced in other contracting states. The application of the Hague Convention
     to England therefore has the effect of upholding the choice of court made by contracting
     parties, where the choice is a court in a contracting state.


     Private International Law Rules Relating to Property Interests in Securities

     Pursuant to the Financial Markets and Insolvency (Settlement Finality) Regulations 199976,
     where a register, account or centralized deposit system within which securities are recorded is
     located in a European Economic Area (EEA) state, the rights of the holders of these securities
     will be governed by the law of the EEA state where the register, account or centralized
     deposit system is located.

     70
        Hague Convention of June 30, 2005 on Choice of Court Agreements (Hague Convention), in force
     71
        SI 2015 No 1644 (UK)
     72
        1982 c 27 (UK)
     73
        Id, ss 4B(1) and (2)(a)
     74
        Id, s 4B(6)
     75
        Hague Convention, above, n 50, Art 3
     76
        SI 1999/2979, implementing Directive 98/26/EC
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     Similarly, under the Financial Collateral Arrangements (No 2) Regulations 200377, various
     aspects of book entry securities collateral, such as their legal nature and proprietary effects,
     are governed by the law of the country in which the relevant account is maintained78.
     Essentially, these are implementations of the so-called PRIMA principle: the court will regard
     the ‘place of the relevant intermediary account’ as the lex situs of the securities – that is, the
     place where the property or a claim to the property is situated79.

     There may be situations where the above laws and regulations do not apply. Under common
     law, the courts will look to the lex incorporationis (the law of the place where the company
     was incorporated)80, as the usual reason for identifying the situs of company shares is to
     identify the law that determines how they may be dealt with or confiscated.

     If the lex incorporation is allows the shares to be dealt with at a place other than the place of
     incorporation (for example, because the register is in that place, or the shares are bearer
     shares, meaning they can be dealt wherever the certificate happens to be), then that place will
     be treated as the situs of the shares81.

     Adrian Briggs notes: “Where shares are held in international deposit and clearing systems,
     and are therefore to be regarded as ‘immobilized’ (if there is a certificate but which is locked
     in a vault operated by or on behalf of the entity which operates the system) or as
     ‘dematerialized’ (where there is no share certificate at all), it would be possible, but it
     probably makes little sense, to say that the shares are situated in any particular place, for the
     investor does not have a contractual relationship with the company (in the case of shares) or
     other issuer (in the case of other securities).”

     In such cases, the investor’s contract will probably state that it has a direct right against the
     entity (or intermediary) with which it has an account. Any credit or value in the account will
     therefore be regarded as situated where the intermediary is situated, once again applying the
     PRIMA principle.

     Application of Private International Law Rules to the Collateralized DLT Transaction

     Where Tokens Merely Record Real-world Assets, under the most straightforward
     implementation of the collateralized DLT transaction, the real-world collateral assets (such as
     cash or securities) are not replaced with on-ledger tokens or digital assets that possess
     intrinsic value. Rather, the tokens merely record the various forms of collateral provided and
     exchanged.


     77
        SI 2003/3226, implementing Directive 2002/47/EC
     78
        Id, reg 19. See Dicey, Morris and Collins, above, n 17 at [24-072]
     79
        See the FLMC paper, above, n 2 at [4.1] and [4.4]–[4.5]
     80
        Compare Macmillan Inc v Bishopsgate Investments plc (No 3) [1987] 1 WLR 387, CA (England & Wales);
     Akers v Samba Financial Group [2014]
     EWHC 540 (Ch)
     81
        Macmillan, ibid; Dicey, Morris and Collins, “Law of Property”, above, n 17 at [24-066]; and Briggs,
     “Property” in Private International Law in English
     Courts (Oxford: Oxford University Press, 2014) at [9.23]
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     If a dispute arose over the entitlement of a party to securities used as collateral, this would
     therefore be decided by the situs of the securities. Depending on the particular situation, this
     could be the lex incorporation is (including the law of some place other than the lex
     incorporation is if the latter allows the securities to be dealt with there) or, where the
     securities are held in a centralized deposit system, the law of the country where the register,
     account or centralized deposit system is situated.

     Where Tokens Possess Intrinsic Value

     A more complex implementation of the collateralized DLT transaction could involve the
     replacement of the real-world collateral assets with a form of token or digital asset that
     possesses intrinsic value (such as a cryptocurrency).

     In this scenario, determining the situs of the token is more difficult as, depending on the
     nature of the token, there may be no lex incorporation is. The token is also not held in a
     centralized deposit system, nor in an account with an intermediary.

     One solution would be for the situs of the token to be the ‘law of the platform’ or ‘law of the
     system’ that the parties have agreed will govern all on-ledger transactions on the relevant
     DLT system82.

     Alternatively, if national authorities and regulators are concerned that allowing parties an
     unfettered choice of a governing law of the platform is undesirable83, then they might consider
     whether they should apply pressure for the choice of law to be restricted to the laws of
     countries where the parties (such as the issuer of assets, the system administrator and market
     participants) are subject to sufficient legal and regulatory oversight84. However, this may also
     reduce flexibility and could prove challenging to implement.


     If this approach was adopted, then, conceptually, a situation where the value of the collateral
     is represented by tokens on the distributed ledger would not be very different to that based on
     real-world assets such as cash and securities. Despite the novelty of such tokens, the principal
     issue would be whether a court order requiring one party to compensate another could be
     obtained and whether it would be enforced. So long as the judgment debtor compensates the
     judgment creditor in accordance with the court order, the judgment creditor is unlikely to be
     concerned about whether the compensation takes the form of tokens on a distributed ledger, or
     cash or other traditional asset.

     82
        Philipp Paech, The International Law of Digital Asset Settlement – Functional Analysis and Draft Legal
     Principles (May 2019 working paper) at 10
     83
        For example, as the FMLC has suggested, where the parties may choose “a system of law which is subject to
     significant undue external or private
     influence”. FMLC paper, above, n 2 at [7.4]
     84
        Id at [7.5]; Paech, above, n 118 at 10 (“It is paramount that one single law applies throughout each network.
     […] The only legally safe method isto rely on a chosen law. Those that set up the DLT network make the initial
     choice, which is subsequently adhered to by any participant joining. However, supervisors should have an
     interest in, and regulation should set requirements for, that choice. Given the importance in terms of
     enforceability of acquisition and disposition, especially in insolvency, there should be restrictions as to which
     law can be chosen.”)
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     If an order is obtained, then a question could arise over the enforceability of a foreign
     judgment by the court having jurisdiction over the judgment debtor if it is located in another
     jurisdiction. In determining the answer to this question, there seems to be little conceptual
     difference between a scenario where the parties have used tokens, cash or securities when
     exchanging collateral assets.

     There may also be means of addressing this issue on the platform itself. For example, each
     transaction on Corda is validated by a notary to ensure uniqueness in order to address the
     ‘double-spend’ concern. Given the flexibility that R3 provides on contractual arrangements on
     Corda business networks, it could be possible to create an agreement between the participants
     that empowers the notary to implement a court order obtained from a court of the
     contractually agreed jurisdiction on Corda, potentially avoiding the need for the relevant
     judgment to be enforced against the judgment debtor in its home courts.

     Accordingly, in the event a court order (of a court with jurisdiction) states that a participant is
     not the proper party to hold tokens, the notary (as a result of the platform agreement) could be
     empowered to deny the transferability of such tokens. This, in turn, ensures that such tokens
     are no longer fungible. Further, the issuer of the tokens, through a contractual arrangement,
     could then issue replacement tokens to the proper party that should be the owner of these
     tokens.

     Assuming the agreement the parties have entered into contains express choices regarding the
     law of the platform and the court before which disputes are to be litigated, a judgment creditor
     faced with an uncooperative judgment debtor would simply serve the court order on the
     notary to invalidate the tokens of the debtor and require the issuer to issue new tokens to
     satisfy the order. A distributed ledger structured in this way would reduce the difficulties that
     may arise when a judgment creditor tries to enforce a foreign judgment before a court.

     It could also provide an alternative to issues posed by permissionless platforms where the
     identities of the parties and their physical locations are not easily ascertainable, which clearly
     creates difficulties for traditional court-based enforcement of judgments.

     Gibraltar E-Commerce and Consumer Protection Regulations

     All the relevant EU legislation on e-commerce and consumer protection has been transposed
     into Gibraltar law via various Acts of Parliament or Regulations. The EU e-commerce and
     consumer protection rules (E-Commerce Directive, Consumer Rights Directive, Directive on
     Distance Marketing of Consumer Financial Services) all specify the information that should
     be disclosed.

     Token offerings fall within the scope of the EU’s e-commerce Directive which has been
     transposed into Gibraltar law through the Electronic Commerce Act 2001. The contract on
     which a token sale is based on constitutes a consumer contract and consumer protection rules
     will apply, as set out in the Consumer Rights on Contracts Regulations 2013 (which
     transposes, inter alia, the Consumer Rights Directive).
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     Gibraltar Money Laundering Regulations

     The EU Anti Money Laundering Directive has been transposed into Gibraltar law by the
     Proceeds of Crime Act 2015 (“POCA”). It should be noted that Section 9(1)(p) of the POCA
     now includes within the definition of “relevant financial business” any “undertakings that
     receive, whether on their own account or on behalf of another person, proceeds in any form
     from the sale of tokenized digital assets involving the use of distributed ledger technology or a
     similar means of recording a digital representation of an asset.” POCA also requires reporting
     (by businesses and by the GFSC) when there is a suspicion (rather than actual knowledge) of
     money laundering. Essentially, the addition of the new definition of “relevant financial
     business” specifically brings the sale of a token within existing AML laws, which in turn have
     been very well received by other service providers in the industry. Amongst other things,
     customer due diligence is required before a business may receive proceeds from the sale of
     tokens.

     These businesses would also be required to appoint a money-laundering reporting officer
     (‘‘MLRO’’), as well as apply certain record keeping requirements. The business must also
     maintain an AML compliance program and report suspicious activity.

     In essence, any entity issuing tokens, whether security, utility, cryptocurrency, hybrid or
     otherwise, would be subject to POCA requirements in full, from the moment it invites
     expressions of interest.

     The Regulatory Principles set out at Schedule 2 to the Financial Services (Distributed Ledger
     Technology Provider) Regulations 2017 also state that a “A DLT Provider must have systems
     in place to prevent, detect and disclose financial crime risks such as money laundering and
     terrorist financing.“

     Gibraltar DLT regulation

     The DLT Regulations state that the provision of DLT services is a ‘controlled activity’ for
     which a license is required from the GFSC. The activity is defined in section 3 of the
     underlying Financial Services (Investment and Fiduciary Services) Act as “carrying on by
     way of business, in or from Gibraltar, the use of distributed ledger technology for storing or
     transmitting value belonging to others.“

     Entities that qualify as DLT Providers under the DLT Regulations are required to abide by the
     regulatory principles that are set out in Schedule 2 of the Regulations, namely a DLT Provider
     must:

        1. conduct its business with honesty and integrity.
        2. pay due regard to the interests and needs of each and all its customers and must
           communicate with them in a way that is fair, clear and not misleading.
        3. maintain adequate financial and non-financial resources.
        4. manage and control its business effectively, and conduct its business with due skill,
           care and diligence; including having proper regard to risks to its business and
           customers.
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        5. have effective arrangements in place for the protection of customer assets and money
           when it is responsible for them.
        6. have effective corporate governance arrangements.
        7. ensure that all of its systems and security access protocols are maintained to
           appropriate high standards.
        8. have systems in place to prevent, detect and disclose financial crime risks such as
           money laundering and terrorist financing.
        9. be resilient and have contingency arrangements for the orderly and solvent wind down
           of its business.

     Gibraltar Administrative Law

     The GFSC has the power to:
        • Power to impose penalties or issue censure
        • Power to prohibit individuals from managing or dealing
        • Suspending permission to carry on regulated activities etc
        • Power of court to impose administrative sanctions in cases of market abuse

     Gibraltar Criminal Law:

        •   Reporting of infringements
        •   Misconduct in, or misuse of information relating to, a financial market
        •   Misleading statements
        •   Money Laundering Regulations
        •   Proceeds of Crime Act
        •   Fraud or dishonesty or breach of trust

     Criminal Justice Act 1993

     For paragraph 5 of Schedule 1(a) to the Criminal Justice Act 1993 (special defences) and the
     italic heading before paragraph 5 substitute:

     “Buy-back programmes and stabilization”

     An individual is not guilty of insider dealing by virtue of dealing in securities or encouraging
     another person to deal if he shows that he acted in conformity with:

     (a) Article 5 of Regulation (EU) No 596/2014 of the European Parliament and of the Council
     of 16 April 2014 on market abuse (market abuse regulation) and each directly applicable EU
     regulation made under that Article; (b) rules made under section 137Q(1)
     (b) of the Financial Services and Markets Act 2000.”.

     Regulation (EU) No 596/2014 of the European Parliament and of the Council of 16 April
     2014 on market abuse (market abuse regulation); (b) disclosure requirements consistent with
     Articles 3, 5, 7, 8, 10, 14 and 16 of Directive 2003/71/EC of the European Parliament and of
     the Council of 4th November 2003 on the prospectuses to be published when securities are
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     offered to the public or admitted to trading; (c) disclosure requirements consistent with
     Articles 4 to 6, 14, 16 to 19 and 30 of Directive 2004/109/EC of the European Parliament and
     of the Council of 15th December 2004 relating to the harmonisation of transparency
     requirements in relation to information about issuers whose securities are admitted to trading
     on a regulated market; or (d) disclosure requirements consistent with EU legislation made
     under the provisions mentioned in paragraphs (a) to (c)” Financial Services Act 2012 15.

     Facts and Circumstances RSK Labs/RIF Labs scheme

     In November 2015, RSK Labs published its white paper in relation to a smart-contracting
     platform to be built on the Bitcoin network via merge-mining.

     Diego got stage and promoted his vision and business plan around RSK during the North
     American Bitcoin Conference held in Miami, the United States, in 2016, 2017 and 2018.

     Why was this relevant at the time? Bitcoin is the most secure decentralized network in the
     world and creation of smart-contracts on the Bitcoin blockchain would mean a huge level of
     security and, as they proposed it, faster transition speed of bitcoin transactions (which would
     be an improvement from 7 transactions per second up to 22,000 transactions per second). The
     project was embraced by the community and investments in the company equity (shares were
     sold with an agreement under New York State law), including investments by US investors, in
     May 2017 (a full list is available to us). The investor in RSK Labs included industry leading
     companies, e.g. bitcoin mining giant Bitmain.

     At that time RSK Labs informed investors that NO ICO would be conducted by RSK Labs in
     the future and this was also included in the information package shared with investors, i.e.
     RSK Labs was planning to conduct a Series A. However, in May 2018, RSK Labs announced
     performing on ICO under its new entity RIF Labs.

     The investors of RSK Labs got a document that instead of their shares they will receive RIF
     tokens, to be issued by RIF Labs.

     RIF Labs then conducted an ICO. RIF Labs raised around 22,000 bitcoin.

     During an interview, there was a question raised on how RSK is funded and who is supporting
     RSK, Diego answered that: ‘’In 2018, the RSK team raised USD150 million by selling RIF
     tokens to a collective of respected blockchain investors, including Silver 8 Capital and
     Coinsilium. Furthermore, RSK has formed a Federation of 30-plus service providers to
     support the network’s transactional activity. Among the Federation’s ranks are prominent
     entities such as Digital Currency Group, Bitmain and Coinfirm. Finally, RSK has gathered
     the support of over 80 per cent of the Bitcoin network’s miners, who will also use their
     computing power to safeguard the RSK network.’’

     What Diego ‘’forgot’’ to mention is that RSK Labs received a seed investment in two rounds,
     i.e. in 2016 and in 2017.

     Similar to fundraising for the investment in RSK Labs, a lot of promises were made by the
     RIF team in relation to the RIF ICO. Almost 3 years after date, not much has
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     Entity details:

     Cactus Technologies LLP: company number LL0108804 – we got informed by the British
     Colombia (Canada) company register that this company did not exist (also not in their historic
     database). They further informed us that the company number LL0108804 is related to
     Asturias Investments LLP, an entity incorporated on July 6, 2020.

     RSK Labs Limited: company number 1895440 – shareholders never received any share
     certificates.

     Smart Labs S.A.: company number 15462 – which has the same founders as RSK Labs and
     RIF Labs.

     Shareholders (investors) overview of RSK Labs (BVI) Limited:

      Name                    Company                  Country                 Responsible Reg
      Sergio Lerner           RSK                      Argentina               CNV
      Gabriel Kurman          RSK                      Argentina               CNV
      Ruben Altman            RSK                      Argentina               CNV
      Adrian Eidelman         RSK                      Argentina               CNV
      Adrian Garelik          RSK                      Argentina               CNV
      Diego Gutierrez         RSK                      Argentina               CNV
      Zaldivar
      Topspring               Bitmain                  People’s Republic of    CSRC
      Technology Limited                               China
      Ms. Hongmin Sun         Huiyin                   People’s Republic of    CSRC
                                                       China
      Minka INC               Minka Inc                The United States of    SEC
                                                       America
      Digifinex Inc           Bitfinex                 BVI                     BVIFSC
      Anthony Di Lorio        -                        Canada                  CSA
      Certo S.A.              Certo S.A.               Uruguay                 BCA
      Maciej Ziolkowski       Maciej Ziolkowski        Poland                  KNF
      Tomasz Rulka            Tomasz Rulka             Poland                  KNF
      Mark Levin              Mark Levin               Canada                  CSA / AFM
      BAHA Ventures LLC       BAHA Ventures            The United States of    SEC
                              LLC                      America
      Bitfury Finance         Bitfury Finance          Cayman / The United     SEC
      Limited                 Limited                  States of America
                                                       (HQ)
      Paola Rebuffo           Paola Rebuffo            Switzerland             BaFin
      Andrea Rossi            Andrea Rossi             Switzerland             BaFin
      Yuan Dawei              Yuan Dewei               People’s Republic of    CSRC
                                                       China
      Han Weiping             Han Weiping              People’s Republic of    CSRC
                                                       China
      Bruce Fenton            Artrantic Financial      The United States of    SEC
                                                       America
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     Entity details:

     Ginger Developments Limited: Investors were promised to receive a shareholding in this
     company, and were promised to receive proceeds of transaction fees.

     RSK Labs Limited: company number 1895440 – Shareholders never received any share
     certificates.

     RIF Labs Limited: RIF Labs Limited was incorporated as IOV Labs Limited, which name
     was changed prior to the unregistered securities offering conducted by RIF Labs Limited and
     later changed back to IOV Labs Limited prior to acquiring Taringa!.

     Communication by RSK In Relation to Their Legal Structure

     In relation to the legal structure related to (b) and (c) we would like to comment the
     following:

         •   In relation to (b):
                 o this is the structure after the acquisition by RIF Labs Limited, which entity
                      raised 22,000 bitcoin.
                 o RIF Labs Limited was incorporated as IOV Labs on December 21, 2017, but
                      the name was changed to RIF Labs Limited in 2018, to be later changed back
                      to IOV Labs in 2019.
                 o A shareholding and distribution of profits generated by Ginger Developments
                      Limited was promised to the early investors of RSK Labs Limited. However,
                      no shareholding was ever provided, and furthermore, no profits were paid.
                 o RSK promised to pay excessive capital to investors, which has not been done
                      or status of such payment has not been communicated by the RSK team to
                      investors.
                 o RSK pushed investors out and forced investors to sign documents.
                 o RSK and its lawyers requested investors to sign lost share certificate forms,
                      however, investors did not receive share certificates initially (so these could
                      not be lost). Furthermore, a copy passport was requested. Which basically
                      means they were in the possession of personal information and financial
                      documents. These documents where then used by RSK and their lawyers to
                      complete the transfer of shares (without open communication about this with
                      investors).

         •   In relation to (c):
                 o The RSK / RIF team communicated through open channels that IOV Labs was
                      purchasing RIF. This is also stated as such on the website of IOV Labs. Where
                      the following is mentioned:
                          ▪ November 2018: RIF Labs incorporation in Gibraltar and acquisition
                              of RSK Labs. Which is false, RIF Labs, was incorporated as IOV Labs
                              on December 21, 2017, where its name was changed to RIF Labs on
                              March 29, 2018, and which name was changed back to IOV Labs on
                              May 14, 2019. This information is misleading (which we assume to
                              mask the acquisition of Taringa).
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                       ▪   May 2019: RIF Labs renames to IOV Labs in order to differentiate the
                           organization from the platforms (where in other channels this was
                           communicated as an acquisition – see below).
                       ▪   September 2019: IOV Labs acquires Taringa. Which was an acquisition
                           conducted by the former RIF Labs entity; which entity raised funds
                           during an ICO in 2018 (and which was not communicated in the white
                           paper).

     Offering and Selling Unregistered Securities

     Seed and Series Round of Equity

     An overview of the early investors has been included above. This overview includes an
     overview of the founders as well as shares (securities) sold during the various rounds held by
     RSK Labs (BVI) Limited.

     Attached we included the business plan of RSK Labs shared with potential investors (which is
     close to similar to the RIF labs white paper and business plan). In brief RSK Labs claims to
     have created a smart-contracting protocol on the bitcoin blockchain and were promoting the
     RSK eco-system, including partnerships and a RSK university. The potential use-cases of
     RSK are similar to those from RIF. In the business plan also a 5 year market potential of
     RSK Labs was included. Which stated that RSK Labs fees would be total 6,512 (times 1
     million, i.e. 6,5 billion).

     It was further communicated and publicly stated that RSK blockchain, handles 100
     transactions per second, with a US$ 0,03 fee per transaction, which amounts in a US$ 3,00
     generated transaction fee revenue per second.

     For this round the following wallet was used: 3MsDxYKpwEkfYmroTGsiuUfpup7vQBDLbi
     The wallet currently holds 0.003 btc from the 665 btc raised. Basically the wallet is empty -
     all funds are taken out, without an explanation by RSK Labs to investors on how funds were
     spend or providing investors with audited financial statements.

     Investors in this round include various investors from the United States of America, for which
     NO regulation D form was filed with the U.S. Securities and Exchange Commission
     (SEC). Consequently, this sale of securities qualifies as an unregistered sale of securities
     in violation with the (US) Securities Act. Moreover, as described in our previous
     chapter, none of the EU regulatory requirements for selling securities to EU consumers
     and retailers, have been met by RSK Labs Limited.

     Preparation of the RIF Token Sale

     Preparation of the RIF token sale, is conducted by the same managing team as RSK Labs
     Limited. IOV Labs (later RIF Labs) was incorporated under the laws of Gibraltar, with
     incorporation number 116697.

     On March 29, 2018, the name of IOV Labs Limited was changed to RIF Labs Limited.
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     Consequently, we are of the view that, even though the RSK offering and RIF offering were
     separately conducted, they should be seen as ‘’one offering’’, as they were part of a single
     plan of financing and made for the same general purposes. Furthermore, this argument is
     strengthened by the facts that (1) RIF Labs acquired RSK Labs after completion of its sale, (2)
     that RIF Labs and RSK Labs have the same founders and technology wise, they cannot be
     seen separate from each other as RIF is build on RSK and (3) in the RIF white paper (page 5),
     the white paper is signed off by the RSK Labs & RIF Labs team, which founding team is:

        a. Sergio Demain Lerner (also founding team of RSK Labs Limited);
        b. Diego Gutierrez Zaldivar (also founding team of RSK Labs Limited);
        c. Ruben Altman (also founding team of RSK Labs Limited);
        d. Adrian Eidelman (also founding team of RSK Labs Limited);
        e. Gabriel Kurman (also founding team of RSK Labs Limited);
        f. Ariel Muslera (also founding team of RSK Labs Limited) – acting as strategic advisor;
        g. Malcom Palle – acting as strategic advisor - currently a board member and director to
           IOV Labs;
        h. Eddy Travia – acting as strategic advisor (also an advisor to RSK Labs Limited and
           investor plus shareholder in RSK Labs Limited - currently a board member and
           director to IOV Labs;
        i. Joey Garcia – as a lawyer, advisor to RIF Labs Limited – currently a board member
           and director to IOV Labs;
        j. Valeria Bystrowicz – acting as advisor;
        k. Miguel Santos – acting as advisor;
        l. Alex Aberg Cobo – advisor and director (later CFO);
        m. Cesar Levene – as a lawyer acting as an advisor.

     Also, at the moment the RIF sale was conducted NO tokens existed or were generated by RIF
     Labs. Moreover, RIF Labs did not hold a one year lock-up period for the securities/tokens
     (also referred to as legend), which should have been done before listing and public selling of
     RIF tokens.

     By selling unregistered securities, RSK Labs Limited and RIF Labs Limited violated the
     Securities Act of various jurisdictions, including EU jurisdictions and the United States of
     America.

     Token Sale and Conversion of Equity into RIF

     After the closing of their rounds in 2017 for RSK Labs Limited, RSK announced in January
     2018 (also during the Miami North American BTC conference) that they would hold a token
     sale, i.e. Diego was mentioning this on stage.

     Moreover, in November 2017, an employee of Coinsillium / Startup Token was already
     stating that RSK Labs would conduct on ICO in the range of US$ 125mm, where they would
     not need a white paper as people would invest anyway.

     RSK Labs kept secret who of the team was involved in RIF, however, later on we found it is
     the same team in RIF Labs as RSK Labs – which is also stated in public (e.g. Gabriel Kurman
     is also mentioned as founder of RIF Labs in the white paper while during the raise he was
     NOT using his RIF email address, and was claiming he was acting separate from RIF.
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     Gabriel acted as a RIF / RSK Labs representative soliciting funds for the sale of securities to
     investors and has held all communication in this regard via his RSK Labs email (which is
     another example showing the coherence between both parties)).
     The white paper of RIF refers to RSK Labs and shows the overall idea of the project, i.e.
     creating a smart-contract system build on the bitcoin blockchain, on which decentralized apps
     can be built on the Bitcoin blockchain.

     The business plan of RIF Labs is similar to that of RSK Labs (where according to the RSK
     Labs team, RSK Labs transferred all its IP and knowledge to RIF - see below), and the funds
     received should have been used for the development of the blockchain protocol and
     stimulation of developers (also see white paper).

     In the white paper the role of RIF Labs is described as the entity managing the RIF token and
     RIFOS development and promotion. The white paper further refers to a newly established
     entity in Gibraltar, where it did not state that RIF Labs was established and incorporated as
     IOV Labs Limited, were solely the name was changed to RIF Labs, for only a few months
     later to be changed back.

     It is further stated that:

                 •   ‘’RIF Lab’s goal will be to build already done by RSK Labs’’
                 •   ‘’RSK has agreed to assign all its RSK-related IP, brands and knowledge to
                     RIF Labs’’

     NO minutes or communication with RSK Labs Limited shareholders and investors has been
     sent in relation to the agreement of assigning all IP and other relevant items held by RSK
     Labs to RIF Labs. The only communication investors of RSK Labs received was that their
     shares would be sold to RIF Labs (and if they did not agree, they sale would be concluded
     anyway – see attached emails).

     The white paper is misleading, as it appears as if the transfer of knowledge was done for no
     remuneration, while RIF Labs fully acquired RSK Labs after the token sale has been
     completed. Moreover, in communication sent by Gabriel, it seems that RSK Labs was in
     discussion with RIF Labs about an acquisition; while it is the same team for both entities.

     RIF Labs was looking to raise a minimum of 15,000 bitcoin. They eventually raised more
     than 22,000 bitcoin (both in bitcoin and Ethereum). Where the amount of bitcoin received in
     this wallet is 21,113 bitcoin received
     (see https://www.blockchain.com/btc/address/3FiMKffg2kY2Pi2Kebn2HZqN7m6kEcNUMk
     ). And where currently the wallet only holds around 5,500 bitcoin (meaning that more than
     17,000 bitcoin has been withdrawn by RIF Labs (without actual proof of the usage of the
     Funds - as investors do not receive any update from RIF Labs (now IOV Labs)).

     Post-Token Sale

     After the RIF Labs tokensale, which closed in June 2018, the only moment investors of RIF
     Labs heard something about RIF Labs was in relation to redemption of tokens.
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     Note that RIF labs has setup a channel to communicate with its community
     @rif_os_community (channel name on Telegram) to keep people up-to-date. After the
     tokensale was completed the following occurred:

        1. a project called Temco https://temco.io/ - was supposed to be the first project to build
            on the RIF Labs smart-contract. For unknown reasons the project withdrew from
            working with RIF Labs and started working with another blockchain protocol.
        2. No updates have been sent to investors. No communication on what timelines to be
            expected from RIF Labs. Only one deliverable was announced (which was also part of
            the RSK Labs business plan and NOT RIF Labs) https://www.iovlabs.org/press/rif-
            labs-announces-rif-name-service-for-public-use.html
        3. Promises were made about listing of the RIF token on certain exchanges, which did
            not occur.
        4. Promises were made about the ambassador program and collaboration with blockchain
            related companies for the RSK Federation, which has not occurred.
        5. No technical updates have been provided and what we have seen as a deliverable now,
            is very basic not difficult to create (and definitely not in the range of funds raised).
        6. RIF tokens are ERC-677 token, meaning that it is BUILD on ETHEREUM not
            Bitcoin, furthermore, while a claim was made that an own blockchain would have
            been build.
        7. NO clarity has been provided on usages of the FUNDS raised. In the Telegram Chat
            people did ask and RIF Labs only response was that not all 10,000 bitcoin (at that time
            USD 80,000,000 - 100,000,000 was spent but also diversified). No further clarification
            has been provided.
        8. RIF Tokens trading volume is nothing and the token dropped more than 90% in price.
            Basically, investors will need to see a 10,000% rise in price in order to break-even.
        9. RIF Labs changed its name to IOV Labs (not much information is available about this.
            But basically you went from RSK Labs, to RIF Labs and now IOV Labs in a short
            time).
        10. IOV Labs acquired the SOCIAL MEDIA PLATFORM
            Taringa https://www.iovlabs.org/press/iovlabs-brings-rsk-technology-to-30-million-
            users-social-network-by-acquiring-taringa.html
        11. Taringa is an Argentinian based SOCIAL MEDIA PLATFORM which has nothing to
            do with smart-contracting and creating technology on a blockchain. Furthermore, the
            founders of Taringa are also part of IOV Labs. The RSK/RIF team mentioned that the
            acquisition price should remain confidential and they did not share anything in this
            regard.
        12. The RSK Explorer showed around a 2,000% merge-mining hash rate (which is odd, as
            this should be maximum 100%). We found that RSK is paying miners for merge-
            mining.
        13. RIF token got listed on Binance and many people were complaining about not being
            able to deposit tokens, where RSK team was blaming Binance, while Binance (the
            biggest cryptocurrency exchange in the world) was telling people to contact the
            RSK/RIF team.
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     Legal Position related to the Offerings

     RSK Labs Offering

     In relation to the offering of shares by RSK Labs Limited, under New York, United States of
     America, jurisdiction, we do not find it necessary to further elaborate, that this is a sale of
     equity securities. This offering was completed by RSK Labs Limited and included US
     investors, non-accredited investors and accredited investors.

     RSK Labs Limited failed to register these securities with the SEC, this is a main rule when
     offering securities to US investors. Moreover, RSK Labs Limited also failed to apply for a so
     called regulation D offering, for which it would need to verify investors, and file a notice with
     the SEC within 15 days after the first sale of securities.

     Considering that RSK Labs Limited failed to meet any of the Securities Act requirements. It
     conducted an unregistered Securities sale in the United States of America; which is as such in
     violation with the Securities Act and punishable by law.

     RIF Labs Offering

     Following the RSK Labs Limited securities offering, RIF Labs Limited, conducted a
     securities offering. Based on the SEC vs Kik case, we are of the view that, even though the
     RSK Labs Limited offering and RIF Labs Limited offering were separately conducted, they
     were part of a single plan of financing and made for the same general purpose. Thus, both
     sales should be seen together.

     In relation to the RIF Labs offering, it should also be taken into account, that RIF Labs, was
     selling an investment contract, which qualifies as a security under the Howey test and the ICO
     conducted by RIF Labs included US investors.

     In the SEC vs Howey case, the Court held that a promoter that sold interests in a citrus grove,
     coupled with an agreement for the promoter to manage those citrus groves, had created an
     “investment contract” that was a security under the federal securities laws. The Howey Court
     set up a test to determine whether a financial product, business arrangement or the like is an
     investment contract and therefore a security. Important elements in this regard are (1) it is an
     investment of money (bitcoin), (2) in a common enterprise (RIF Labs Limited in coherence
     with RSK Labs Limited and (3) with an expectation of profits predominantly from the efforts
     of others (the RIF and RSK team).

     Entities Facts

     RSK Labs Limited

     RSK Labs Limited is incorporated on November 6, 2015 (attached Memorandum and Articles
     of Association), with registered office MMG trust (BVI) Corporation. On the website of IOV
     Labs, open for the public, it is stated that RSK Labs was founded in January 2016 (which is
     untrue).
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     At the moment of incorporation, the amount of shares was capped at 50,000 shares. Where,
     RSK Labs Limited had a seed round for offering securities, for which no changes were made
     in the legal documentation of the entity.

     On the 24th of February 2017, RSK Labs increased the authorized maximum number of
     shares to 8,521,286 shares, which were divided in classes (see attachment).

     Seed investors did not receive a share certificate from RSK Labs Limited.

     As stated in the RIF white paper, all intellectual property and functions of RSK Labs Limited
     has been transferred to RIF Labs Limited.

     Furthermore, the entity being actually established in BVI, is questionable, as the management
     of the company is established in Argentina (which would make the entity a tax resident there).

     Moreover, RSK Labs founders were publicly stating that all shareholders voluntarily
     collaborated with a swap of shares to RIF tokens. While, in communication received from
     RSK, it is clear that no shareholder in RSK Labs had a saying and NO voting took place on
     the share transfer by the shareholders (investors).

     Cactus Technologies LLP

     In the documentation shared with investors by RSK Labs, it is stated that the operational
     holding within the legal structure is Cactus Technologies LLP with registration number
     LL01804. The RSK team communicated that that entity was established in British Columbia
     (Canada).

     However, the British Columbia registry informed us that NO entity called Cactus
     Technologies LLP ever existed, not now and also not in history. Moreover, they informed us
     that the registration number LL01804 is on the name of Asturias Investments LLP, which
     registered on July 6, 2020.

     Smart Labs S.A.

     In the documentation shared with investors by RSK Labs, Smart Labs S.A. is mentioned as
     the development company. This company is registered in Argentina with registration number
     15462.

     IOV Labs Limited / RIF Labs Limited

     IOV Labs Limited was incorporated in Gibraltar, GX111AA, on December 21, 2017. On
     March 29, 2018, the name of IOV Labs was changed to RIF Labs Limited. Where on May 14,
     2019, the name RIF Labs Limited, was changed back to IOV Labs Limited.

     The company is setup as a private company limited by guarantee, not having share capital. On
     the website of IOV Labs Limited it is stated that RIF Labs Limited is incorporated in
     Gibraltar on November 2018. It further states that RIF Labs renamed to IOV Labs in order to
     differentiate the organization from the platforms. The latter is not true, as the entity was
     incorporated in December 21, 2017 as IOV Labs.
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     Furthermore, only after renaming of RIF Labs into IOV Labs, IOV Labs acquires Taringa.
     Which on the website till date is showing the acquisition of Taringa as the final
     accomplishment. RIF Labs (IOV Labs) Limited never communicated to investors that it
     would acquire Taringa. Moreover, the RSK Labs/RIF Labs team kept secret the acquisition
     price of Taringa.

     RSK/RIF Labs, never shared usage of funds with investors.

     Ginger Developments Limited

     On the 15th of August 2018, Ginger Developments Limited was established in the British
     Virgin Islands. This entity was meant for initial investors and shareholders of RSK Labs
     Limited. Moreover, as communicated by Gabriel Alejandro Kurman, this entity was meant to
     share transaction fees generated by RSK Labs Limited.

     In this regard, no share certificates – similar to RSK Labs Limited shareholding – were
     received by Mark Levin. Moreover, for more than 2.5 years, there has not been any
     communication by the RSK team in relation to financials and payment of profits made by
     Ginger Developments Limited to its investors.

     Moreover, Mark Levin was not free in his choice of keeping a shareholding in Ginger
     Development Limited. But was extorted into providing his personal data (including financial
     data) in order to avoid losing his full investment.

     Furthermore, sharing of RSK Labs Limited transaction fees was NOT only falsely promised
     to the initial shareholders of RSK Labs Limited, but also promised to (1) miners, (2) the
     public and (3) RIF investors. No proof of any sharing of transaction fees have been shared
     with the public.

     Koinbanx

     The RSK Labs and RIF team never communicated any affiliation with Koinbanx in
     documentation shared with investors, while two of the RSK founders were also founders of
     Koinbanx, which entity was founded in 2014. However, Koinbanx is marketed by RSK Labs /
     RIF Labs / IOV Labs as a strategic partnerships, while in fact, the founders are the same.
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     The Offerings in Detail

     RSK Labs Limited

     In 2016 and 2017, RSK Labs Limited, conducted an offering of securities to several ‘’seed’’
     investors (listed above). It undertook this offering without registering with the SEC and any
     other regulator RSK Labs had investors in. Furthermore, RSK Labs Limited also did not meet
     the requirements for an exemption on selling of securities in each jurisdiction (including the
     United States of America – as no Reg D 506(b) or 506(c) has been filed with the SEC by RSK
     Labs Limited).

     RSK Labs Limited also did not provide investors with the material information which is
     common practise to be shared by issuers conducting similar sales of securities.

     In the marketing material for its May 2017 offering of securities, RSK Labs Limited included
     the following numbers to investors, in order to justify it valuation and making it attractive for
     investors to invest. Note that no disclaimers were used; which implies that investors could
     trust these numbers are based on true numbers and true events.




     In the limited marketing material RSK Labs shared with potential investors, it stated the
     following in relation to the legal structure (also see above in relation to the entities – where
     Cactus Technologies LLP never existed, and thus, this information is false and aimed to
     mislead investors).
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     Furthermore, RSK Labs Limited indicated in its materials that it would be aiming at a Series
     A within 8 months from closing its raise of May 2017.




     While in public, the CEO of RSK Labs stated that they may sell RSK Labs to the public in the
     form of an ICO. No Series A has been conducted, instead, the RSK Labs team setup a new
     entity structure in order to conduct an ICO (private sale).

     In relation to expected future valuation of RSK Labs Limited, the following was
     communicated:




     In relation to the valuation expectation, no disclaimer is used for Blockstream. Furthermore, a
     valuation of Ethereum did not make sense, as it is based on an initial coin offering sold to the
     public and NOT shares sold to a private circle of investors (private placement).
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     In relation to transaction speed and transactions per second it states:




     In multiple interviews and public communication provided by RSK Labs, it is clear that
     miners can merge-mine RSK (at no extra costs) and that the transaction fee for RSK Labs is
     US$ 0.03 per transaction (meaning US$ 3 dollar per second at 100 transactions per second).
     However, based on public available information we understand that RSK Labs is PAYING
     miners in bitcoin to merge-mine; we assume with the funds raised by the RIF Labs ICO.

     After the investment, investors in the offering of RSK Labs Limited, did not receive any
     information on how the funds where used or what the status was of the RSK Labs technology
     (and expected profit as included in its presentation for investors). Also no audited financial
     statements were shared.

     The only moments investors heard back about their investment from the RSK Labs Limited
     team, after investing, was in July 2018, after the RIF token sale was conducted and closed. In
     which case the RSK Labs team (which is similar to the RIF Labs team) decided the sell RSK
     Labs to RIF Labs.

     RIF Labs Limited

     As mentioned, the company incorporated as IOV Labs limited in December 2017, changed its
     name to RIF Labs limited in March 2018.

     In April/May/June 2018, RIF Labs conducted its digital token offering. The documentation
     shared by RIF Labs Limited was limited. Moreover, RIF Labs sold unregistered securities to
     US investors, including Silver 8 Capital; without registration with the SEC or filing for an
     exemption. Making it an offering violating the US Securities Act.

     In the white paper RIF Labs Limited states the following:
                1. ‘’As of the date of publication of this whitepaper, Tokens have no known or
                    intended future use other than on the platform which is under development.’’
                    Comment: Which basically means that at the time of the sale no RIF platform
                    was, or RIF token were, available.
                2. ‘’ Tokens are not being structured or sold as securities. Tokens hold no rights
                    and confer no interests in the equity of the Company. Tokens are sold with an
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                   intended future use on the platform and all proceeds received during the token
                   sale may be spent freely by the Company on the development of its business
                   and the underlying technological infrastructure.’’ Comment: RIF Labs
                   Limited takes the position that its token is not a security, ignoring the fact the
                   (1) no platform or token is available at the time of sale, (2) Coinsillium
                   announced and published with the SEC a token for equity swap between RSK
                   and RIF in the form of RIF tokens and basically reporting this transaction with
                   the SEC (Securities Exchange Commission) in the US (3) the sale meet all the
                   criteria of the Howey test under US Securities Law and a description of
                   securities within local legislation of any jurisdiction. Below we will further
                   elaborate on this.
              3.   ‘’This whitepaper does not constitute a prospectus or disclosure document and
                   is not an offer to sell, nor the solicitation of any offer to buy any investment or
                   financial instrument in any jurisdiction.’’ Comment: however, the white paper
                   refers to disclaimers and forward looking statements and includes potential
                   restrictions and risks. Latter language you would typically find in a private
                   placement document. Furthermore, the RIF Labs sale was marketed as a
                   private placement; but besides the white paper no further information was
                   shared with investors of the private placement.
              4.   ‘’No regulatory authority has examined or approved any of the information set
                   out in this whitepaper. No such action has or will be taken under the laws,
                   regulatory requirements or rules of any jurisdiction. The publication,
                   distribution or dissemination of this whitepaper does not imply that applicable
                   laws or regulatory requirements have been complied with.’’ Comment: In this
                   statement RIF basically states that it did not seek any regulatory approval for
                   its digital token offering and that its documents do not imply that it is meeting
                   applicable regulation. The latter is contrary to the next statement made.
              5.   ‘’ The token sale and/or Tokens could be impacted by regulatory action,
                   including potential restrictions on the ownership, use, transferability or
                   possession of such Tokens. Regulators or other competent authorities may
                   demand that we revise the mechanics of the token sale and/or the functionality
                   of Tokens in order to comply with regulatory requirements or other
                   governmental or business obligations. Nevertheless, we believe we are taking
                   commercially reasonable steps to ensure that the token sale mechanics and
                   issue of Tokens do not violate applicable laws and regulations.’’ Comment:
                   RIF states that it took reasonable steps to ensure the token sale mechanics and
                   issue of tokens do not violate applicable laws and regulations. Which is the
                   complete contrary to the statement under 4 above, as NO actions were taken
                   with any regulator. RIF just took the position it was conduction a token sale,
                   where the token should not be seen as a security (without further elaborating
                   on that or providing investors with a memorandum of a law-firm confirming
                   this).
              6.   ‘’The RIF Token is intended to be a utility token allowing any token holder to
                   consume all of the services that are compatible with the architecture of and
                   integrated to the RIFOS. Such services may include third party-developed
                   infrastructure services, and any other apps that might be deployed on our
                   protocol that agrees to accept RIF Tokens as a means of accessing/consuming
                   the service or app.’’
              7.   ‘’Initial allocation ● A total of 1 billion RIF Tokens will be created by RIF
                   Labs at the Token Generation Event. ● Approximately 35%-40% will be
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                 allocated to the private sale contributors. The initial price of RIF Tokens will
                 be set in BTC. Further details relating to the private sale will be disclosed in
                 the relevant contribution agreements and associated documentation. ●
                 Approximately 40% will be kept by RIF Labs, unlocked at a rate 1/60th every
                 month for 5 years after the Token Sale and used primarily as a way to promote
                 and increase the adoption of the RIFOS as indicated in this document. ● 20%
                 will be distributed to RSK Labs’ shareholders, founders and management team
                 as consideration for the acquisition of all RSK Labs’ assets and IP, and as a
                 way to align the team long term with the RIF project. These tokens will be
                 unlocked at a rate of 1/48th every month for 4 years after the Token Sale ends,
                 with an initial cliff of 6 months. ● We plan to raise the equivalent of 20,000
                 BTC +/- 10%, but we reserve the right to conclude the Token Sale at any time
                 after we reach 15,000 BTC or its equivalent in such other cryptocurrencies
                 that we may decide to accept. ● While we don’t plan to do a public sale of
                 tokens, RIF Labs will initially earmark 21 million RIF Tokens for early
                 adopters of the RIFOS through a set of bounty and early adoption incentive
                 programmes.’’ Comment: in its Token overview, it is stated that RIF Labs and
                 the team (which is the same team of RSK labs) will keep around 60% of the
                 total token supply and will keep the 22,000 bitcoin raised via their token
                 offering. The valuation of RIF is not based on anything and furthermore, the
                 RIF Labs team and its founders are selling RIF and bitcoin without a restriction
                 to third parties in order to monetize the value for their own benefit; while the
                 RIF token value has dropped significantly and would need around a 15,000%
                 price increase in order to break even.
              8. ‘’As a purpose-based company, RIF Labs’ future earnings should be re-
                 invested to benefit the growth of the RIFOS and its long term objectives. It is
                 therefore important to assess potential sources of revenue for RIF Labs in the
                 coming years, as the RIFOS is built up.’’ Comment: based on this statement it
                 seems that RIF Labs is expecting profit, while it is incorporated as a non-profit
                 organization.
              9. ‘’We believe that as the adoption of the RIFOS increases, RIF Labs could
                 potentially generate revenue from at least the following two sources: a.
                 Revenue from the Smart Contract processing fees: The RSK Smart Protocol
                 charges a small fee in RBTC as gas for processing and executing each Smart
                 Contract deployed on the protocol. As part of the acquisition of RSK Labs’
                 assets and IP, RIF Labs will be entitled to a percentage of this revenue stream.
                 While initially this number will be insignificant, as the volume of smart
                 contract processing grows, this might become a steady source of income for
                 RIF Labs. b. Ecosystem Partnerships: In connection with the promotional
                 activities for the RIFOS ecosystem, RIF Labs plans to establish strategic
                 partnerships in different parts of the world with start-up accelerators,
                 incubators, education programme providers, event organisers, etc. These
                 partnerships might provide additional revenue streams for RIF Labs. We
                 believe that Blockchain-based applications can transform the way we
                 exchange value in the coming decade. RIF Labs is therefore proposing to
                 create the necessary infrastructure and partner up with businesses and other
                 institutions who will contribute to help our vision materialize. We hope you
                 share this vision and join us! The RSK Labs & RIF Labs Team’’ Comment: In
                 this statement it is mentioned that RIF Labs Limited would be entitled to a part
                 of the RSK Labs revenue stream generated by transactions. This was also
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                   promised to the initial investors/shareholders and later on also promised under
                   Ginger Developments Limited. The initial investors/shareholders received
                   nothing in this regard. It is stated that this is a steady source of income for RIF
                   Labs; which would imply that the only financial benefit for operating the
                   protocol would come back to the RIF team (same founders of RSK Labs) and
                   NOT to any of the investors.

     During its sales of securities RSK Labs team (Gabriel Kurman), various presentations were
     given in the United States. During one of these presentations on May 18, 2018, in Denver
     United States, Gabriel Kurman explains the usage of RSK Labs and states:

                10. ‘’everybody in the eco-system can profit and trive through the use of RSK we
                    and hopefully we all together can get to those billions of users that need
                    blockchain technology quicker’’. Comment: engagement by users would mean
                    an increase in value.
                11. Adrian Eidelman shows a stats website during this presentation, which is
                    similar to the RSK Explorer state website which was announced after the
                    completion of the token raise. Comment: by showing already available
                    website which did not change after raising 22,000 bitcoin (see screenshots), it
                    shows the intention of the RIF/RSK team for the usage of funds.
                12. They get 80% of the total fees, for execution on RSK. Comment: with this
                    Gabriel means that the miners get 80% of the total transaction fees of RSK;
                    which means that RSK is giving away 80% of the transaction fees to the
                    miners. And 40% to the RSK shareholders in Ginger? This means, RSK Labs
                    is paying out a total of 120% of their mining fees. Moreover, RSK Labs stated
                    that in relation to RIF Labs, RIF investors would also have access to
                    transaction fees generated by RSK Labs.

     During its sales of securities RSK Labs founder and RIF founder Gabriel Kurman, gave
     another presentation during the Atlanta Blockchain conference held in the United States. On
     the slide where he explains why they are doing what they (i.e. why is RSK Labs doing what
     they do), he states the following:

                1. ‘’We have this vision, you know, we started, we came to Sillicon Valley for the
                   first time, we wanted to become entrepreneurs, everybody told us to pursue a
                   unicorn. We should pursue try to build something a billion dollar worth of
                   value or become billionaires ourselves. We think it is about the time to change
                   that ’’.
                2. Maybe if you are trying to think, what to build and how to get involved in the
                   space, keep this in mind, because probably the only positive margins will be in
                   the billions new commerce to the internet. But as off today there is no bank or
                   fintech that has the technology and process in order to be able to handle
                   millions of transactions and making money in the process. Only with the
                   security of bitcoin technology, blockchain technology and the
                   programmability of smart contracts, we are going to be able to create these
                   use cases, like that going to have the automation of WhatsApp or Spotify, that
                   apply to the internet of value. Comment: the statement here is that only with
                   RSK Labs / RIF Labs, new commerce would benefit from a financial system
                   being able to perform millions of transactions and making money in the
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                   process. Gabriel is in its statement describing RSK to be the party driving this
                   in creation of the internet of value.
                3. ‘’We are very excited about solutions where we incentive tellers, personal
                   tellers, to become centralized banking branches. Where a person can become a
                   cash-in and cash-out part of system, are going to be key, especially in the
                   developing markets. We developed a few partnerships, especially in the non-
                   banking network, those that allow you to recharge you, you pre-paid phone.
                   We expect them to become key players in the financial services of the future.
                   So, you receive a micro-loan from anywhere in the world and you can just go
                   to the kiosk where you recharge your phone every week and you can then just
                   take the cash you requested, to a Chinese development bank, or Indian or
                   anywhere. […] the good thing is we hate going to the bank anyway […]
                   Comment: this statement is in line with statement made by RSK that it is
                   another bank settlement layer / an inclusive payment system. However, RSK is
                   not in the possession of a money transmitter license, nor a e-money institution
                   license or banking license.

     During the North American Bitcoin conference held in Miami in 2017 and 2018 Diego stated
     the following in relation to RSK and also RIF (without mentioning RIF but rather referring to
     an ICO):

        1. One year go, I shared in the same conference (2016), a vision on how bitcoin was
           going to be the corner stone of the new internet. An internet which would enable the
           transfer of value, whether we would be talking about stocks, property titles, money, or
           even vote in a democracy. That mission was comprised of multiple layers, where each
           layer had different purposes in the transfer of value.
        2. The upper layers, may achieve transaction costs. So when we talk about bitcoin we
           have 15 cents per transaction. But when we go to RSK, we go down to 0.01 (1) cent,
           but with one technology we are developing we can achieve 5000 transactions per
           second, at 0.001 cent. Comment: in different interviews given by RSK team
           members, it is stated that RSK handles 100 transactions at US$ 0.03 per transaction.
           The statement made by Diego about 5,000 transactions per second is misleading, as
           RSK did not reach that level of transaction and how we see it now, never will.
        3. This was the vision I shared last year. And one year later, I am here sharing what
           happened last year. We were merely a white paper back then, with RSK. The main
           decision back then, we were not going to issue a new currency, we would use bitcoin
           as our currency to run smart contracts. Comment: Diego is contradicting himself as
           at a later stage he would be talking about creation of a currency (see TEDxTalk SF
           under 3 above). Moreover, (1) bitcoin is not a currency and (2) you cannot run a smart
           contract on a currency. The latter shows, the incompetence of RSK/RIF/IOV Labs
           founders.
        4. We took two further decisions, one is that we were going to build a federation comp
           rived of the 25 most important bitcoin companies in the world. Comment: this
           statement was made, but no clear overview of the federation and whereabouts of the
           federation have been shared by RSK/RIF/IOV with its investors, or the public.
        5. On the mining side we already have agreements with 70% of the mining corporations
           in the world for merge-mining RSK. Comment: this statement was made in January
           2017. However, in May 2018, Gabriel Kurman and Ruben Altman stated that the
           merge-mining corporation was 10% (making RSK blockchain extremely vulnerable to
           hacks). Moreover, in the RIF_OS Community chat in 2019, screenshots where shared
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            by the RSK/RIF team that merge-mining was between 30% and 40%. The latter is
            significantly lower that the 70% statement made by Diego in 2017. The latter is
            relevant as RSK/RIF makes itself dependable on merge-mining. RSK claims further
            that merge-mining does not costs the miners anything, hence, for miners no issue to
            merge-mine RSK. However, the reality is that RSK is paying miners (providing them
            incentives) to merge-mine RSK (this is stated by RSK on its website).

     On the RSK website, RSK refers to the most profitable Bitcoin merged mined platform




     RSK states on its website that the reward of miners is paid in bitcoin. And that these are paid
     by the transactions fees of the (RSK) network. It is further stated that miners earn around 80%
     of the fees generated by RSK. And that even ‘’uncles are rewarded’’. The latter is strange to
     us, as RSK promised fee sharing of transactions with (1) the miners, (2) the initial investors
     via Ginger Developments Limited (40% of the fees) and (3) RIF investors (as stated in the
     white paper) and (4) Diego further stated that they are looking for a way to share the RSK
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     fees with the general public. The latter in relation to the fees is misleading and false
     information, shared with investors and the general public.

     On the RSK website, miners could even calculate their profits generated. The latter is not
     something stated by any of the RSK/RIF/IOV team members during their talks about why
     miners would merge-mine. Moreover, RSK/RIF/IOV is acting as if they are the only protocol
     offering merge-mining during their talks and it is part of their overall sales pitch to investors.
     However, RSK/RIF/IOV is not the only platform offering merge-mining on the bitcoin
     blockchain.

        6. We are also working with all of the main pools, Antpool, Bitclub… to implement our
           plug-in to merge mining and I think in the next one or two months we will have
           everyone of them merge-mining (RSK). Comment: Diego proudly stated that Bitclub
           is one of the partner mining pools merge-mining RSK. While Bitclub in 2018, was
           already a very controversial mining pool, as it was considered to be a ponzi-scheme;
           where people typically did not want to be associated with.

     The United States Department of Justice published the following in relation to Bitclub (more
     below):




        7. On the industry side on the stakeholder of RSK, we have some of the biggest miners
           and VCs in the industry participating in RSK already and in the second round we are
           finishing in the next two months, we will add many new important components in the
           Middle East and Latin America, that will complete the picture of partners that will
           help us develop the network of business and solution providers that we want to have
           on a global scale, and once we launch we might do an ICO to also let participate
           individuals into the company. But we did not want to do that until we were fully
           functional. Comment: Diego makes various statements about global expansion during
           his talk about RSK Labs, including expansion in the Middle East. However, when
           looking for RSK in the Middle East, we could only find and Gas & Oil Company.
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     Moreover, RSK states on its website that it has offices in San Francisco (United States) and
     Buenos Aires (Argentina).




     Diego further stated that they ‘’might do an ICO’’. However, in January 2018, Gabriel
     Alejandro Kurman already started mentioning and soliciting funds for an ICO. Which was
     during THE SAME conference in Miami where Diego was speaking and mentioning that they
     ‘’might’’ do an ICO. Moreover, IOV Labs Limited, later RIF Labs Limited, is the ICO
     company which was already established in December 21, 2017.

        8. As we see RSK, first we have the securest network, securing your smart contract, it is
           maybe 6 times cheaper than Ethereum. RSK will always have the cheapest costs.
           Comment: This statement is false, RSK is not the most secure network, as it is
           completely dependable on the Bitcoin blockchain, i.e. Bitcoin is currently the most
           secure network (not RSK).
        9. Well we did not want to do an ICO? Oh sorry, what are the probabilities of an ICO of
           RSK and what would be the valuation and what would be the value proposition for
           investors. That is the thing, we did not want to open for a public offering, before we
           understand the full eco-system. That is why we delayed the decision. It will happen if
           we find a way on how to share the profits of RSK with the general public in a
           responsible way. Comment: Diego states that RSK is not doing an ICO until it fully
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            understands how the profits of RSK can be shared with the public in a responsible
            way. The latter, is misleading and false. RSK never had the intention or the possibility
            to share profits with the public, as RSK had obligations to its investors. Fee sharing of
            RSK’s transaction has been promised to various parties (which is oversold).
        10. I also made a promise last year (2017), a promise that I would show you a version of
            a smart contract by the bitcoin network. Two weeks ago, that became a reality, that
            technology is only as valuable as the community is that support it. So we need your
            help and build this network together. Comment: Diego said he would show a version
            of a smart contract by the bitcoin network. This was only a statement, during the
            conference and his talk, nothing was SHOWED.
        11. This is the revolution, this is the future of our society. Comment: these are statements
            similar to EOS (which made the statement that EOS could fundamentally change the
            way society operates). However, despite this grandiose statement made by Diego
            (RSK/RIF/IOV) we fail to see how this technology can be the future of our society.
            Now, almost 3 years after this statement, RSK/RIF/IOV, has NO impact on society
            and is undefined amount of time away from even having the most minor impact on
            any society.
        12. I renew my vows today, in front of you, and next year I will come back and will show
            the progress for this creation, so next year (2019), I would love to meet here and I
            want to know that you are part and an agent of change, helping us with this
            revolution. Comment: Despite calling his followers to be part of the RSK revolution,
            the ‘’big leader’’ Diego cancelled participation of the same conference in the year
            2019, i.e. the year after the ICO. Breaking his promise to his followers (one of many).

     Furthermore, during the digital token offering, family members of the RIF/RSK team, i.e.
     Valeria – advisor to IOV Labs and sister of Ariel Muslera (CEO of RSK Innovation Studios
     in San Francisco), residing in the United States of America, was soliciting for reselling of
     their allocation while in the United States of America. In messages it was claimed that they
     could mark the price up to 50% of the token offering price (as advised by the team (including
     Ariel)).
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     Throughout the offering the RIF team was the source of information, which promoted the
     RSK (which is coherent to RIF) on a variety of available media, including but not limited to
     YouTube, financial news, online discussions, chats, etc..

     After completion of the RIF ICO, a description and example on how the internet of value
     works, has been has been provided by Diego during has talk in San Francisco (i.e.
     TEDxSanFrancisco), in which a few interesting statements were made:

        1. ‘’We could not remove the middle-man in the transfer of value and I did not see a good
           solution in that. Until in 2012 a good friend of mine called me outside out, he lives in
           sillicon valley and he told me Diegito, you have to see this, it is awesome. I said okay,
           what can be so awesome. He said, open an account; and to give you some context, in
           Argentina back then it was almost impossible to move money in and out from the
           country, as we have strict capital controls, so no money was getting in and out. He
           said open an account on this website; it would be a bitcoin account. 10 minutes later
           the amount equivalent to a small apartment in Buenos Aires appeared into that
           account. It looked like a game you know. So I send it back, hahaha, okay, I know, we
           all made mistakes. The thing is I send it back. He said no keep one, so you can play
           around with it. And I did and I aid okay, this is how an open financial system, inclusive
           financial system would look, because I did not have to ask permission to open account
           and could interact with others without asking permission. That was the same essence
           of the internet of information back then, openness, neutrality, access for everybody. So
           then, I decided I was going to devote my life into it. Comment: RSK/RIF/IOV Labs
           founders are all based in Argentina, and that is the place of effective management of
           the entities. In this statement it is clearly described how an open financial system
           would work, which is the core vision of the RSK/RIF/IOV Labs team; aiming to cut
           out the middleman (regulated entities), no KYC/AML, and circumventing capital
           controls.
        2. So, as part of doing everything, I started meeting in cafes in Buenos Aires, to buy and
           sell bitcoin. Very scary thing. Not for me, as I am accustomed to it. Comment: being a
           facilitator of buying and selling bitcoin for cash via e.g. localbitcoins.com, would be
           subject to money transmitter regulation, making Diego subject to registration as a
           money service business, following KYC/AML requirements when those trade were
           made.
        3. This internet of value, will transform our lives in many ways. One of them, it will give
           the power of money back to the people. Now we will be able to create our own money.
           To represent our economy. It will give us a financial system that will be inclusive. It
           will lower the transaction costs.’’ Comment: making a statement in the United States
           of America, about creation of own money, as one of the pros of the internet of value
           (IOV), seems misleading, as RSK /RIF/IOV Labs is not the Federal Reserve.
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        7. Announced Partnerships

     During conference and in news articles RSK Labs made questionable announcements in
     relation to partnerships, for example:

         •   Etherparty: a partnership between RSK Labs and Etherparty was announced. The
             articles states: RSK is the first open-source smart contract platform that allows
             Bitcoin users and miners to be players in the smart contract movement. The South
             American company is well positioned in the global ecosystem, and is strongly aligned
             with Etherparty's values.

     Not long after this announcement the following news article was made public about
     Etherparty (then called Vanbex): Vanbex, a blockchain based firm based in Vancouver,
     has posted a statement defending itself regarding allegations made by the British Columbia
     Director of Civil Forfeiture and covered in the media. The original report, covered by
     the Vancouver Sun, revealed strong statements alleging a “$30-million cryptocurrency
     scam.” Vanbex, formerly doing business as Etherparty, was co-founded by Kevin Hobbs and
     Lisa Cheng – two prominent members of the Canadian cryptocurrency industry. Vanbex is a
     firm that has evolved from a “strategic communications firm into a consultancy
     laboratory―leading ideas to launch and helping established companies and start-ups alike
     harness emerging technology for a changing world.”

         •   Bitclub: Diego stated that RSK is working with all of the main pools and specifically
             mentioned Bitclub. In relation to Bitclub the following was stated by the United
             States Department of Justice: From April 2014 through December 2019, BitClub
             Network was a fraudulent scheme that solicited money from investors in exchange for
             shares of purported cryptocurrency mining pools and rewarded investors for
             recruiting new investors into the scheme. Goettsche, Balaci, Weeks, and others
             conspired together to solicit investment in BitClub Network through fraudulent
             means, including by providing false and misleading figures that BitClub investors
             were told were “bitcoin mining earnings” purportedly generated by BitClub
             Network’s bitcoin mining pool. Goettsche, Balaci, Weeks, and others obtained the
             equivalent of at least $722 million from BitClub Network investors.

     RSK (Diego) is proudly announcing such partnerships in public, i.e. al parties being part of
     the RSK eco-system.

     Actions against Megalodon by Diego, Alex and RIF Labs

     Overall Overview of RSK / RIF / IOV involvement

     In relation to Megalodon, Diego, Alex and other team members as legal representatives of
     RIF Labs have communicated with various persons about Megalodon, not limited to: (1)
     Maarten Christiaan Verweij, (2) Mattan Lurie, (3) Arnie Hill, and (4) Joshua Newton.

     RIF Labs has never mentioned this to Megalodon or has asked any approval from Megalodon
     and affiliated parties for approval on such communication. Moreover, the RIF/RSK/IOV
     Labs team orchestrated a smear campaign with these people via various Telegram channels,
     including the RIF_OS Community channel.
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     In these communications:

        •    RIF is denying to have done business with Megalodon and are claiming that
             Megalodon defrauded people / misrepresented. These claims are made in chats, but
             also on https://blog.rsk.co/noticia/diego-zaldivars-ama-session/ (which website is
             referring to a Megalodon scam (fraud)).
        1.   Diego stated to Mattan Lurie in a chat that 30% to 40% of the investors did not
             redeem. Which means 72 out of 172 initial addresses did not redeem tokens at that
             time. Yet, communication from Diego’s side is as if Megalodon was the only one who
             did not redeem (which is false).
        2.   Diego is further stating on February 24, 2019 to Josh Newton that:
                  1. ‘’Great work I am happy that you are bringing the truth to the light’’. Diego is
                     referring to ICO Reverso Channel, where Maarten, Mattan, Josh and Alejandro
                     Bantas (RSK Labs) had conducted a smear campaign against Megalodon.
        3.   Alex Kobo is in contact with Maarten Verweij about topics related to Megalodon. But
             which not have been revealed to Megalodon or affiliated parties.
        4.   Alex Kobo stated in an email to Maarten Verweij that ‘’most of them have redeemed
             their tokens without problems’’. Where the emphasize is put on ‘’most’’. Alex Kobo
             further states that based on privacy legislation ‘’we cannot confirm or deny the entity
             that Megalodon used to sign the contribution agreement with RIF Labs’’ . While
             Diego stated to Josh Newton that Alex is in contact with Maarten Verweij ‘’to help in
             anything we can’’. Diego further stated to Mattan Lurie (no client of Megalodon) that
             ‘’we will definitely collaborate in a legal process’’ and ‘’we have been deeply
             damaged by Mega’s actions’’. While before he was stating to have no business
             dealing with Megalodon. And at that moment in time bringing claims about
             Megalodon, while he know and should have known, that Megalodon has contributed
             bitcoin to RIF Labs raise and that Megalodon would redeem in November 2019 (1
             year after TGE).
        5.   Maarten Verweij had calls with RSK Legal, including Diego, of which Megalodon
             was not informed and no consent for this was provided by Megalodon.
        6.   Diego was communicating with Mattan Lurie, who is not a client of Megalodon. In the
             chats with Mattan Lurie, Diego provided information about Megalodon. He further,
             together with Alex Kobo, exchanged emails with Mattan Lurie. The latter is strange to
             us, as Mattan is no client of Megalodon, while Diego is providing wrongful
             information to him about Megalodon. We are in the possession of emails sent by Alex
             Aberg Cobo and Diego Gutierrez Zaldivar, which include a Zoom link for a call on
             February 1, 2019. Without Megalodon’s consent, and also, making legal claims in
             their emails about misrepresentation (which under Dutch law is not the case). Alex
             stated that Megalodon has been misrepresenting in his email to Mattan Lurie on
             January 31, 2019. The latter is surprising to us, as (1) Mattan Lurie is no client of
             Megalodon and (2) a statement about misrepresenting without knowing local law and
             without Megalodon’s consent is purely focussed on damaging Megalodon’s reputation
             and putting people against Megalodon for the better of RIF Labs and is misleading the
             public (the public as Mattan Lurie is no client of Megalodon or has business dealing
             with Megalodon).
        7.   Diego further stated in a Telegram chat he had with Maarten Verweij, that he is not
             going to the Miami conference, which reference is to the North American Bitcoin
             conference. He states in his chat: ‘’I’m not going, I felt sick’’, ‘’But also they told me
             it’s associated with them’’, ‘’I don’t want to be associated with anything related to
             them’’. He is talking about reputation, while Diego / RIF happily took an investment
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            and thereafter, willingly tried to put a blame on Megalodon (with the knowledge that
            tokens would need to be delivered in November 2019 to Megalodon). Furthermore, in
            May 2017, RSK Labs also happily took an investment from Moe Levin; which Diego
            denied to Maarten Verweij that Moe Levin is not a shareholder in RSK (which is a
            false statement looking to harm Megalodon’s reputation).
        8. Diego further states to Maarten that: ‘’I was more than willing to help Josh because I
            was empathetic with the situation although we have no contractual relationship with
            this’’. Diego here confirmed the communication with Josh Newton, which should not
            have taken place and is a breach of confidentiality. He further is referring to lawyers
            helping, while we are talking about a delayed supply.
        9. Diego further had a telephone conversation with Josh Newton in which he stated the
            following:
                1. ‘’They fucked up on multiple ways’’ and is referring to a Ledger (Megalodon
                     did not use Ledger). Furthermore, Diego knowingly emphasizes on Megalodon
                     not redeeming, while he knew delivery will be made in November 2019;
                2. ‘’They should be more humble and accept their errors’’ (while 75 out of 145
                     contributors did not redeem at that time and Megalodon already indicated
                     multiple times to redeem in November 2019 – communication about that was
                     between RIF and Megalodon).
                3. ‘’I know you are chasing them from the Netherlands, I imagine they cannot
                     escape no…[Josh responded with: yes they do not know who they are fucking
                     with]… [Diego responded with]... very good’’. Diego mentioned this laughing,
                     were we cannot understand why Megalodon needs to be chased and not be able
                     to escape, where we are talking about a delay in supply not a scam, which was
                     known to Diego and RIF Labs.
                4. 2019 will be an amazing year. Diego is talking about capturing value and
                     explains how to do it (basically referring to the fact that RIF is a security and
                     NOT a utility token).
        10. As mentioned above, on February 24, 2019, a smear campaign was conducted against
            Megalodon, its founders and affiliated persons. On that day Diego messaged Josh
            stating: ‘’Great work I am happy that you are bringing the truth to the light’’. In this
            message information was shared about Megalodon, and its founders, plus false claims
            like misrepresentation were included. This shows Diego’s (and RIF Labs) active
            involvement in slandering Megalodon’s name, while being aware of the facts. On
            March 8, 2019, Megalodon founders Esteban and Peter met with Alex Kobo in
            London, by Alex no reference was made to any communication he and Diego had with
            third parties.

     Involvement of Diego CEO and Co-Founders of RIF (RSK and IOV)

     We have included in the attachments communication between Diego, Alex, and third parties
     who are not a contracting party of RSK / RIF Labs. It also shows the collaboration between
     Diego and third parties in relation to an ongoing smear campaign against Megalodon, its
     founders and affiliated partners and entities.
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     Summarizing

     In summary (and in legal terms and non-exhaustive) our position is that:

        1. RIF Labs conducted an unregistered sale of securities in various countries, including
            the United States (reference is made to the SEC case Telegram), where first RSK Labs
            sold securities to US investors, followed by converting those securities into RIF and
            separately a sale of RIF took place to a limited amount of investors (including US
            investors), who would have the function of underwriters, in order to sell RIF (an
            unregistered security) to the public (of which RIF Labs was aware).
        2. RSK Labs/RIF Labs/IOV Labs, have mislead investors in investing in their financial
            products (unregistered securities), with misleading statements, false information,
            without full disclosure of affiliated parties (such as Koinbanx), etc.. Furthermore, in
            our view during both private placements, no plain English description of the offering,
            key risk factors and description of important information and management incentives
            was shared with investors.
        3. RSK Labs/RIF Labs/IOV Labs, have been unclear on the use of proceeds during all
            raised and have not informed investors about this. However, from public information
            available to us, it is clear that the funds were used for other purposes than described in
            the white paper and the limited information shared (e.g. acquiring a social media
            platform and payment to miners in order to create an incentive for merge-mining).
            Moreover, during the private placements, no description was provided on how the ICO
            proceeds with accomplish any company goals.
        4. RIF Labs/IOV Labs, offered ERC-20 tokens after completion of its offering not a
            token build on the bitcoin blockchain. Moreover, Diego stated in various interviews
            that merge-mining would not costs miners extra, while he forgets to mention that RSK
            Labs pays miners to merge-mine (most likely with proceeds raised from the ICO).
        5. RSK Labs/RIF Labs/IOV Labs, made themselves guilty from identity theft, forging
            financial documents after signing and usage of personal information for financial
            gains.
        6. RSK Labs/RIF Labs/IOV Labs, made themselves, in our view, guilty to securities
            fraud and money laundering.
        7. RSK Labs/RIF Labs/IOV Labs, made themselves, guilty to slander and defamation of
            their investors.
        8. RSK Labs/RIF Labs/IOV Labs, made themselves, guilty in collaboration of an attempt
            of murder, extortion and abduction. Diego and Alex, have been actively pushing
            people to madness and encouraged them to ‘’not let Megalodon escape’’, while
            feeding them information, in which they collaborated with these persons to: (1) extort
            Megalodon, (2) attempt of murder to E.A. van Goor, (3) attempt of abduction of E.A.
            van Goor.
        9. RSK Labs/RIF Labs/IOV Labs, in specific Diego, encouraged slander and defamation
            against Megalodon and Esteban.
        10. RIF Labs, Diego and Alex have violated our confidentiality agreement. They have
            held private chats on an encrypted chat app (Telegram), email correspondence and
            several telephone conversations with clients of Megalodon (without Megalodon’s
            consent or awareness). They furthermore, shared the majority of information and
            concerns about misrepresenting and in their view fraud, to the public via the RSK
            website, via Telegram group channels, emails, chats, and telephone conversations with
            people who were NOT clients of Megalodon.
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     Final remarks

     Claimant aims to recoup its losses which are caused by the wrongdoings of RSK/RIF/IOV
     Labs. Claimant expects to be compensated appropriately. Claimant is willing to take all
     necessary steps required to hold you accountable for your actions in case you do not provide a
     solution that Claimant seems fit.

     You may contact us by e-mail (rsk@megalodon.ae).

     We will await your written response.

     E.A. van Goor LL.M.
     Mark Levin
     Kerem Turetgen
     Megalodon Capital Managment B.V.
     Megalodon DMCC
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                      EXHIBIT 2
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      LETTER OF CLAIM/                                                      Megalodon DMCC
                                                           Megalodon Capital Management B.V.
                                                                  c/o Esteban Arturo Van Goor
      LETTER BEFORE ACTION                                                         Mark Levin
                                                                              Kerem Turetgen
                                                                            rsk@megalodon.ae


                                                                                 March 16th , 2021
     Your ref: JIM/AP
     BY EMAIL: james.montado@isolas.gi


     Re: Letter of Claim/Letter Before Action dated 18th February 2021
         Letter to Megalodon dated 4th March 2021, James Montado, Partner, ISOLAS LLP


     Dear Mr. Montado,
     With reference to your letter of 4th March 2021, we provide you with the requested
     supplementary information in addition to our Letter of Claim, by letter of 18th February 2021.


     Question 1 Isolas:
     Specify the address of each of the proposed Claimants: it is insufficient and unacceptable to
     give only a United Arab Emirates email address;
     Answer 1:
     Claimants:

        -   Mark Levin, residing at Magalhaensplein 27-2, 1057 VE, Amsterdam, The
            Netherlands;
        -   Kerem Türetgen, residing at Beylerbeyi Mah, Asaf Halet Celebi, SK, Building No12,
            flat 2, Uskudar, Istanbul, Turkey;
        -   Megalodon DMCC, whose registered office is located at Jumeirah Lakes Towers,
            Dubai, United Arab Emirates, represented by Esteban van Goor, Managing Partner
            and Owner;
        -   Megalodon Capital Management B.V., whose registered office is located at
            Paasheuvelweg 39, unit 12, 1105 BG, Amsterdam, The Netherlands, represented by
            Esteban van Goor, Managing Partner and Owner.
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     REPRESENTATIVENESS

        -   Steven Christiaan Witte, residing at Zenderstraat 87, 1223 DS HILVERSUM, The
            Netherlands, [and/or];

        -   Megalodon DMCC, whose registered office is located at Jumeirah Lakes Towers,
            Dubai, United Arab Emirates, represented by Esteban van Goor, Managing Partner
            and Owner,("the agent" on behalf of Kerem Türetgen and Mark Levin (PoA));
        -   A Dutch ‘RSK Claim’ Foundation, yet to be formed, if we need to proceed to Court,
            as ‘ultimum remedium’, as a last resort.

     Question 2 Isolas:

     Identify the jurisdiction in which it is intended to initiate legal proceedings, and specify the
     basis upon which each of the proposed Defendants is alleged to be liable to be sued in that
     jurisdiction: your Letter merely discusses at some length a number of supposed
     possibilities;

     Answer 2:

     First option:

        •   The Netherlands, as jurisdiction and enforcement of judgments in civil and
            commercial matters for:

        -   Mark Levin, residing at Magalhaensplein 27-2, 1057 VE, Amsterdam, The
            Netherlands;
        -   Megalodon Capital Management B.V., whose registered office is located at
            Paasheuvelweg 39, unit 12, 1105 BG, Amsterdam, The Netherlands, represented by
            Esteban van Goor, Managing Partner and Owner.

     Competent Authorities that could be of assistance:

              •   European Securities and Markets Authority (ESMA)
              •   Netherlands Financial Services Complaints Tribunal (Kifid)
              •   Autoriteit Consument & Markt (ACM), The Netherlands
              •   Autoriteit Financiële Markten, The Netherlands

     Gibraltar and Turkey, as jurisdiction and enforcement of judgments in civil and
     commercial matters for:

        -   Kerem Türetgen, residing at Beylerbeyi Mah, Asaf Halet Celebi, SK, Building No12,
            flat 2, Uskudar, Istanbul, Turkey;
        -   Megalodon DMCC, whose registered office is located at Jumeirah Lakes Towers,
            Dubai, United Arab Emirates, represented by Esteban van Goor, Managing Partner
            and Owner;
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     Competent Authorities that could be of assistance:

               •   Gibraltar Public Service Ombudsman
               •   Gibraltar Financial Services Commission
               •   Office of Fair Trading Gibraltar
               •   Capital Markets Board of Turkey (CMB)
               •   The Turkish Capital Markets Association (TCMA)

        •     The Netherlands, Gibraltar, The United States of America, United Kingdom,
              Argentina, Turkey, British Virgin Islands, filing of a criminal complaint,
              competent jurisdictions to report violations of:

            1. Securities Law
            2. Money Laundering Law
            3. Wire Fraud Law
            4. Insider Trading
            5. Identity Theft
            6. Violation of Money Transmitter Regulation
            7. Unjust Enrichment
            8. Slander and Defamation
            9. Unfair Business Practices
            10. International Fraud Scheme
            11. Investor Protection Directive 2014/65/EU
            12. Regulation (EU) No 1215/2012
            13. European Securities and Markets Authority (ESMA)
            14. The Prospectus Directive
            15. The Transparency Directive
            16. The Markets in Financial Instruments Directive Framework
            17. The Market Abuse Regulation
            18. The Settlement Finality Directive and the Central Securities
                DepositoriesRegulation
            19. The fifth AMLD on money laundering and terrorist financing
            20. Financial Services (Markets in Financial Instruments) Act 2006
            21. Prospectuses Act 2005
            22. Financial Services (Collective Investment Schemes) Act 2011
            23. English Law Act 1962
            24. Gibraltar E-Commerce and Consumer Protection Regulations
            25. Gibraltar Money Laundering Regulations
            26. Misconduct in, or misuse of information relating to, a financial market
            27. Misleading, false and fraudulent statements
            28. Proceeds of Crime Act
            29. Fraud or dishonesty or breach of trust
            30. Criminal Justice Act 1993
            31. Regulation (EU) No 596/2014
            32. Communiqué on Prospectus and Issuance Document No II-5.1, Turkey.
            33. Communiqué on Sale of Capital Market Instruments No II-5.2, Turkey.
            34. Capital Market Law, NO 6362, Turkey.
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          35. Sourcing information about investors with third parties, collaboration
              with thirdparties leading to an assassination attempt and extortion.
          36. Conducting an unregistered securities sale in the United States of
              America, without an approval of the SEC or applying an Exemption
              (also referred to as aReg D).
          37. Actively participated in the commission of a crime, i.e. slander and defamation,
              an assassination attempt, and extortion.
          38. Bank Act and Exchange Act

     Competent Authorities that could be of assistance:

              •   European Securities and Markets Authority (ESMA)
              •   Netherlands Financial Services Complaints Tribunal (Kifid)
              •   Autoriteit Consument & Markt (ACM), The Netherlands
              •   Gibraltar Public Service Ombudsman
              •   Gibraltar Financial Services Commission
              •   Office of Fair Trading Gibraltar
              •   Royal Gibraltar Police
              •   Autoriteit Financiële Markten, The Netherlands
              •   U.S. Securities and Exchange Commission
              •   U.S. Commodity Futures Trading Commission
              •   U.S. Consumer Financial Protection Bureau
              •   U.S. Federal Trade Commission
              •   U.S. Federal Bureau of Investigation
              •   North American Securities Administrators Association
              •   Financial Industry Regulatory Authority, Inc.
              •   Capital Markets Board of Turkey (CMB)
              •   The Turkish Capital Markets Association (TCMA)
              •   INTERPOL General Secretariat
              •   Banco Central De La Republica Argentina
              •   Comisión Nacional de Valores, Argentina
              •   Gendarmeria Nacional, Argentina


     Second option:

     Claimant can bring a bundle of claims in the name of several individual claimants
     through a power of attorney obtained from them. Claimant can also bring a bundle of claims
     in their own name as the owner of claims obtained by assignment.

     The representative collective action is a mechanism allowing a representative entity, which is
     either a Dutch foundation (stichting) or an association (vereniging) with full legal capacity, to
     initiate proceedings to protect the similar interests of an unnamed group (class).

     A representative entity can submit a claim for a declaratory judgment, injunctive relief or
     specific performance and claim monetary damages. A declaratory judgment establishing, for
     example, the unlawfulness of the defendant's conduct, can be a stepping-stone to claim
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     damages in separate proceedings, either on an individual basis or bundled, or to seek a class
     settlement agreement.


     A Dutch ‘RSK and RIF Claim’ Foundation, will be formed, if we need to proceed to
     Court as ‘ultimum remedium’.

     The Court of Appeal ruled in Dexia1:
     "It is not necessary that each of the four applicants should appear individually to be
     representative of the entire group of injured parties. It flows from the statutory rules that it is
     enough that the joint applicants are sufficiently representative with regard to the interests of
     the persons for whose benefit the Collective Settlement Procedure (WCAM) agreement has
     been concluded, provided that each of them are sufficiently representative with regard to a
     sufficiently sizeable group of these persons."
     In the ‘Converium’ case, the Court of Appeal added that the law does not require that each
     applicant is sufficiently representative for a group of sufficient size.2
     Converium is significant for several reasons, as the Dutch court:

     Assumed jurisdiction even though:

           •    the claims were not brought under Dutch law and the securities where not traded on a
                Dutch stock exchange;
           •    the alleged wrongdoing took place outside the Netherlands; and
           •    none of the potentially liable parties and only a limited number of the potential
                claimants were domiciled in the Netherlands. Considered that a 20% fee for the
                principal counsel was not unreasonable.

     In the context of determining the fairness of a class settlement, the Court took into account
     customary US fee practices, when US law firms are involved and the legal services they
     provided took place predominantly in the US. Consequently, the Amsterdam Court of Appeal
     held that a fee amounting to 20% of the settlement amount was not unreasonable.

     There has also been an increase in the use of third-party funding in Dutch collective actions
     and the number of third party funders active on the Dutch market is growing. Other funding
     options, for example crowdfunding, are possible.

     The principal sources of law for representative collective actions and class settlement
     proceedings are the Civil Code and Code of Civil Procedure. Representative collective actions
     are governed by Articles 3:305a to 3:305d of the Civil Code.




     1
         Dexia, par. 5.26.
     2
         Converium, par. 10.2.
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     The first phase of class settlement proceedings is the private, non-court supervised and
     undisclosed negotiation process between the parties aiming to reach a settlement. The
     settlement agreement is ultimately concluded between:

                    •   the parties that will pay the compensation for the event that has caused
                        damage; and
                    •   one or more Agents that represent the interests of the class of persons
                        intended to be covered by the settlement agreement.

     Potential claimant

     A Dutch foundation or association with full legal capacity can represent the interests of the
     parties concerned in a representative collective action (Article 3:305a, Civil Code). Certain
     public legal bodies can also initiate collective proceedings, provided that they represent the
     similar interests of other persons (Article 3:305b, Civil Code).

     In class settlement proceedings, the parties that request the Amsterdam Court of Appeal to
     declare the collective settlement binding on all class members are the parties to the collective
     settlement. These may be foundations or associations with full legal capacity that represent
     the interests of the class members and the party or parties that will pay the damages.

     All types of claimants can bring a bundle of individual claims on the basis of a power of
     attorney given by the individual claimants, or on the basis of assignment of the claims to a
     claiming entity.

     Claimants outside the jurisdiction

     Foreign claimants can be represented by a Dutch foundation or association with full legal
     capacity in a representative collective action. Under the WAMCA foreign class members are
     not bound if they do not opt-in, unless the court orders that an opt-out system applies.

     Certain organisations with their registered office abroad but that are placed on the list referred
     to in Article 4(3) of the Directive 98/27/EC on injunctions for the protection of consumers'
     interests also have standing to represent interested persons for that purpose in the Netherlands
     (Article 3:305c, Civil Code).


     Question 3 Isolas:
     Identify specific causes of action against each of the proposed Defendants: your Letter does
     not clearly do so, either by specifying the parties to and material provisions of an agreement
     or agreements and the breaches alleged, or by specifying breach or breaches of some other
     specified obligation or obligations. t is insufficient merely to allege fraud (amongst a
     plethora of other claims) in general terms and without informing the proposed Defendants
     of the nature of the case to be advanced against them;
     Answer 3:
     A defendant in a collective action that is held jointly and severally liable can apply for an
     order to commence third-party proceedings (vrijwaring) against their joint and several liable
     co-debtors for recourse for an awarded claim.
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     If the court allows third-party proceedings, the defendant in the main proceedings must
     commence the new proceedings against their joint debtors, which then become the defendants
     in the third-party proceedings. They do not become a party in the main action unless those
     defendants join the defendant in the main action.

     In addition, any sufficiently interested party can apply to join the defendant or to intervene
     and issue an independent claim in the main action.

     Multiple defendants can co-operate in their defence. Multiple defendants can enter into "joint
     defence agreements" (or other arrangements) to share confidential information (without
     waiving privilege, including other protections such as a process to be followed if conflicts
     arise). Multiple defendants can also instruct the same lawyers or experts.

     In this regard, as stated in your letter of 4th March 2021:

     We write further to your Letter of Claim/Letter Before Action dated 18 February 2021. We
     are instructed on behalf of the proposed Defendants and would be grateful if all further
     correspondence in respect of this matter were sent directly to us.

     Considered to be defendants in absence of proof to the contrary:

              •   IOV Labs Limited, RIF Labs Limited, Suite 23 Portland House Glacis Road,
                  GibraltarGX11 1AA Gibraltar, Company Number: 116697.
              •   Fiduciary Trust Limited, 3, Bell Lane, Gibraltar.
              •   RSK Labs limited, BVI, 1895440, Morgan & Morgan Building, Pasea
                  Estate, RoadTown, Tortola, British Virgin Islands.
              •   Ginger Developments Limited, 1989326, Pasea Estate p.o. box 958
                  Road TownTortola VG1110 Virgin Islands, British.
              •   Isolas LLP, Portland House, Glacis Rd, GX11 1AA, Gibraltar.
              •   Malcolm Stephen David, Palle 26 Arlington Midtown, Gibraltar GX11 1AA,
                  Gibraltar, British, flat 65 Aegean apartments, 19 Western Gat Victoria Docks,
                  London,England, United Kingdom E16 1AR.*
              •   Alejandro Maria Aberg Cobo, Camino De Los Horneros 220, Lomas
                  de la Tahoma Lote 346 Colonia Nicolich Canelones 14000, Uruguay,
                  Argentinian.*
              •   Wayne Leslie Almeida, 4 Richmond Close Montagu Crescent GX11
                  1AA Gibraltar,British.*
              •   Joseph Peter Garcia, 3 Garden Apartment King's Wharf, Gibraltar, British.*
              •   Diego Gutierrez Zaldivar, 2028 4 R Vidt, Buenos Aires C1425,
                  Buenos Aires,Argentina, Argentinian.*
              •   Fiduciary Management Limited, 3 Bell Lane GX11 1AA, Gibraltar.
              •   Sergio Lerner, Jauretche 162 7B (1405), Buenos Aires, Argentina.*
              •   Gabriel Alejandro Kurman, Roseti 138 PBC (1427), Buenos Aires, Argentina.*
              •   Ruben Ariel Altman, Salguero 2136 9a (1425), Buenos Aires, Argentina.*
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              •    Adrian Eidelman, Acuña de Figueroa 1470 (1180), Buenos Aires, Argentina.*
              •    Adrian Garelik, Blanco Encalada 1910 (1430), Buenos Aires, Argentina.*

     *Please submit latest whereabouts, correct address to Claimant, as the addressesprovided by
     you in official communications and documentations are incorrect!


     Question 4 Isolas;
     Explain the alleged common interest of the various proposed Claimants which you allege
     entitles the Claimants to join together in the proposed legal proceedings: your Letter does
     not attempt to do so;
     Answer 4:
     Championing the interests of these current and former holders of RSK/RIF/IOV Labs
     shares/tokens/securities who have sustained damage. Entering into a collective settlement
     agreement in order to end the disputes in connection with these events. Overseeing
     compliance with the Settlement Agreement; and everything that is connected with the
     foregoing or that may be conducive to it.
     Jurisdiction and Competence
     The Amsterdam Court of Appeal has sole competence to take cognizance of this petition
     pursuant to article 1013(3) DCCP.
     International jurisdiction
     In the Shell and Converium cases, the Court of Appeal found that it can derive international
     jurisdiction from the predecessor of the Brussels I Regulation (recast),3 the EVEX
     Convention4 and article 3 of the Dutch Code of Civil Procedure ["DCCP"] for declaring a
     Settlement Agreement binding formed in the context of the WCAM. The Claimants concur
     with these findings. This has the following meaning for these proceedings.
     With regard to the eligible RSK/RIF/IOV Labs shares/tokens/securities holders (current and
     previous) who are domiciled or have their place of establishment in the Netherlands, the Court
     of Appeal can derive jurisdiction from article 4 (1) of the Brussels I Regulation (recast).5
     With regard to the eligible RSK/RIF/IOV Labs shares/tokens/securities holders (current and
     previous) who at the time this petition was submitted had their domicile or place of
     establishment outside the Netherlands, in a state that is party to the Brussels I Regulation
     (recast) or the EVEX Convention, the Court of Appeal can derive international jurisdiction
     from article 8 preamble and (1) of the Brussels I Regulation (recast), or article 6 preamble and
     (1) of the EVEX Convention, respectively.6 These articles stipulate that a person who is


     3
       Regulation (EU) no 1215/2012 of the European Parliament and of the Council on jurisdiction and the
     recognition and enforcement of judgments in civil and commercial matters (recast).
     4
       Convention of 21 December 2007 on Jurisdiction and the Recognition and Enforcement of Judgments in Civil
     and Commercial Matters.
     5
       Cf. Shell, par. 5.18 and Court of Appeal Amsterdam 12 November 2010, NJ 2010, 683 (Converium interim
     decision) (hereinafter "Converium Interim Decision"), par. 2.10.
     6
       Cf. Shell, par. 5.19 and Converium Interim Decision, par. 2.11
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     domiciled in the territory of a Member State of the European Union or an EVEX Member
     State can also be sued:
     "where he is one of a number of defendants, in the courts for the place where any one of them
     is domiciled, provided the claims are so closely connected that it is expedient to hear and
     determine them together to avoid the risk of irreconcilable judgments resulting from separate
     proceedings."
     Furthermore, the Court of Appeal can also derive international jurisdiction with regard to the
     eligible RSK/RIF/IOV Labs shares/tokens/securities holders (current and previous) residing
     or established in a European or EVEX Member State from article 7, preamble, and (1)(a) of
     the Brussels I Regulation (recast) and article 5, preamble, and (1)(a) of the EVEX
     Convention.7 These articles stipulate that a person or legal entity domiciled in the European
     Union or an EVEX Member State, respectively, can also be sued:
     "in matters relating to a contract, in the courts for the place of performance of the obligation
     in question."
     The contractual obligation in the current case pertains to the obligation to provide to the
     Eligible RSK/RIF/IOV Labs shares/tokens/securities (current and previous) holders the
     compensations to which they are entitled under the Settlement Agreement. If the Settlement
     Agreement is declared binding, this obligation will be implemented in the Netherlands: the
     Foundation, a legal entity established in the Netherlands, will assess claim forms, determine
     the compensation and arrange for its distribution (by engaging the Claims Administrator
     appointed by it and acting on its behalf).
     With regard to Eligible RSK/RIF/IOV Labs shares/tokens/securities holders who, at the time
     this petition was submitted, were not domiciled or established in a country party to the
     Brussels I Regulation (recast) or the EVEX Convention, the Dutch courts have jurisdiction on
     the grounds of article 3, preamble, and (a) DCCP.8
     Content and amount of the settlement agreement
     The compensation offered offers a reasonable balance between the risks of litigation and the
     advantages of a settlement. This settlement offers eligible RSK/RIF/IOV Labs
     shares/tokens/securities (current and previous) holders the possibility to claim a reasonable
     compensation of the loss perceived by them, rightly or wrongly, without them having to
     pursue legal actions.
     In the context of the comprehensive arrangement as set down in the Settlement Agreement,
     Claimants have taken account of the likelihood that the communication by RSK/RIF/IOV
     Labs in a particular Relevant Period might be qualified as misleading in court.
     If the Settlement Agreement is declared binding, eligible RSK/RIF/IOV Labs
     shares/tokens/securities (current and previous) holders will be able to receive a compensation
     within a relatively short period (within 14 days).
     The Claimants will request that the Court of Appeal treat the list with names and addresses of
     the eligible RSK/RIF/IOV Labs shares/tokens/securities (current and previous) holders known

     7
         Cf. Converium Interim Decision, par. 2.8 – 2.9.
     8
         Cf. Shell, par. 5.16 and Converium Interim Decision, par. 2.12.
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     to them as a 'file' in accordance with Article 2.2.2.1 of the Rules of Procedure within the
     meaning of article 1(c) of the Dutch Personal Data Protection Act so that the file is not
     included as part of the public case file.
     The eligible RSK/RIF/IOV Labs shares/tokens/securities (current and previous) holders
     known to the Claimants will be summoned to appear at the hearing by means of a letter or e-
     mail.
     In addition, for the benefit of the unknown eligible RSK/RIF/IOV Labs
     shares/tokens/securities (current and previous) holders and the legal entities meant in article
     1014 DCCP, the Claimants will make an announcement of the hearing in various newspapers
     and press agencies.
     In determining the newspapers in which the Claimants intend to publish the announcement,
     Claimants will take account of the geographical spread of the eligible Shareholders known to
     the Claimants.
     The Claimants propose that the Petition and other documents pertaining to the case, including
     in any event the Settlement Agreement and the Settlement Distribution Plan, be published on
     the websites of the Foundation (www.rskclaim.com and www.rifclaim.com) and to make it
     possible to consult them through the websites of the various Petitioners (including by means
     of a link to the website of the Foundation).
     The Claimants assume, in addition to this, that it will be possible to submit written requests
     for the petition and other documents pertaining to the case from the registry of the commercial
     section of the Court of Appeal, in accordance with article 290(3) DCCP, and that they will be
     published on www.rechtspraak.nl.
     Period for submitting a statement of defense
     Pursuant to article 282(1) DCCP in conjunction with article 2.2.2.8 of the Rules of Procedure,
     defenses can be submitted up to no later than six weeks before the date of the hearing, unless
     otherwise determined by the Court of Appeal.
     The Claimants do not know whether statements of defense will be submitted. If that is the
     case, the Claimants will of course gladly respond to these. So as on the one side to safeguard
     that this can adequately be done and on the other side to avoid delaying the proceedings as
     much as possible, Claimants request the Court of Appeal not to deviate from article 2.2.2.8 of
     the Rules of Procedure and thus direct that any statements of defense may be submitted up to
     no later than six weeks before the date of the hearing.
     The Claimants also will request that the Court of Appeal direct that interested parties who
     wish to speak during the hearing, in person or represented by counsel, notify the Court of
     Appeal and the Claimants to this effect no later than four weeks prior to the date of the
     hearing.
     Additionally, the Claimants wish to see the proceedings completed as soon as reasonably
     possible. This is deemed to be in the interest of all parties involved in the Settlement
     Agreement – in particular the Eligible RSK/RIF/IOV Labs shares/tokens/securities holders
     entitled to compensation – so that they can obtain certainty in the short term and the
     implementation of the agreements set out in the Settlement Agreement can be started as soon
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     as possible as well as the distribution of the amounts provided for in the Settlement
     Agreement.
     Shareholders (investors) overview of RSK Labs (BVI) Limited:
       Topspring                 Bitmain                 People’s Republic of CSRC
       Technology Limited                                China
       Digital Currency          DCG                     The United States of SEC
       Group, Inc                                        America
       Ms. Hongmin Sun           Huiyin                  People’s Republic of CSRC
                                                         China
       Minka INC                 Minka Inc               The United States of SEC
                                                         America
       Digifinex Inc             Bitfinex                BVI                  BVIFSC
       Anthony Di Lorio          -                       Canada               CSA
       Certo S.A.                Certo S.A.              Uruguay              BCA
       Maciej Ziolkowski         Maciej Ziolkowski       Poland               KNF
       Tomasz Rulka              Tomasz Rulka            Poland               KNF
       Mark Levin                Mark Levin              Canada               CSA / AFM
       BAHA Ventures LLC         BAHA Ventures           The United States of SEC
                                 LLC                     America
       Bitfury Finance           Bitfury Finance         Cayman / The United SEC
       Limited                   Limited                 States of America
                                                         (HQ)
       Paola Rebuffo             Paola Rebuffo           Switzerland          BaFin
       Andrea Rossi              Andrea Rossi            Switzerland          BaFin
       Yuan Dawei                Yuan Dewei              People’s Republic of CSRC
                                                         China
       Han Weiping               Han Weiping             People’s Republic of CSRC
                                                         China
       Bruce Fenton              Artrantic Financial     The United States of SEC
                                                         America
       Seedcoin Limited         Seedcoin Limited         BVI / UK             BVIFSC/FCA
       (later Coinsilium)       (later Coinsilium)
       Laurent Christian        Laurent Christian        UK                       FCA
       Joseph Kssis             Joseph Kssis
       Pier Andreina            Pier Andreina            UK                       FCA
       Thomas                   Thomas
       Cameron John Parry       Cameron John Parry       UK                       FCA
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     Question 5 Isolas:
     Indicate at least in general terms the nature of the relief sought against each of the
     proposed Defendants: your Letter does not clearly do so.
     Answer 5:
     Quantum Meruit:
        •   In relation to the investment made by Mark (Moe) Levin into RSK Labs (BVI)
            Limited:

            o Refund of the invested 22.0761 bitcoin/BTC, by means of transfer to a wallet
              designated by Claimant;
            o Payment of damages, i.e., payments due by Ginger Developments Limited, as
              promised by RSK Labs Limited. Which we currently estimate at 3 US$ per second
              (US$ 0.03 x 100 transactions per second), for 2 years is US$ 189,216,000, of
              which Ginger was eligible 40%, US$ 75,686,400 and for which the stake
              (preferred would amount in): US$ 983,923 (equivalent in bitcoin).

        •   In relation to the investment made by Mark (Moe) Levin into RIF Labs, which was
            coherent to the RSK Labs Limited unregistered securities sale:

            o A refund of the invested 400 bitcoin/BTC, by means of transfer to a wallet
              designated by Claimant;

        •   In relation to the investment made by Kerem Türetgen into RIF Labs, which was
            coherent to the RSK Labs Limited unregistered securities sale:

            o A refund of the invested 50 bitcoin/BTC, by means of transfer to a wallet
              designated by Claimant;

        •   In relation to the investment made by Megalodon Capital Management B.V. into RIF
            Labs, which was coherent to the RSK Labs Limited unregistered securities sale:

            o A refund of the invested 300 bitcoin/BTC, by means of transfer to a wallet
              designated by Claimant;
            o Compensation of damages related to slander and defamation caused by
              wrongdoings of Diego, Alex, and Alejandro Bantas, 100 bitcoin/BTC, bymeans of
              transfer to a wallet designated by Claimant.

        •   In relation to Megalodon DMCC Compensation of damages related to slander and
            defamation caused by wrongdoings of Diego, Alex, and Alejandro Bantas, 50
            bitcoin/BTC, bymeans of transfer to a wallet designated by Claimant.
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                    Name Claimant            Defendants                 Amount of Claim

                                  RSK Labs Limited and all its
                 1 Mark Levin     directors                        22.0761 bitcoin
                                  RSK Labs Limited (Ginger
                                  Developments Limited) and all US$ 983,923 (equivalent
                                  its directors                    in bitcoin)
                                  RIF/IOV Labs Limited and all its
                                  directors                        400 bitcoin
                                  RIF/IOV Labs Limited and all its
                 2 Kerem Türetgen directors                        50 bitcoin
                   Megalodon      RSK/RIF/IOV Labs Limited and 50 bitcoin (smear
                 3 DMCC           all its directors                campaign)
                   Megalodon
                   Capital
                   Management     RIF/IOV Labs Limited and all its
                 4 B.V.           directors                        300 bitcoin
                                  RIF/IOV Labs Limited and all its 100 bitcoin (smear
                                  directors                        campaign)

     Designated bitcoin wallet by claimant: 3CDQqApQE7Xz3hZGPaMjuUniPtg3BB8gvX
     Claimant would invite you to put forward any proposals in this regard.

     Claimant look forward to hearing from you within the next 14 days with a detailed Letter of
     Response. In case Claimant does not receive a reaction from you to its satisfaction before the
     31th of March 2021, Claimant reserves the right to proceed with the aforementioned actions
     (including serving you a summons) without any notification in advance.
     We consider that this correspondence provides sufficient information to enable you and your
     clients to commence investigations and to put a valuation upon the claim.

     This correspondence is not intended to have the formal status of a pleading and, therefore, we
     reserve the right to provide further information under each of the headings above in due
     course.

     Document Retention Notice

     In the meantime, please be advised to maintain, and not to destroy, any documents or other
     records, electronic or otherwise, that are pertinent to the issues raised in this letter, including
     any so-called “ephemeral media” such as texts, messaging application messages, etc.
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     Final remarks

     Claimant aims to recoup its losses which are caused by the wrongdoings of RSK/RIF/IOV
     Labs. Claimant expects to be compensated appropriately. Claimant is willing to take all
     necessary steps required to hold you accountable for your actions in case you do not provide a
     solution that Claimant seems fit.


     You may contact us by e-mail (rsk@megalodon.ae).

     We will await your written response.
     Yours faithfully,




     E.A. van Goor LL.M.
     Mark Levin
     Kerem Turetgen
     Megalodon Capital Management B.V.
     Megalodon DMCC
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      against all Releasees, as described in the Claim Form and as provided for in the Settlement
      Agreement;
      − Submit the claim for compensation to the exclusive jurisdiction of (i) the Claims
      Administrator, (ii) the Dispute Committee and (iii) the Amsterdam Court of Appeal and its appellate
      bodies;
      − Cooperate with and have contact with (i) the Claims Administrator, (ii) the Dispute
      Committee ;
      − Take any other useful or necessary measure, take any other useful or necessary action,
      and prepare and sign any other useful or necessary document relating to the RSK/RIF/IOV Labs
      Settlement.


   This power of attorney remains fully force and is therefore irrevocable until the full and final amount
   of the compensation due to the principal under the RSK/RIF/IOV Labs Settlemment has been received.

   This power of attorney is subject to and is exclusively governed by Dutch law. All disputes between the
   parties concerning this power of attorney are the exclusive competence of the courts of [Amsterdam].

   Capitalised terms not otherwise defined in this power of attorney have the meaning ascribed to them
   in the Settlement Agreement.

   The principal: Mark Levin

   Date:   February- 2- 2021




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                against all Releasees, as described in the Claim Form and as provided for in the Settlement
                Agreement;
                − Submit the claim for compensation to the exclusive jurisdiction of (i) the Claims
                Administrator, (ii) the Dispute Committee and (iii) the Amsterdam Court of Appeal and its appellate
                bodies;
                − Cooperate with and have contact with (i) the Claims Administrator, (ii) the Dispute
                Committee ;
                − Take any other useful or necessary measure, take any other useful or necessary action,
                and prepare and sign any other useful or necessary document relating to the RSK/RIF/IOV Labs
                Settlement.


            This power of attorney remains fully force and is therefore irrevocable until the full and final amount
            of the compensation due to the principal under the RSK/RIF/IOV Labs Settlemment has been received.

            This power of attorney is subject to and is exclusively governed by Dutch law. All disputes between the
            parties concerning this power of attorney are the exclusive competence of the courts of [Amsterdam].

            Capitalised terms not otherwise defined in this power of attorney have the meaning ascribed to them
            in the Settlement Agreement.

            The principal: Kerem Türetgen

            Date:    February- 2- 2021




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                     EXHIBIT 3
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     LETTER OF CLAIM/                                                         Megalodon DMCC
                                                             Megalodon Capital Management B.V.
                                                                    c/o Esteban Arturo Van Goor
     LETTER BEFORE ACTION                                                            Mark Levin
                                                                                Kerem Turetgen
                                                                              rsk@megalodon.ae


                                                                                     April 22th , 2021
    Your ref: JIM/AP
    BY EMAIL: james.montado@isolas.gi


    Re: Letter of Reply to Megalodon dated March 31, 2021, James Montado, Partner,
    ISOLAS LLP


    Dear Mr. Montado,
    Thank you for your letter of March 31, 2021. This letter constitutes our letter of response to
    your Letter of Reply of March 31, 2021, where we have included our input to the statements
    made by Isolas LLP.


    Statement 2.1 Isolas
    2.1       ‘In your second letter you have not clearly specified the jurisdiction in which you
              propose to sue.’
    Answer:
    In relation to this statement, we would like to emphasize that based on our previous letter of
    March 16, 2021, it is already described that there are two options for us, i.e., separate
    jurisdiction per claim, i.e.:
          •   The Netherlands, as jurisdiction and enforcement of judgments in civil and
              commercial matters for:

          -   Mark Levin, residing at Magalhaensplein 27-2, 1057 VE, Amsterdam, The
              Netherlands;
          -   Megalodon Capital Management B.V., whose registered office is located at
              Paasheuvelweg 39, unit 12, 1105 BG, Amsterdam, The Netherlands, represented by
              Esteban van Goor, Managing Partner and Owner.

    Competent Authorities that could be of assistance:

               •   European Securities and Markets Authority (ESMA)
               •   Netherlands Financial Services Complaints Tribunal (Kifid)
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               •   Autoriteit Consument & Markt (ACM), The Netherlands
               •   Autoriteit Financiële Markten, The Netherlands

    Gibraltar and Turkey, as jurisdiction and enforcement of judgments in civil and
    commercial matters for:

          -   Kerem Türetgen, residing at Beylerbeyi Mah, Asaf Halet Celebi, SK, Building No12,
              flat 2, Uskudar, Istanbul, Turkey;
          -   Megalodon DMCC, whose registered office is located at Jumeirah Lakes Towers,
              Dubai, United Arab Emirates, represented by Esteban van Goor, Managing Partner
              and Owner;

    Competent Authorities that could be of assistance:

               •   Gibraltar Public Service Ombudsman
               •   Gibraltar Financial Services Commission
               •   Office of Fair Trading Gibraltar


    However, as described in our letter of March 16, 2021 a second option for us would be to file
    a claim through a Dutch Foundation. Which Foundation would be acting on behalf of
    Claimants. Moreover, as stated in our letter of March 16, 2021, the foundation would be able
    to act on behalf of all current and previous holders of RSK/RIF.
    Statement 2.1 Isolas
    2.1       You have proceeded on the misconceived notion, not only that the relevant exclusive
              jurisdiction clauses in the relevant Early Contribution Agreements are of no effect, but
              that in default thereof the courts of The Netherlands would accept jurisdiction because
              of the residence of the proposed Claimants or of other prospective Claimants whom
              you believe that you are entitled to represent.
    Answer:
    The choice of law can only be effective if it is based on parties’ common consciousness and
    will.1 Expression of this consensus ad idem is subject to some requirements under the
    Regulation system. According to the second sentence of Art 3(1) of the Rome 1 Regulation,
    ‘the choice shall be made expressly or clearly demonstrated by the terms of the contract or the
    circumstances of the case’. Moreover, in relation to the question which jurisdiction is
    governing the early-contribution agreement, we refer to article 6 of Regulation EC no
    593/2008, which states that in relation to consumer contracts the agreement is governed by the
    law of the country where the consumer has his habitual residence.
    In relation to dispute on the choice of law, the CJEU has ruled in C-135/15 Hellenic Republic
    v Grigorios Nikiforidis that the "overriding mandatory provisions" of the law of a particular


    1
     M. Mandery, Party Autonomy in Contractual and Non-Contractual Obligations: A European and Anglo-
    Common Law Perspective on the Freedom of Choice of Law in the Rome I Regulation on the Law Applicable to
    Contractual Obligations and the Rome II Regulation on the Law Applicable to Non-Contractual Obligations, at
    25 (2014). Supra note 11, at 43.
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    state can be taken into account by a Member State court when determining a contractual
    dispute even where a different law has been chosen to govern the contract. Applying the
    Rome I Regulation on the law applicable to contractual obligations, the CJEU found that a
    national court (e.g. The Netherlands) can give effect to overriding mandatory provisions of
    the law of a third state (e.g. Gibraltar).
    Furthermore, in relation to Kerem Turetgen, we would like to note that the subjective and
    objective choice of law rules under the Turkish Private International Law Act no.5718 both
    draw a framework that is consistent with the relevant European Union instruments. The
    Turkish legislature adopted its new Private International Law Act (PILA) no.5718 in 2007
    which was inspired by the Rome Convention and brought about to accommodate the Turkish
    choice of law rules to European law.
    An agreement between the parties to confer on one or more courts or tribunals of a Member
    State exclusive jurisdiction to determine disputes under the contract should be one of the
    factors to be taken into account in determining whether a choice of law has been clearly
    demonstrated2.

    Terms which restrict how and where Claimants can take legal action and obliging them to
    provide proof which is the responsibility of the other party to the contract, are unfair contract
    terms. Under the Directive on Unfair Terms in Consumer Contracts, a contractual term which
    causes a significant imbalance in the parties’ rights and obligations arising under the contract,
    to the detriment of the consumer, is regarded as unfair.3 It is settled in the jurisprudence of the
    CJEU that a pre-dispute arbitration clause that deprives the consumer of the choice to litigate
    is unfair within the meaning of the Directive4.

    Ensuring access to justice for the consumer through a fair and efficient dispute resolution
    mechanism is one of the central aspects of EU consumer law5. The consumer can bring the
    Defendant before the court of his jurisdiction (e.g. The Netherlands).6 In case of conflict of
    applicable substantive laws, the law which is the most favorable to the consumer is applied7.

    The consumer cannot be subjected to pre-dispute arbitration agreement that excludes an
    option to litigate8.The Dutch court will assess whether an arbitration agreement is unfair

    2
      REGULATION (EC) No 593/2008 OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL, Recital 12
    3
      Council Directive 93/13/EEC, of 5 April 1993 on Unfair Terms in Consumer Contracts, OJEC, L 95/29. Article
    3(1). (Directive on Unfair Terms in Consumer Contracts).
    4
      Case 27.6.2000, joined cases C-240/98–C-244/98, Océano Grupo Editorial, and Salvat Editores. – ECR 2000, p.
    I–4941 & Case
    26.10.2006, C-168/05, Mostaza Claro v. Centro Móvil Milenium SL. – ECR 2006, p. I–10421.
    5
      Besides dispute settlement provisions in many of the EU regulations and directives governing cross-border
    commerce, the EU has implemented specific dispute settlement rules that are favorable to the consumers
    including the alternative dispute resolution directive (Directive 2013/11/EU of the European Parliament and of
    the Council of 21 May 2013 on Alternative Dispute Resolution for Consumer Disputes and Amending Regulation
    (EC) No 2006/2004 and Directive 2009/22/EC, OJEU, L 165/63. (Directive on consumer ADR).
    6
      Regulation (EU) No. 1215/2012 of The European Parliament and the of the Council of 12 December 2012 on
    Jurisdiction and the Recognition and Enforcement of Judgments in Civil and Commercial Matters, OJEU, L
    351/1, Article 18(1). (Brussels I).
    7
      Regulation (EC) No 593/2008 of the European Parliament and of the Council of 17 June 2008 on the Law
    Applicable to Contractual Obligations (Rome I), OJEU, L 177/6, Art. 6. (Rome I).
    8
      Andreas von Goldbeck, ‘Consumer Arbitrations in the European Union’ (2018) 18 Pepperdine Dispute
    Resolution Law Journal 263,
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    under the Unfair Terms in Consumer Contracts Directive, ex officio during a proceeding for
    the annulment9 or enforcement of an arbitral award.10

    Based on the above we feel comfortable that a Dutch court would rule in favor of the
    jurisdiction being the Netherlands in the case at hand; also considering the fact the
    Netherlands allows (mass) claims through Dutch foundations. In our letter of March 16, 2021,
    on page 5 and 6, we describe the basis of the position and a Dutch foundations involvement in
    this claim (based on case law).
    To summarize the above:
          1. Mark Levin:
               a. In relation to his agreement with RSK Labs Limited and Ginger Development
                   Limited. All agreements are governed by the Netherlands, as for these
                   agreements he is considered to be a consumer (also see article 6 of Regulation
                   EC no 593/2008).
               b. In relation to his agreement with RIF Labs Limited. For this agreement the
                   governing law is the Netherlands, as for these agreement he is considered to be
                   a consumer (article 6 of Regulation EC no 593/2008).

          2. Megalodon Capital Management B.V.
               a. In relation to his agreement with RIF Labs Limited. For this agreement the
                   governing law is the Netherlands, based on Rome I Regulation and relevant
                   case law C-135/5.

          3. Kerem Turetgen:
                a. In relation to his agreement with RIF Labs Limited. For this agreement the
                   governing law is Turkey, we refer to the Turkish regulation under PILA no.
                   5718.
    In case of a class action lawsuit via a Dutch foundation the jurisdiction would be the
    Netherlands (we refer to our letter of March 16, 2021, where this position and relevant case
    law is described).
    Statement 2.1 Isolas:
    2.1      ‘We are surprised that you have adopted such a position given that you appear to have
             previously accepted (in your letter of 18th February 2021) the primary rule that
             jurisdiction is determined by the residence of Defendants, not of Claimants.’
    Answer:
    This is an incorrect interpretation of our letter of February 18, 2021. We do not agree with
    your conclusion on the jurisdiction, we i.a. refer to the above regarding our position on how to
    interpret the governing jurisdiction for agreements based on EU law.



    265.
    9
      Mostaza Claro v. Centro Móvil Milenium SL (n 105).
    10
       Asturcom Telecomunicaciones SL v Cristina Rodrı´guez Nogueira (n 106).
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    Furthermore, there are procedural prerequisites (Pre-trial Correspondence requirements) to
    filing a lawsuit in The Netherlands in cases of mismanagement brought before the Enterprise
    Court (Section 2:349 DCC) and collective actions (Section 3:305a DCC). When failing to
    comply with these prerequisites, you may not have cause of action. Reasonable attempt to
    settle: under 3:305a DCC, a collective action cannot proceed unless the representative entity
    has made a reasonable attempt to settle the case. In this context, the Dutch law also provides
    that a letter that gives the defendant two weeks to respond will suffice.
    Statement 2.2 Isolas:
    2.2 In any event, the terms of the applicable Early Contribution Agreements with Megalodon
        Capital Management BV, Mark Levin and Kerem Turetgen provide for:

                               2.2.1. arbitration of any disputes in Gibraltar under London Court of
                                      International Arbitration Rules, the exclusion of class or
                                      representative actions, and the exclusive supervisory jurisdiction
                                      of the courts of Gibraltar applying Gibraltar law: clause 18.1,
                                      and Note to Contributors on page 6; and

    Answer:
    We refer to our input on statement 2.1 of this letter (above). Furthermore, 18.7 of the Early
    Contribution Agreement, which strengthens our interpretation of Rome I.
    Regarding Clause 18.1, and Note to Contributors on page 6:
    Consumer (Mark Levin and Kerem Turetgen):
    An arbitration agreement that require parties to waive their right to proceed on a class
    action basis can be annulled by the national courts on the grounds that the arbitration
    proceedings were based on arbitration clause as an unfair contract term under the
    Council Directive 93/13/EEC of 05/03/1993 on unfair terms in consumer contracts (see for
    example the European Court of Justice decision in the case Claro v. Móvil or Sebestyen, C-
    342/13)11
    Under the Unfair Terms in Consumer Contracts Regulations 1999, the inclusion of an
    arbitration clause is considered unfair12
    The Netherlands has implemented an “opt-out” system in consumer class-actions. The “opt-
    out” system, which is used in the US, by considering the significant size of the US market,
    grants a right for litigants to initiate lawsuits with extremely large claims. Such claims force
    enterprises to seek settlement, as the risk of loss provides a great danger for the company at
    stake.
    Company (Megalodon Capital Management B.V.):

    In practice, international tribunals when determining the law applicable to the merits of a
    dispute are influenced by the widely-accepted rules contained in those instruments. They
    normally also take into account any overriding mandatory rules and public policy concerns, in

    11
         see Directive 93/13/EEC of 05/03/1993
    12
         Mylcrist Builders Limited v Mrs G Buck [2008] EWHC 2172 TCC
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    light of their duty to render an enforceable award, as well as the supervisory role of EU courts
    in annulment and enforcement proceedings of an arbitral award.

    Article 28(2) of the UNCITRAL Model Law on International Commercial Arbitration13,
    stipulates that “ the arbitral tribunal shall apply the law determined by the conflict of laws
    rules which it considers applicable.” National arbitration laws empower arbitrators to apply
    directly the law (or rules of law) they deem appropriate.

    Statement 2.2.2 Isolas:


                            2.2.2. subject to that arbitration clause, that the courts of Gibraltar
                                   should have exclusive jurisdiction to determine any dispute (even
                                   if non-contractual) under Gibraltar law: clause 22.9.


    Answer:
    We refer to our input on statement 2.1 and 2.2. of this letter (above). Furthermore, 18.7 of the
    Early Contribution Agreement, which strengthens our interpretation of Rome I.
    Moreover, besides the above we fail to see the mentioning of Gibraltar as jurisdiction in
    relation to the agreement between Mark Levin and RSK Labs Limited. The jurisdiction
    mentioned in this agreement is New York (the United States of America) law and not
    Gibraltar.
    Statement 2.3 Isolas:
    2.3 For any one of the above reasons it is therefore inconceivable that any court would accept
        jurisdiction except as specified in paragraph 2.2.2 above.

    Answer:
    We fail to see a legal basis for this position based on EU law and CJEU case law. As
    described in this letter under statement 2.1 and 2.2 (above) we feel comfortable that a Dutch
    court would accept our position that the governing jurisdiction is The Netherlands based on
    the EU law described there (2.1 and 2.2).
    Statement 3.1 Isolas
    3.1 You have wholly failed to specify the parties to and material provisions of any agreement
    or agreements with our Clients and the breaches alleged, or to specify breach or breaches of
    some other specified obligation or obligations of our Clients.

    Answer:
    We invite you the read:
         1. our letter of February 18, 2021, including attachments:


    13
     1985-UNCITRAL-Model-Law-on-International-Commercial-Arbitration.pdf (iaa-network.com) 2006-
    UNCITRAL-Model-Law-on-International-Commercial-Arbitration.pdf (iaa-network.com)
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               o Attachment I – relevant information for the year 2017, which includes the
                 agreement between Mark Levin and RSK Labs Limited (based on New York
                 law), promotional material shared by RSK Labs Limited and other legal
                 documents stating investors of the unregistered securities sold to them by RSK
                 Labs.
               o Attachment II – relevant information for the year 2018, which includes several
                 agreements in relation to the RSK Labs Limited, Ginger Technologies, and
                 email correspondence.
               o Attachment III – relevant emails 2018, which includes email correspondence
                 between Mark Levin, RSK Labs Limited, and lawyers including Isolas.
               o Attachment IV – overview of communication by the RSK Labs Limited and
                 RIF Labs Limited executives in a smear campaign against ‘Megalodon’.
               o Attachment V – Letter Alex to the public, which includes an email sent by
                 Alejandro Aberg Kobo to the public.
    Based on our letter and information provided, we are of the opinion that we clearly identified
    and substantiated on our position and evidence in our letters of February 18, 2021 and March
    16, 2021, including our evidence provided attachments.
    Second half Statement 3.1 Isolas
    3.1    ‘In truth our Clients have not committed any such breaches, tacit admission of which
           we take from your failure to identifyany such breaches.’
    Answer:
    We do not agree with the position taken and consider this an Argumentum ad Ignorantiam.
    We feel comfortable with the position described by us in this letter and in our letters of
    February 18, 2021 and March 16, 2021, including our evidence provided attachments.


    Statement 3.2 Isolas:
    3.2    Whilst you state your cause of action to be ‘quantum meruit’ you do so without alleging
           any facts upon which such a cause of action against our Clients might be based, let
           alone how you allege that our Client have been unjustly enriched at anyone else’s
           expense.

    Answer:
    Further substantiation of Claimants legal claims and committed breaches and violations
    by RSK/RIF/IOV Labs and its Directors and Officers in addition to our letters of
    February 18, 2021 and March 16, 2021:
    RSK/RIF/IOV Labs and its Directors and Officers are liable for disgorgement.
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    RSK/RIF/IOV Labs conducted a fraudulent unregistered securities offering. RSK/RIF/IOV
    Labs repeatedly lied to investors in connection with its offering, including misrepresentations
    about purported partnerships, like EtherParty14.
    In 2017, Vanbex reportedly launched its cryptocurrency Etherparty (FUEL), a token that was
    purportedly designed to provide an ecosystem for the company’s smart contracts system,
    promising investors massive returns. In a FUEL pre-sale, Hobbs and Cheng reportedly raised
    more than 30 million Canadian dollars ($22 million), which was allegedly accompanied by a
    sudden acquisition of substantial wealth by both founders, the document notes.15
    The firm, which was interchangeably called Vanbex and Etherparty, was actually a shell
    company that developed no useable products, the court document argues.
    The Director of Engineering of EtherParty had no engineers to direct, despite their having
    existed for several years prior. He also found it a tad odd that he didn’t had a computer. There
    were no engineering notes, no product, nothing. Just the CEO’s power point slides and his
    MBA buzz words.
    RSK press-release quote16:
    RSK is the first open-source smart contract platform that allows Bitcoin users and miners to
    be players in the smart contract movement. The South American company is well positioned
    in the global ecosystem, and is strongly aligned with Etherparty's values. "We are putting
    blockchain technology at the service of social transformation to build a more flexible and
    inclusive financial system that will improve the life of millions of people," said RSK Head of
    Business Development, Henry Sraigman, "We are confident that education plays a key role in
    making it happen and we're glad to partner with Etherparty, an industry leader company that
    shares our vision."

    The police have frozen two accounts of EtherParty/Vanbex co-founder Hobbs and seized the
    founders’ two new Land Rovers, as well as ordered the founders not to sell, borrow or
    damage their Vancouver condominium for at least 30 days or until a further order from the
    court.
    In 2017, Vanbex reportedly launched its cryptocurrency Etherparty (FUEL), a token that was
    purportedly designed to provide an ecosystem for the company’s smart contracts system,
    promising investors massive returns. In a FUEL pre-sale, Hobbs and Cheng reportedly raised
    more than 30 million Canadian dollars ($22 million), which was allegedly accompanied by a
    sudden acquisition of substantial wealth by both founders, the document notes.17
    The Vancouver Sun has also reported on Hobbs’ alleged criminal history.18

    14
       https://www.prnewswire.co.uk/news-releases/etherparty--rsk-partnership-fuels-future-adoption-of-smart-
    contract-technology-665645863.html
    15
       https://cointelegraph.com/news/canadian-police-freezes-assets-of-fuel-token-issuers-due-to-alleged-22-
    million-fraud
    16
       https://www.prnewswire.co.uk/news-releases/etherparty--rsk-partnership-fuels-future-adoption-of-smart-
    contract-technology-665645863.html
    17
       https://cointelegraph.com/news/canadian-police-freezes-assets-of-fuel-token-issuers-due-to-alleged-22-
    million-fraud
    18
       https://vancouversun.com/business/local-business/civil-forfeiture-office-seeks-assets-linked-to-alleged-30-
    million-cryptocurrency-scam
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    In 2005, he was reportedly caught in a New York hotel room in possession of 45 pounds of
    marijuana and $178,000 USD in cash.
    As well:
    “In 2008, Hobbs was convicted in Nova Scotia of possession of property obtained by crime
    and money laundering, a result of being found with $32,000 in a suitcase before boarding a
    flight to Vancouver…(and was later) convicted in Nova Scotia for drug trafficking and
    unlawfully producing marijuana. He received a 30-month sentence.”
    According to BIV, in the class action filed August 26th, “the plaintiffs are seeking general and
    punitive damages as well as restitution for benefits received by the defendants from the sale of
    the Fuel token and a declaration that Vanbex broke the securities act.”
    Moreover, RSK/RIF/IOV Labs founders misinformed investors and misrepresented during
    their capital raise, e.g. stating that a Series A of RSK Labs Limited would be conducted
    within 6 months after the capital raise, untrue information about Cactus Technologies LLP,
    and false financial projections. We have included a detailed overview of the alleged
    misinformation and misrepresentation in our letter of February 18, 2021 and its attachments.
    Theft and Misappropriation of crypto assets by RSK/RIF/IOV Labs and its Directors
    and Officers and Claimants can apply for a worldwide freezing injunction.
    In Vorotyntseva v Money-4 Ltd 19, Mr Justice Birss granted a freezing injunction against
    Nebus, a cryptocurrency trading company, and its directors. Ms Vorotyntseva, who wished to
    test Nebus’s trading platform, had deposited significant quantities of Bitcoin and Ethereum
    cryptocurrency, worth about £1.5 million with the company. When Ms Vorotyntseva became
    concerned with the company’s operations and, having voiced her concerns, received no
    credible response from the management, she promptly applied for a worldwide freezing
    injunction. On the evidence adduced, the court concluded that there was a real risk of assets
    being dissipated and granted a freezing order against the company and its directors. In the
    case, it was not argued that cryptocurrency did not constitute, in law, “property”.
    In Robertson v Persons unknown20, Mrs Justice Moulder granted an asset preservation order
    in respect of cryptocurrency, worth about £1 million at the time, on the coin exchange,
    Coinbase UK Ltd, holding that there was a serious issue to be tried concerning a proprietary
    claim.
    In AA v Persons Unknown [2019] EWHC 3556 (Comm), on 19 January 2020 Mr Justice
    Bryan specifically held, on a without notice application, that cryptoassets were “property” for
    the purposes of granting proprietary or freezing injunctive relief.
    The Applicant sought a proprietary injunction against the First to Fourth Defendants, as well
    as ancillary disclosure orders against the Third and Fourth defendants, to require them to
    verify the identities of the customers who held the Bitcoin wallets in question (i.e. the First
    and Second Defendants). For the purpose of the application, which Mr Justice Bryan agreed
    should be heard in private and on a without notice basis (insofar as the First and Second
    19
       Elena Vorotyntseva v Money-4 Limited t/a Nebeus.Com, Sergey Romanovskiy, Konstantin Zaripov [2018]
    EWHC 2596 (Ch)
    20
       https://www.allenovery.com/en-gb/global/news-and-insights/publications/english-court-grants-asset-
    preservation-order-over-bitcoin
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    Defendants were concerned), an anonymity order was sought and granted to protect the
    identities of both the Insured and the Applicant. The Judge granted the Orders as sought, and
    permitted alternative service of the order, by email, on the Third and Fourth Defendants in the
    British Virgin Islands.
    Shortly before the decision in AA v Persons Unknown (above), in November 2019 the UK
    Jurisdiction Taskforce (“UKJT”) had produced a Legal Statement on Cryptoassets and Smart
    Contracts. The UKJT is chaired by Sir Geoffrey Vos, Chancellor. The Legal Statement
    provides an authoritative, albeit not binding, analysis.
    Nonetheless, Mr Justice Bryan referred to the Legal Statement as being an accurate exposition
    of English law in AA v Persons Unknown (above) and said that he considered that crypto
    assets such as Bitcoin are “property”. They meet the four criteria set out in Lord
    Wilberforce’s classic definition of “property” in National Provincial Bank v Ainsworth [1965]
    AC 1175 as being: (i) definable, (ii) identifiable by third parties, (iii) capable in their nature of
    assumption by third parties, and (iv) having some degree of permanence.
    That too, was the conclusion of the Singapore International Commercial Court in B2C2 Ltd v
    Quoine PTC Ltd [2019] SGHC (I) 03, and which was followed on appeal [2020] SGCA(I) 02
    at [144], in which it was held that that cryptocurrencies fulfilled Lord Wilberforce’s classic
    definition, so as to amount to “property” in a generic sense.
    More recently still, in Ruscoe v Cryptopia Ltd (in liq) [2020] NZHC 728, the High Court of
    New Zealand held, after full argument, that digital assets of a cryptocurrency exchange
    constituted “property” and (in that case) were held on trusts for accountholders on that
    exchange.
    In Robertson v Persons Unknown (above), Mrs Justice Moulder relied upon an analysis
    provided by a specialist company which is a provider of software to track payment of crypto
    currency. That analysis tracked 80 Bitcoin to a wallet/account/address held by a crypto
    currency or coin exchange called “Coinbase”.
    In theory, the tracing of crypto assets ought to be possible, given that the apparently
    transparent nature of the blockchain system means that anyone can obtain a copy of every
    transaction of that particular cryptocurrency by downloading the blockchain. To assist the
    application for injunctive relief in court, there are “block explorers” by which an applicant can
    obtain information about cryptocurrency addresses and transactions. This means that an
    applicant should be able to trace cryptocurrencies from one address to another in
    permissionless systems, although the position will of course be different in permissioned
    ones.21
    Freezing Injunction

    The Supreme Court of Gibraltar has the power to order Freezing Injunctions against the assets
    of a party who is domiciled, resident or present within the Court’s jurisdiction. There is also
    power to issue such orders even where the party is not domiciled, resident or present as such –



    21
      Cryptoassets - Obtaining English Freezing and Proprietary Injunctions in Relation to Cyberfraud | Littleton
    Chambers
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    for example, where there are foreign proceedings and assets kept within Gibraltar’s
    jurisdiction.

    Practice Direction 25 to the Civil Procedure Rules lays down the standard form of Order for a
    freezing injunction.

    Conflict of Interest by RSK/RIF/IOV Labs and its Directors and Officers 22
    COMPANIES (MODEL MEMORANDA AND ARTICLES) REGULATIONS 2014(LN. 2014/188):

    (1) If a proposed decision of the directors is concerned with an actual or proposed transaction
    or arrangement with the company in which a director is interested, that director is not to be
    counted as participating in the decision-making process for quorum or voting purposes.
    (2) But if paragraph (3) applies, a director who is interested in an actual or proposed
    transaction or arrangement with the company is to be counted as participating in the decision-
    making process for quorum and voting purposes.
    (3)       This paragraph applies when:
    (a)   the company by ordinary resolution disapplies the provision of the articles which
    would otherwise prevent a director from being counted as participating in the decision-
    making process;
    (b)     the director’s interest cannot reasonably be regarded as likely to give rise to a conflict
    of interest; or
    (c)       the director’s conflict of interest arises from a permitted cause.
    (4)       For the purposes of this article, the following are permitted causes–
    (a)    a guarantee given, or to be given, by or to a director in respect of an obligation
    incurred by or on behalf of the company or any of its subsidiaries;
    (b)    subscription, or an agreement to subscribe, for shares or other securities of the
    company or any of its subsidiaries, or to underwrite, sub-underwrite, or guarantee subscription
    for any such shares or securities; and
    (c)     arrangements pursuant to which benefits are made available to employees and
    directors or former employees and directors of the company or any of its subsidiaries which
    do not provide special benefits for directors or former directors.
    (5)    For the purposes of this article, references to proposed decisions and decision-making
    processes include any directors’ meeting or part of a directors’ meeting.
    (6) Subject to paragraph (7), if a question arises at a meeting of directors or of a committee of
    directors as to the right of a director to participate in the meeting (or part of the meeting) for
    voting or quorum purposes, the question may, before the conclusion of the meeting, be
    referred to the chairman whose ruling in relation to any director other than the chairman is to
    be final and conclusive.



    22
         COMPANIES (MODEL MEMORANDA AND ARTICLES) REGULATIONS 2014(LN. 2014/188)
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    (7) If any question as to the right to participate in the meeting (or part of the meeting) should
    arise in respect of the chairman, the question is to be decided by a decision of the directors at
    that meeting, for which purpose the chairman is not to be counted as participating in the
    meeting (or that part of the meeting) for voting or quorum purposes.
    RSK/RIF/IOV Labs and its Directors and Officers did not comply with Gibraltar
    LEGAL SERVICES ACT 201723
    These rules are the Legal Services Act (Code of Conduct and Client Care) Rules 2017. Every
    Lawyer must comply with the rules of conduct and client care for Lawyers set out in the
    Schedule.
    Regarding:
         •   Joseph Peter Garcia, 3 Garden Apartment King's Wharf, Gibraltar, British,
             Lawyer at Isolas LLP and Board Director at RSK/RIF/IOV Labs
    Refusing instructions
    4.1 Good cause to refuse to accept instructions includes a conflict of interest, a lack of
    available time, the instructions falling outside the Lawyer’s normal ﬁeld of practice,
    instructions that could require the Lawyer to breach any professional obligation, and the
    unwillingness or inability of the prospective client to pay the normal fee of the Lawyer
    concerned for the relevant work.
    Conﬂicting interests
    A Lawyer must not act or continue to act if there is a conﬂict or a risk of a conﬂict between
    the interests of the Lawyer and the interests of a client for whom the Lawyer is acting or
    proposing to act.
    5.4.1 Where a Lawyer has an interest that touches on the matter in respect of which legal
    services are required, the existence of that interest must be disclosed to the client or
    prospective client irrespective of whether a conﬂict exists.
    5.4.2 A Lawyer must not act for a client in any transaction in which the Lawyer has an
    interest unless the matter is not contentious and the interests of the Lawyer and the client
    correspond in all respects.
    5.4.3 A Lawyer must not enter into any ﬁnancial, business, or property transaction or
    relationship with a client if there is a possibility of the relationship of conﬁdence and trust
    between Lawyer and client being compromised.
    5.4.4 A Lawyer who enters into any ﬁnancial, business, or property transaction or
    relationship with a client must advise the client of the right to receive independent advice in
    respect of the matter and explain to the client that should a conﬂict of interest arise the




    23
      Gibraltar LEGAL SERVICES ACT 2017 Pursuant to s16 of the Legal Services Act the LSRA with the
    approval of the Chief Justice and the Law Council
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    Lawyer must cease to act for the client on the matter and, without the client’s informed
    consent, on any other matters. This rule 5.4.4 does not apply where:
    (a)       the client and the Lawyer have a close personal relationship; or
    (b)   the transaction is a contract for the supply by the client of goods or services in the
    normal course of the client’s business; or
    (c)   a Lawyer subscribes for or otherwise acquires shares in a listed company for which the
    Lawyer’s practice acts.
    5.4.5 In this rule, a Lawyer is deemed to be a party to a transaction if the transaction is
    between entities that are related to the Lawyer by control (including a trusteeship,
    directorship, or the holding of a power of attorney) or ownership (including a shareholding),
    or between par- ties with whom the Lawyer or client has a close personal relationship.
    Conﬂicting business interests
    5.5 A Lawyer must not engage in a business or professional activity other than the practice of
    law where the business or professional activity would or could reasonably be expected to
    compromise the discharge of the Lawyer’s professional obligations.
    5.5.1 Where a Lawyer or the Lawyer’s practice provides, or intends to provide to clients,
    services other than regulated services, the services must:
    (a)       be associated with the provision of legal services; and
    (b)   be provided by the Lawyer or the Lawyer’s practice or by an entity in which the
    Lawyer or the Lawyer’s practice has a controlling interest.
    Unfair Prejudice by RSK/RIF/IOV Labs Directors and Officers under Gibraltar Law.
    RSK/RIF/IOV Labs company’s affairs are being or have been conducted in an unfairly
    prejudicial manner (This creates a statutory remedy in Gibraltar law under sections 145- 150
    of the Act).24
    The Act has introduced protection to minority shareholders. A shareholder of a company may
    apply to the court by petition for an order that (i) the company’s affairs are being or have been
    conducted in a manner that is unfairly prejudicial to the interests of some or all of its
    shareholders or (ii) that an actual or proposed act or omission of the company is or would be
    so prejudicial.
    The court, if it feels that the petition is well-founded, may make an order granting relief in
    respect of the matters complained of. Such relief could include but would not be limited to (i)
    regulating the conduct of the company’s future affairs; (ii) require the company to refrain
    from continuing an act or to omit from doing an act complained of; (iii) authorise civil
    proceedings to be brought in the name and on behalf of the company; (iv) stop the company
    from altering its articles except with the leave of the court; and (v) provide for the purchase of
    the shares of any shareholders of the company by other shareholders or by the company itself.



    24
         https://www.gibraltarlawyers.com/uploads/PDF/GibraltarPrivateLimitedCompanyHandbook.pdf
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    The provisions apply equally to a person who is not a shareholder of a company but to whom
    shares in the company have been transferred or transmitted by operation of law.
    Liability of RSK/RIF/IOV Labs Directors and Officers under Gibraltar Law.
    A company is no longer prevented from purchasing and maintaining insurance against
    liability and third party indemnities are allowed (Section 231 of the Act).
    The previous Act provided that any provision in the articles of the company, in any contract
    with the company, or otherwise, exempting any director, manager or officer or auditor of the
    company, or indemnifying him against any liability which would otherwise attach to him in
    respect of any negligence, default, breach of duty or breach of trust of which he may be guilty
    in relation to the company, is void. The Act now clarifies that only indemnities provided by
    the company itself are void and further allows a company to purchase insurance for the
    director of the company.
    Promissory and equitable estoppel by RSK/RIF/IOV Labs and its Directors and
    Officers.
    Claimants can bring a claim based on her reasonable reliance on the defendant’s words or
    actions, where the Claimants actually suffers an injury based on that reasonable reliance. So,
    anytime when RSK/RIF/IOV Labs and its Directors and Officers were making certain false
    claims (proprietary estoppel and promissory estoppel, with reference to our letter of February
    18, 2021) and putative Claimants took action in their reasonable reliance on those claims to
    their detriment, they have a viable cause of action. Similarly, every time RSK/RIF/IOV Labs
    and its Directors and Officers were to collude with the intent of causing injury that, too, can
    become the basis for a lawsuit, and possibly criminal prosecution.

    Generally, fiduciaries provide highly specialized services and are empowered by a principal
    that engages them to act with discretion on their behalf. They must perform their services with
    diligence and never place their own interests above that of the principal. These exacting
    obligations are required because of the inherent risk that fiduciaries could abuse the power
    bestowed upon them, coupled with the principal’s inability to protect against the risk of such
    abuse.

    A court could decide to expand the role of fiduciary to include RSK/RIF/IOV Labs protocol
    developers based on the specific facts of the case, particularly if the injuries were severe, the
    parties impacted were close to home, or the defendants had somehow benefited substantially
    from the breach.

    Responsibilities of RSK/RIF/IOV Labs and its Directors and Officers
    RSK/RIF/IOV Labs directors ignored their obligations as directors and their conduct fell well
    below that which was required of them.
    Directors are required to exercise care, skill and diligence in the performance of their duties.
    Directors’ duties that form part of Gibraltar law, including that:
    • Directors have, both collectively and individually, a continuing duty to acquire and maintain
    a sufficient knowledge and understanding of the company’s business to enable them properly
    to discharge their duties as directors; and
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    • While directors are entitled (subject to the articles of association of the company) to delegate
    particular functions to those below them in the management chain, and to trust their
    competence and integrity to a reasonable extent, the exercise of the power of delegation does
    not absolve directors of their duty to supervise the discharge of the delegated functions.
    A dual subjective/ objective test relating to the duty to exercise reasonable care, skill and
    diligence was codified in England through the enactment of section 174(2) of the English
    Companies Act 2006. Gibraltar law does not have an equivalent. However, the Corporate
    Governance Code for Gibraltar Collective Investment Schemes issued by the Gibraltar Funds
    & Investments Association25 , although of voluntary application, imposes a dual test and this
    underpins not only the view of the industry on this matter but also that of the FSC, concerning
    the proper operation and governance of a company.
    The FSC and its chief executive officer being likely better placed than the Court to determine
    what measures are necessary in order to protect the good reputation of Gibraltar, to protect
    consumers and to reduce financial crime, as well as pursuing the other regulatory objectives
    of the FSC.
    The Brian Weal v Financial Services Commission Case (Claim No 2015 W No 002):
    The Court endorsed the suggestion that deterrence of other directors from failing to monitor
    the activities of companies on whose boards they sit, is a justifiable regulatory consideration
    when imposing sanctions. The Court went further and confirmed that it would have upheld the
    imposition of even stiffer sanctions on Mr. Weal, had the chief executive officer of the FSC
    so determined. This was the case notwithstanding that the Court in its judgment, found that
    Mr. Weal’s involvement in the matters complained of was less than that of Mrs. Compson,
    that he was not a property expert and that he was not present at a specific board meeting
    where the approval was given to acquire certain special purpose vehicles which held land and
    notably, that no investor had lost money even presumptively from his action. The Court,
    having indicated that the imposition of stiffer sanctions for Mr. Weal would have been
    supported, makes it clear that whilst the Court is willing to consider the actions of individual
    directing minds of an investment company, it will not be sympathetic towards a director who
    has seriously breached his/her duties, irrespective of specific involvement nor will it be a
    defence that a director has held office for a short period of time. New directors should
    therefore ensure that they acquire key information when they are first appointed and that they
    are well versed with the investment fund’s history and any major events affecting the
    investment fund. A comprehensive and formal induction should be provided so that a new
    director is provided with the information he/she will need to become as effective as possible
    in their role within the shortest practicable time.
    Directors’ duties under the Gibraltar Companies Act 2014:
    Directors must strive to ensure that their role does not become a “tick-box” function and that
    they are fulfilling their high-level supervisory role.
    Directors must continually take active steps and apply their own judgement to satisfy
    themselves that the company’s business is undertaken properly. It does not matter that the
    directors may have used their powers of delegation to delegate certain functions to other

    25
         https://www.gfia.gi/s/Code-of-Conduct-Gibraltar-Collective-Investment-Schemes-300513.pdf
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    directors. The fundamental duties owed by a director remain undiminished and directors must
    satisfy themselves that the director who is performing a delegated function are compliant.
    This includes ensuring that any professional service providers appointed by such director are
    performing their functions in accordance with their contractual obligations.
    Directors' duties are not enshrined in statue under the Law. Accordingly, they are derived
    from the common law and these include:
    • To act honestly and in good faith.
    • To act in the best interest of the company.
    • To exercise reasonable care, skill and attention.
    • To exercise independent judgment.
    • To use the powers granted to the director for the purposes for which they were conferred and
    in conformity with the rules contained in the Articles and within the powers of the company
    contained in the memorandum.
    • Not to make a personal secret profit (unless authorised).
    • To avoid conflicts of interest with the company.
    Under the Gibraltar Companies Act 2014, the RSK/RIF/IOV Labs directors collectively have
    a duty to ensure that the annual accounts, the directors' report and, where applicable, the
    corporate governance statement are drawn up and filed with the Registrar of Companies.
    Where a conflict of interest arises, a director must declare that conflict (or potential conflict)
    to the rest of the board of directors. At common law, if a director allows his personal interests
    or his duties to another person to conflict with his duty to the company then, unless the
    company has a mechanism under which it can consent to the conflict, the company can avoid
    any relevant contract. Accordingly, most directors excuse themselves from board meetings
    where such conflicts may arise or abstain from participating in decisions relating to matters
    where a potential conflict arises.
    Misappropriation of corporate assets by RSK/RIF/IOV Labs and its Directors and
    Officers
    Where a director or officer of RSK/RIF/IOV Labs has misappropriated corporate assets (for
    example, by misapplying money) or has been guilty of any misfeasance or breach of any
    fiduciary or other duty in relation to the company, then that officer or director could be
    ordered to:
    • Repay, restore or account for the money or other assets, or any part of it.
    • Compensate the company for any misfeasance or breach of duty in such amount as the court
    considers just.
    • Pay interest to the company at such rate as the court considers just (section 258, IA 2011).
    • Fraudulent Conduct. A person that is or has been an officer of the company is deemed to
    have committed an offence if, at any time while an officer or during the 12 months preceding
    the commencement of the liquidation, he has:
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     • made or caused to be made any gift or transfer of, or charge on, or has caused, permitted or
    acquiesced in the levying of any execution against the company's assets;
    • has concealed or removed any of the company's assets since, or within, 60 days of the date
    of any unsatisfied judgment or order for the payment of money obtained against the company
    (section 263, IA 2011)
    a director could (subject to any defences of illegality) be exposed to the following civil
    claims:
    • Damages for negligence. This cause of action is based on a breach of duty of care in not
    exercising its services to the company with reasonable degree of skill and care.
    • Restitution in equity. If the director breached his fiduciary duties, then the company (and
    even shareholders in specific circumstances) could claim restitution against the director. That
    is he would be compelled to restore the misapplied or misappropriated money or assets.
    His criminal liabilities for any misappropriation of assets could include, for example, charges
    on common law fraud, false accounting or theft.
    After the company's insolvency, the courts could, among other things, order a director to
    restore the misappropriated property (section 253, Insolvency Act 2011). The remedy of
    restoration (or compensatory relief) is available for any contravention of voidable transaction
    provisions or malpractice (that is, unfair preferences, transactions at an undervalue, voidable
    floating charges and extortionate credit transactions). The directors could also face
    disqualification orders and undertakings providing that the application for disqualification is
    filed by the official receiver within six years from the date that the company concerned
    became insolvent. As for criminal liability, a person that contravenes a malpractice provision
    (for example, fraudulent conduct) could face, on summary conviction, a custodial term for 12
    months or a fine of GB5,000, or both. On conviction on indictment, a person could face a
    custodial term for five years or a fine of GB10,000 or both.).
    Insurance
    Directors and officers (D&O) policies generally provide cover for negligence claims
    negligence (breach to perform duties with reasonable care and skill). Insurers do not typically
    give protection in cases of fraud, dishonesty or criminal liabilities.
    Negligence by RSK/RIF/IOV Labs and its Directors and Officers
    “There is a negligence liability only if the Claimants can show that the tortfeasor fell short of
    the degree of care expected of the ‘reasonable person.’ Only the lack of care amounts to a
    breach of a duty owed to the claimant will give rise to liability in negligence.”26
    Another important requirement for the tort of negligence is material damages or the
    claimant’s loss caused by the behaviour of the tortfeasor. Moreover, the damages need to be
    “attributable to – or not too remote from – the defendant’s breach of duty.”27




    26
         Jenny Steele, Tort Law: Text, Cases, and Materials (Oxford: Oxford University Press, 2017), 113.
    27
         Ibid, 113-114.
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    It is considered as everyone’s responsibility to not cause damage to others through
    carelessness.28 It almost corresponds to a moral principle – do not harm your neighbour.29 A
    person should take reasonable care for acts or omissions of such when a person can
    reasonably foresee that his behaviour could bring harm to others. The potentially injured
    parties are usually those who can be closely and directly affected by tortfeasor’s behaviour
    and he knows it or should know.
    an additional ‘three-stage-test” consisting of foreseeability, fairness, and proximity criteria
    were set out in the Caparo v. Dickman case30.
    RSK/RIF/IOV Labs Directors and Officers owe the duty of care to its
    investors/shareholders/users/token holders due to the following reasons:
    The proximity between a RSK/RIF/IOV Labs and its investors exists due to contractual
    relations between them. Donoghue v. Stevenson (“neighbourhood test”), as well as Anns v
    Merton London Borough Council31 case, mention the proximity as the reasonable belief that
    carelessness of the wrongdoer could likely cause damage to a particular person or a group of
    individuals or/and companies. Actions or omission of such made by RSK/RIF/IOV Labs
    Directors and Officers can harm its investors because the later invested under false pretences.
    Not all but a lot of negative consequences can be foreseen by the Directors and Officers of
    RSK/RIF/IOV Labs. It would be fair and reasonable decision to admit that duty of care exists
    and RSK/RIF/IOV Labs is liable for its investors’ losses because the later ones do not have
    control over the course of business, management decisions, or platform enhancement by the
    platforms runners’ programmers.
    Breach of duty of care by RSK/RIF/IOV Labs and its Directors and Officers
    The breach of duty of care occurs when one party behaving in an unreasonable manner case
    foreseeable damages to the other.
    Usually, the test of ‘reasonable person’ is used in the evaluation of defendants’ behaviour.
    However, if we take into consideration the actors of RSK/RIF/IOV Labs (Directors and
    Officers) it is clear that this test is not sufficient because involved people almost always have
    special and even professional knowledge or skills.
    A test of ‘the ordinary skilled person in the same area’ first mentioned in Bolam v Friern
    Hospital Management Committee32 should apply.
    Cases relating to medical negligence can be applied by analogy to cryptocurrency-related
    claims. J. Steele writes about two concerns in such disputes: what is the correct approach to
    the standard of care in respect of activities which require special skills? How the court will

    28
       "Duty of Care Lecture," LawTeacher.net, Accessed 1 April 2020, https://www.lawteacher.net/modules/tort-
    law/negligence/duty-of-care/lecture.php
    29
       Donoghue v Stevenson [1932] UKHL 100 (26 May 1932), https://www.uni
    trier.de/fileadmin/fb5/FFA/KURSUNTERLAGEN/Anglo-Amerikanisches_Recht/Law_of_Torts/Siry-SS-
    2012/Donoghue_v_Stevenson__1932__UKHL_100__26_May_1932_.pdf
    30
       Jenny Steele, Tort Law: Text, Cases, and Materials (Oxford: Oxford University Press, 2017), 115, 165-166.
    31
       Anns v. Merton London Borough Council [1978] AC 728, http://www.e-lawresources.co.uk/cases/Anns-v-
    Merton-London-Borough-Council.php
    32
       Jenny Steele, Tort Law: Text, Cases, and Materials (Oxford: Oxford University Press, 2017), 129.
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    deal with different opinions among practitioners regarding correctness and reasonableness of
    the defendant’s actions? The ‘Bolam test’, however, criticized by some scientists and judges,
    answers these questions: the defendant “is not guilty of negligence if he has acted in
    accordance with a practice accepted as proper by a reasonable body of medical men skilled in
    that particular art.”33 Simply, when a medical professional states that he would behave as the
    defendant did then the defendant highly possible would escape liability. The diverging
    approach is shown later in the Bolitho v City and Hackney Health Authority34: a judge may
    hold that opinion of a particular professional is not reasonable.
    Medical negligence cases may be of some help with cryptocurrency platforms and
    cryptocurrency directors negligence claims analysis, there is a substantial and troubling
    difference between two spheres: a lot of medical standards and instructions exist, there are
    regulatory bodies over medical practitioners; there is no such thing in the cryptocurrency
    sphere. Therefore, when judges analyse the defendant’s behaviour the judgment may be fully
    based on the subjective opinion of another director.
    The Fabian v. LeMahieu35 case is an example of a class action brought by J. Fabian against
    multiple defendants with multiple claims including negligence claim. The plaintiff alleged
    that a cryptocurrency platform Nano, its developers, and the marketing team, a cryptocurrency
    exchange BitGrail located in Italy and its principles were liable for cryptocurrency theft on
    BitGraile.
    Similarly to corpus delicti (mens rea and actus reus) in criminal law, it should be proved in
    court that several criteria are met regarding a delict to make a person liable for the damage.
    Breach of statutory duty by RSK/RIF/IOV Labs and its Directors and Officers
    Because RSK/RIF/IOV Labs tokens/assets/securities/activities falls under the definition of the
    financial instrument, RSK/RIF/IOV Labs should comply with the European Market
    Infrastructure Regulation (“EMIR“), Markets in Financial Instruments Regulation (“MiFIR“),
    and Markets in Financial Instruments Directive (MiFID II) and FATCA and CRS
    frameworks.
    Policymaker intended that such breach of duty would be civilly actionable.36 Legislation that
    protects investors in cryptocurrency and regulations intended to protect investors and users of
    cryptocurrency (consumers). There is a growing tendency in the US to bring to court violators
    of the Securities Act and the Securities Exchange Act who happen to be involved with
    cryptocurrency. American authorities are also inclined to consider ICOs as securities public
    offering. Therefore, many crypto actors should comply with registration and licensing
    requirements in the US and most of them, like RSK/RIF/IOV Labs, fail to do so.
    The Roche Cyrulnik Freedman, representing Chase Williams, Alexander Clifford, and Eric
    Lee37, claimed that each company publicly sells or helps in selling unregistered securities as
    tokens through crypto exchanges in the form of initial exchange offers or ICOs. The involved

    33
       Ibid.
    34
       Ibid, 130-132.
    35
       Fabian v. LeMahieu [2019], CASE NO. 19-cv-00054-YGR
    36
       Nicholas J McBride, Roderick Bagshaw, “Breach of Statutory Duty,” Tort Law (Harlow: Pearson Education
    Limited, 2018), https://books.google.com.ua/books?id=l71dDwAAQBAJ
    37
       Jeff Fawkes, “Lawsuits Filed against Binance, Block.one, BitMEX and Other Crypto-Related Companies,”
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    defendants presented utility tokens for sale that were unregistered securities.38 Investors in
    such utility tokens were promised new benefits and these promises were never fulfilled.
    One peculiar case relating to consumer protection law violation is a class action case
    Gevorkyan v. Bitmain Inc. et al.39 The company and other Chinese defendants were accused
    of unauthorized mining by Bitmain at its clients’ expanse, unjust enrichment, unfair business
    practices, and false advertisement.


    Statement 3.3 Isolas:


    3.3       You have again failed to take into account that the applicable Early Contribution
              Agreement with Megalodon Capital Management BV, Mark Levin and Kerem Turetgen
              expressly:


    Answer:
    In general, you fail to comment on the agreements signed between Mark Levin and RSK Labs
    Limited, which clearly state the following in the recitals of the Sale Purchase Agreement
    signed by Mark Levin:
              WHEREAS, the Company has authorized the sale and issuance of an aggregate of
              1,760,643 shares of its Series Seed-1 Preferred Shares, Series Seed-2 Preferred
              Shares and Series Seed Preferred Shares (jointly, the “Shares”);
              WHEREAS, Purchasers desire to purchase the Shares on the terms and conditions set
              forth herein; and
              WHEREAS, the Company desires to issue and sell the Shares to Purchasers on the
              terms and conditions set forth herein.
    Based on the above we take the position that RSK Labs Limited has sold unregistered
    securities in the United States of America, these unregistered securities are in our view
    economically linked with the RIF Labs Limited unregistered securities sale (for a description
    of our position on this we refer to our letters of February 18, 2021 and 16 March, 2021,
    including our evidence provided attachments).
    In relation to the RIF Labs token sale we would like to note that the introduction and
    background statement of the ECA states the following:
         RIF LABS Limited (the “Company”) shall be conducting a smart contract based
         private contribution campaign (“Token Sale”) for the purpose of raising capital that
         it will deploy on researching, developing and promoting the RIFOS Protocols (as
         defined below) and to meet various other operating expenses relating to such
         activities.


    38
       Drbyos, “Simultaneous class action lawsuits filed against 11 bitcoin companies,” World Today News
    https://world-today-news.com/simultaneous-class-action-lawsuits-filed-against-11-bitcoin-companies/
    39
       Gevorkyan v. Bitmain Inc. et al., Case 5:18-cv-07004
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      In return for a contribution to the Company during the Token Sale, Contributors shall
      receive a cryptographic RIF token (“RIF”) issued by the Smart Contract System (as
      such term is defined in clause 4.1 of the General T&Cs).

      This Early Contribution Agreement (“Agreement”) sets out the terms and conditions
      on which the Company agrees to accept, and you agree to make a contribution for the
      purchase of RIF.


    The ECA is referring to ‘raising capital’ which by default means obtaining capital from
    investors. It is further stated that ‘in return for a contribution to the company during the token
    sale, contributors shall receive a cryptographic RIF token’. At the time of contribution made
    to RIF Labs Limited the RIF token promised to investors was (1) not available / created and
    (2) RIF token had not utility at that moment. Hence, the capital raise by RIF Labs Limited
    was pure speculation (and still is) for investors. We invite you to read our letters of February
    18, 2021 and 16 March, 2021, including our evidence provided attachments, in which we
    include our view on the qualification of RIF tokens.
    Moreover, in your letter you are referring to the disclaimer of the ECA, which states the
    following:
      ‘Neither this Agreement nor the Project Documentation constitute a prospectus or
      offering document, and are not an offer to sell, nor the solicitation of an offer to buy
      any investment or financial instrument in any jurisdiction. RIF should not be acquired
      for speculative or investment purposes with the expectation of making a profit on
      immediate or future re-sale.’
    The statement that made this agreement is not an offer to buy any investment of financial
    instrument in any jurisdiction is in our view false and misleading. In this regard:
       1. The sale of securities by RSK Labs Limited is by definition selling of securities,
          as this is clearly stated in the agreement signed with Mark Levin. Moreover,
          these are unregistered securities, for which no so called Reg D form has been
          filed with the SEC, and thus, are in immediate violation with the US Securities
          Act.
       2. The RIF token sale qualifies as a security in all jurisdictions it has been offered.
          Since RIF tokens are (1) linked with RSK Labs Limited offering (which include
          US and non-US investors) and (2) have been sold to US and non-US investors,
          the determination on whether or not RIF is a security is:
               o In the United States of America (US) based on the Howey-test, which in
                 brief can be described as an investment contract, transaction or scheme
                 whereby a person invests his money in a common enterprise and is led
                 to expect profits solely from the efforts of the promoter or a third party.
                 We are confident that the SEC and US courts would follow this
                 reasoning in the case of the RIF token sale.
               o In the European Union (EU – non-US) the RIF token sale would i.a. in our
                 view fall within the scope of Directive 2003/71/EC. We are confident that the
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                      EU regulator and courts would follow this reasoning in the case of the RIF
                      token sale. that RSK/RIF/IOV Labs contracts do not comply with the
                      Prospectus Regulation (EU) 2017/1129 of the European parliament and of the
                      council on the prospectus to be published when securities are offered to the
                      public or admitted to trading on a regulated market, and repealing
                      Directive 2003/71/EC.
                     RSK/RIF/IOV Labs fall under the MiFiD II, the AIFMs Directive and be
                     subjected to the Prospectus Directive.40 RSK/RIF/IOV Labs financial products
                     are marketed and sold in breach of the existing securities law (The Prospectus
                     Regulation (n 176) Art. 7).


         No regulatory authority has examined or approved any of the information set out in
         this Agreement and/or the Project Documentation. No such action has been or will be
         taken under the laws, regulatory requirements or rules of any jurisdiction. The
         publication, distribution or dissemination of this Agreement and/or the Project
         Documentation does not imply that applicable laws, regulatory requirements or rules
         have been complied with.’

    In the disclaimer RIF Labs Limited clearly states that no regulatory authority has
    examined the RIF token sale agreement and/or project documentation. Moreover, RIF
    Labs Limited states that the publication, distribution or dissemination of this Agreement
    and/or the Project Documentation does not imply that applicable laws, regulatory
    requirements or rules have been complied with.

    A reference by you to the disclaimer and any other provision in this agreement is in our
    view to be considered as a personal opinion, rather than actual interpretation of rules
    and regulation under (1) the US Securities Act and (2) All relevant EU regulation, i.a.
    MiFID II.

    In this regard we would like to note that the sale agreement of "the biggest of all crypto
    frauds." EOS41 includes similar provision as the RIF Labs Limited agreement:
    EOS Token Sale Agreement states that the EOS Tokens do not have any rights, uses, purpose,
    attributes, functionalities or features, express or implied, including, without limitation, any
    uses, purpose, attributes, functionalities, or features on the EOS Platform; that EOS Tokens
    purchased under this Agreement are not tokens on the EOS Platform. Buyer acknowledges,
    understands and agrees that buyer should not expect and there is no guarantee or
    representation made by Company that buyer will receive any other product, service, rights,
    attributes, functionalities, features or assets of any kind whatsoever, including, without
    limitation, any cryptographic tokens or digital assets now or in the future whether through
    receipt, exchange, conversion, redemption or otherwise; that purchase of EOS token are non-

    40
       ESMA, ‘ESMA alerts firms involved in Initial Coin Offerings (ICOs) to the need to meet relevant regulatory
    requirements’, ESMA50- 157–828, (2017), accessed 23 November 2018
    41
       https://www.prnewswire.com/news-releases/investors-bring-class-action-lawsuit-against-blockone-for-
    biggest-of-all-crypto-frauds--coin-offering-scam-netted-company-billions-301061047.html
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    refundable and purchases cannot be cancelled. Buyers may lose all amounts paid; and that
    EOS may have no value. EOS Purchase Agreement (22 June 2017)42 .
    EOS is still deemed a security by i.a. the SEC.

    In general, we consider the Early Contribution Agreement as misleading and should be
    considered as an unfair contract. We refer to our letters of February 18, 2021 and March 16,
    2021, including the evidence provided attachments.
    Statement 3.3.1 Isolas


    3.3.1   contained a Disclaimer (page 7) by which contributors accepted that RIF Tokens
            should not be acquired for speculative or investment purposes with the expectation of
            making a profit on immediate or future re-sale;

    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.
    Statement 3.3.2. Isolas
    3.3.2. excluded all representations and warranties: clause 14;

    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.
    Statement 3.3.3. Isolas:
    3.3.3. limited any liability to the amount of the relevant contribution: clause 15 (thereby
           excluding any claim for loss of profit on resale of RIF Tokens);

    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.




    42
      https://d340lr3764rrcr.cloudfront.net/purchase agreement/EOS+Token+Purchase+Agreement+-
    +June+22%2C+2017.pdf
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    Statement 3.3.4. Isolas:


    3.3.4. required you to have notified any dispute within 30 days of it arising, which you clearly
           did not do: clause 18.4


    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.
    Statement 3.3.5. Isolas


    3.3.5. contained an entire agreement clause: clause 22.6;
    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.


    Statement 3.3.6. Isolas
    3.3.6. excluded liability for prior representations etc: clause 22.7;

    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including the evidence provided attachments.


    3.3.7. contained acknowledgement that RIF Tokens carried significant financial, regulatory
           and reputational risks, including but not limited to those set out in Schedule 3: clause
           9, as well as other provisions.


    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above and our letters
    of February 18, 2021 and March 16, 2021, including our evidence provided attachments.
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    Statement 4 Isolas
              We invited you to explain any alleged common interest of the various proposed
              Claimants that would entitle them to join as co-Claimants, but you have not given
              any adequate explanation:


    Answer:
    A claimant can bring a bundle of claims in the name of several individual claimants through a
    power of attorney obtained from them. A claimant can also bring a bundle of claims in their
    own name as the owner of claims obtained by assignment. The lawfulness is already
    explained above. Claimants reserve the right, in its sole discretion, how it intends to integrate
    their actions with anticipated events and reactions to achieve the overarching goal of the
    litigation.


    Statement 4.1 Isolas


    4.1    You have not explained how Megalodon Capital Management BV could be a co-
           Claimant when it is an entity in liquidation and which, in any event, has assigned by
           deed the whole of any interest or rights it might have had to Megalodon DMCC, so
           that on any view it has no standing to sue.

    Answer:
    The custodian of Megalodon Capital Management B.V. is Megalodon DMCC. The entity is
    indeed liquidated but will be reactivated by us for a claim against RIF Labs Limited, i.e.
    pursuant to article 23c, book 2 of the Dutch Civil Code. Which article states that an entity can
    which has been liquidated in the past, can be reactivated on request; in case the entity has an
    outstanding receivable.
    In relation to Megalodon DMCC please read our input to point 4.2.


    Statement 4.2 Isolas


    4.2    You have not explained how Megalodon DMCC could be a co-Claimant when it has
           agreed, by way of a deed, to indemnify our Clients against any claim such as the one
           you wish to advance.

    Answer:
    Article 3 of the Deed states:
    3.1    The Assignor and the Assignee shall fully and effectively, indemnify IOV and its
           directors against all claims, liabilities, costs, expenses, damages and losses (including
           reputational damage) that IOV suffers or incurs under or in connection with the
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               assignment of the Contract after the Effective Date, whether it relates directly to the
               Assignee or to the Assignor or to any third parties.
    3.2        The Assignor further agrees to provide IOV with a separate undertaking and
               indemnity, in a form agreed between the parties, in relation to any matters that may
               arise as a result of this assignment.
    The Deed clearly limits the indemnification to the assignment only. It does not indemnify RIF
    Labs Limited in relation to other claims, liabilities, damages and losses for matters NOT
    being the actual assignment (Deed).


    Statement 4.3 Isolas
    4.3 You further have failed to consider that the applicable Early Contribution Agreements with
        Megalodon Capital Management BV, Mark Levin and Kerem Turetgen expressly excluded
        any class or representative action


    Answer:
    We fail to see this position ‘holding’ in court and feel comfortable with continuing a class-
    action lawsuit through a Dutch foundation (as described in our letter of March 16, 2021), in
    specific as the following rules apply in this regard to:
           a. Consumers (Mark Levin and Kerem Turetgen)
    An arbitration agreement that require parties to waive their right to proceed on a class
    action basis can be annulled by the national courts on the grounds that the arbitration
    proceedings were based on arbitration clause as an unfair contract term under the
    Council Directive 93/13/EEC of 05/03/1993 on unfair terms in consumer contracts (see for
    example the European Court of Justice decision in the case Claro v. Móvil or Sebestyen, C-
    342/13)43
    Under the Unfair Terms in Consumer Contracts Regulations 1999, the inclusion of an
    arbitration clause is considered unfair44.
    Moreover, the Netherlands has implemented an “opt-out” system in consumer class-actions.
    The “opt-out” system, which is used in the US, by considering the significant size of the US
    market, grants a right for litigants to initiate lawsuits with extremely large claims. Such claims
    force enterprises to seek settlement, as the risk of loss provides a great danger for the
    company at stake.
           b. Companies (Megalodon Capital Management B.V.)

    In practice, international tribunals when determining the law applicable to the merits of a
    dispute are influenced by the widely-accepted rules contained in those instruments. They
    normally also take into account any overriding mandatory rules and public policy concerns, in
    light of their duty to render an enforceable award, as well as the supervisory role of EU courts
    in annulment and enforcement proceedings of an arbitral award.
    43
         see Directive 93/13/EEC of 05/03/1993
    44
         Mylcrist Builders Limited v Mrs G Buck [2008] EWHC 2172 TCC
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    Article 28(2) of the UNCITRAL Model Law on International Commercial Arbitration45,
    stipulates that “ the arbitral tribunal shall apply the law determined by the conflict of laws
    rules which it considers applicable.” National arbitration laws empower arbitrators to apply
    directly the law (or rules of law) they deem appropriate.


    Statement 5 Isolas
    Finally, we invited you to explain even in general terms the nature of the relief that would be
    sought in a lawsuit against our Clients:


    5.1 We note the table at page 13 of your letter of the 16th March 2021 in which it appears you
    have attempted to set out the relief sought by various claimants against some of our Clients.
    However, you have failed to explain, even in the most general of terms, the basis of these
    claims beyond simply identifying potential defendants and the amounts claimed.


    Answer:
    We consider this an Argumentum ad Ignorantiam. Also please read the above in relation to
    violation of the Securities law in the US and EU (non-US). We further invite you to read our
    letters of February 18, 2021 and March 16, 2021, including our evidence provided
    attachments for a full overview of our position in this regard.


    Statement 5.2 Isolas:
    5.2 Whilst we welcome your clarification that you now only advance claims against IOV Labs
    Limited and RSK Labs Limited, we note that you have failed to set out not only the legal basis
    for these claims (as stated above) but the basis upon which you believe that you are entitled
    to include their directors as defendants.


    Answer:
    Please read the above. We further invite you to read our letters of February 18, 2021 and
    March 16, 2021, including our evidence provided attachments for a full overview of our
    position in this regard.
    Statement 5.3 Isolas:
    5.3 In any event, it is clear that our Client IOV Labs Limited has adhered to the terms of the
    applicable Early Contribution Agreements with Megalodon Capital Management BV, Mark
    Levin and Kerem Turetgen and they have received the contracted amount of RIF Tokens and
    that, in reality no loss has been suffered.



    45
     1985-UNCITRAL-Model-Law-on-International-Commercial-Arbitration.pdf (iaa-network.com) 2006-
    UNCITRAL-Model-Law-on-International-Commercial-Arbitration.pdf (iaa-network.com)
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    Answer:
    We refer to the position described by us in our letter of February 18, 2021, March, 16 2021
    and this letter in relation to the ECA and violations.
    Moreover, in relation to your comment made: ‘in reality no loss has been suffered’ we would
    like to note the following:
    In relation to RSK Labs Limited significant losses have been suffered, i.a., as evidenced by:
       •   Mark Levin invested 22.0761 bitcoin into RSK Labs Limited based on misinformation
           and false promises. His investment:
              o did not lead to the promised series A by RSK Labs Limited;
              o has lost more than 90% of the btc amount invested;
              o he never received an overview of use of proceeds;
              o he never received the excessive capital RSK Labs Limited promised him;
              o he never received any payment from the promised profit split distribution in
                   Ginger Developments.
    In relation to RIF Labs Limited significant losses have been suffered, i.a., as evidenced by:
       •   Mark Levin invested 400 bitcoin into RIF Labs Limited based on misinformation and
           false promises. After his investment;
               o he never received an update on project progress;
               o he never received an overview of use of proceeds;
               o the RIF Tokens has lost more than 90% of its value - calculated based on the
                   bitcoin amount invested;
               o based on the current btc price the RIF tokens are still more than 90% down in a
                   bull market;
       •   Kerem Turetgen invested 50 bitcoin into RIF Labs Limited based on misinformation
           and false promises. After his investment he never received a deliverable of the RIF
           tokens purchased by him.
       •   Megalodon Capital Management B.V. invested 300 bitcoin into RIF Labs Limited
           based on misinformation and false promises. After this investment;
               o it never received an update on project progress;
               o it never received an overview of use of proceeds;
               o the RIF Tokens has lost more than 90% of its value - calculated based on the
                   bitcoin amount invested;
               o based on the current btc price the RIF tokens still are more than 90% down in a
                   bull market.
    RSK Labs Limited and RIF Labs Limited combined raised close to 25,000 bitcoin. The
    approx. value for investors in bitcoin is a loss of 90% of the total value invested.
    In the cryptocurrency markets, there are NO comparable projects which raised an amount at a
    current bitcoin value of approx.. US$ 1,500,000,000, and had such a low market cap as RIF
    Labs Limited.
    Moreover, RIF Labs Limited founders have been calling the community to stay invested in
    the project as believers would be rewarded (we refer to our letter of February 18, 2021 and its
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    attachments); which is a false statement considering the loss suffered by investors (previous
    and current).
    Statement 5.4 Isolas:
    5.4 You have written two letters totalling some 99 pages and yet your only response to our
    invitation to explain even in the most general terms the nature of the claims or relief that would
    be sought in a lawsuit against our Clients is an encouragement for our Clients to negotiate a
    settlement of what, from your letters, is presented as a hopelessly vague and unmeritorious
    claim.

    Answer:
    We assume the above reflects this need. From your answers and from this comment it is clear
    that you have not read the letters and multiple attachments sent by us in detail. The letters
    including the claims and attachments with evidence to our claims far exceeds the 99 pages.
    The letter sent by you on March 31, 2021, clearly shows, you have not read our allegations
    against your clients and evidence provided by us in detail.
    For example, you are referring to an ECA, which (1) is not relevant for the share purchase
    agreement signed under United States Law by Mark Levin and (2) as described in our letter,
    the jurisdiction would be based on EU law, considered to be the Netherlands.
    In your view and your opinion our claims and letters are hopelessly vague and unmeritorious
    claim. In our view, we feel comfortable with the claims and the positions taken by us and
    have a well-documented file.
    As mentioned in our letter of March 16, 2021. In brief, in case we do not reach a settlement,
    the following next steps will be taken:
       •   Reactivation of Megalodon Capital Management B.V. out of liquidation;
       •   Setting up a RSK and RIF claim foundation for filling collective claim in which
           former and previous stakeholders would be invited to join;
       •   The claim would aim for the full amount of the RSK Labs Limited capital raise and
           the RIF Labs Limited capital raise. We would further file a claim on the missed profit
           split on Ginger Developments Limited Development Limited (which would be part of
           the RSK Labs claim). The claims would be:
               o RSK Labs Limited capital raise claim at approx. 800 bitcoin, the key
                   arguments for this claim are described in our letter of February 18, 2021,
                   which includes (but is not limited to) a violation of the US Securities Act.
               o Ginger Developments Limited missed revenue, which was agreed between
                   RSK Labs Limited with all external shareholders who invested in RSK Labs
                   Limited. The agreement stated 40% of the transaction fees of the RSK
                   blockchain. The calculation for this is US$ 0.03 x 100 transactions per second
                   for 2 years (but will need to be determined by an independent auditor) would
                   amount into approx. US$ 189,216,00 of which Ginger Developments Limited
                   shareholders are eligible to 40%, which is US$ 75,686,400. Our claim in
                   relation to Ginger Developments would be for the full amount of US$
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                    75,686,400 (which is subject to change depending on the outcome of the
                    audit).
                o RIF Labs Limited capital raise claim would be for the full amount of bitcoin
                    raised, which is approx. 23,000 bitcoin. The key arguments for this are
                    described in our letter of February 18, 2021 but includes (but are not limited
                    to) a violation of the EU Capital markets and consumer law legislations and the
                    US Securities Act.
                o The amount the foundation would approx. claim would be: 25,000 bitcoin
                    (note that this claim amount may deviate depending on the outcome of the
                    audit for Ginger Developments and the appetite of stakeholders joining the
                    mass claim).
        •   Note that the above claim will not be limited to RSK Labs Limited and RIF Labs
            Limited, but we will also be holding all directors personally liable.
        •   Moreover, we will also file a claim against Isolas LLP, as the law firm providing and
            approving the RSK Labs Limited and Ginger Development Limited scheme and for
            the fact that an Isolas LLP partner (Joseph Garcia) is part of the board of directors of
            RIF Labs Limited, which is in our view a conflict of interest. We refer to attachment 1.


    ULTIMATUM
    Claimant look forward to hearing from you within the next 14 days and expect to receive a
    detailed and reasonable offer to settle. In case Claimant does not receive a reaction from you
    to its satisfaction before the 7th of May 2021 Claimant reserves the right to proceed with the
    aforementioned actions (including serving you a summons) without any notification in
    advance.
    We consider that this correspondence provides sufficient information to enable you and your
    clients to commence investigations and to put a valuation upon the claim.

    This correspondence is not intended to have the formal status of a pleading and, therefore, we
    reserve the right to provide further information under each of the headings above in due
    course.
    Document Retention Notice

    In the meantime, please be advised to maintain, and not to destroy, any documents or other
    records, electronic or otherwise, that are pertinent to the issues raised in this letter, including
    any so-called “ephemeral media” such as texts, messaging application messages, etc.
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    Final remarks

    Claimant aims to recoup its losses which are caused by the wrongdoings of RSK/RIF/IOV
    Labs. Claimant expects to be compensated appropriately. Claimant is willing to take all
    necessary steps required to hold you accountable for your actions in case you do not provide a
    solution that Claimant seems fit.


    You may contact us by e-mail (rsk@megalodon.ae).

    We will await your written response.
    Yours faithfully,




    E.A. van Goor LL.M.
    Mark Levin
    Kerem Turetgen
    Megalodon Capital Management B.V.
    Megalodon DMCC
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                     EXHIBIT 4
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